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                                          CERTIFICATION

         Plaintiff LRI Invest S.A. (“Plaintiff”) declares, as to the claims asserted under the federal

securities, laws that:

         1.     Plaintiff has reviewed the facts and allegations of the Consolidated Class Action

Complaint and has authorized its filing.

         2.     Plaintiff did not purchase and/or sell the securities that are the subject of this action at

the direction of Plaintiff’s counsel or in order to participate in any private action.

         3.     Plaintiff is willing to serve as a representative party on behalf of the class, including

providing testimony at deposition and trial, if necessary. Plaintiff understands that this is not a claim

form, and that Plaintiff’s ability to share in any recovery as a member of the class is not dependent

upon execution of this Certification.

         4.     Plaintiff’s Class Period purchase and sale transactions in the VIX-related securities that

are the subject of this action are attached in Schedule A. Plaintiff has complete authority to bring a

suit to recover for investment losses for all securities set forth in Schedule A.

         5.     During the three years prior to the date of this Certification, Plaintiff has not sought to

serve or served as a representative party for a class in an action filed under the federal securities laws.

         6.     Plaintiff will not accept any payment for serving as a representative party on behalf of

the class beyond Plaintiff’s pro rata share of any recovery, except such reasonable costs and expenses

(including lost wages) directly relating to the representation of the class as ordered or approved by the

Court.

         I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct.
                                                     1
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   Executed this 27 day of September 2018.

                                       By: ___________________________
                                          René Thiel




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                               Schedule A
                                  LRI

               Security          Buy / Sell     Date       Quantity    Price

Equity Flex
Call VIX 37,5 18.02.15             BUY        11/28/2014     300.00    0.30
Call VIX 32,5 21.01.15             BUY        12/9/2014      244.00    0.40
Call VIX 40 21.01.15               BUY        12/9/2014      244.00    0.20
Call VIX 40 21.01.15               BUY        12/10/2014     665.00    0.20
Call VIX 42,5 21.01.15             BUY        12/12/2014     600.00    0.20
Call VIX 50 18.03.15               BUY        12/15/2014     273.00    0.50
Call VIX 47,5 18.03.15             BUY        12/16/2014     273.00    0.55
Call VIX 60 18.03.15               BUY        12/16/2014     588.00    0.25
Put VIX 47,5 18.03.15              BUY        12/17/2014    1,000.00   0.65
Put VIX 47,5 18.03.15              BUY        12/17/2014    1,200.00   0.20
Call VIX 37,5 18.02.15             BUY        12/17/2014     450.00    0.35
Call VIX 42,5 21.01.15             BUY        12/18/2014    4,000.00   0.13
Call VIX 50 18.03.15               BUY        12/18/2014    1,500.00   0.28
Call VIX 42,5 21.01.15             BUY        12/19/2014    1,200.00   0.50
Call VIX 50 18.03.15               SELL       12/19/2014   -1,200.00   0.50
Call VIX 37,5 18.02.15             BUY        12/19/2014    1,200.00   0.50
Call VIX 37,5 18.02.15             SELL        1/5/2015     -244.00    0.55
Call VIX 37,5 18.02.15             SELL        1/5/2015     -244.00    0.25
Call VIX 32,5 21.01.15             SELL        1/5/2015    -5,800.00   0.21
Call VIX 40 21.01.15               BUY         1/5/2015     2,535.00   0.35
Call VIX 42,5 21.01.15             SELL        1/7/2015     -665.00    0.10
Call VIX 45 18.02.15               BUY         1/7/2015     2,616.00   0.18
Call VIX 40 21.01.15               SELL       1/12/2015     -300.00    0.44
Call VIX 50 18.02.15               SELL       1/12/2015    -2,200.00   0.44
Call VIX 37,5 18.02.15             BUY        1/12/2015     1,715.00   0.40
Call VIX 37,5 18.02.15             BUY        1/14/2015     1,550.00   0.23
Call VIX 45 15.04.15               BUY        1/16/2015       2.00     0.45
Call VIX 55 15.04.15               BUY        1/16/2015      280.00    0.48
Call VIX 45 15.04.15               BUY        1/16/2015      380.00    0.25
Call VIX 45 15.04.15               BUY        1/16/2015      200.00    0.35
Call VIX 45 18.02.15               BUY        1/20/2015      325.00    0.18
Call VIX 47,5 18.03.15             BUY        1/20/2015      225.00    0.23
Call VIX 45 18.02.15               BUY        1/20/2015      575.00    0.20
Call VIX 50 18.03.15               BUY        1/22/2015      500.00    0.25
Call VIX 55 15.04.15               BUY        1/22/2015      500.00    0.25
Call VIX 45 15.04.15               SELL       1/22/2015     -500.00    0.25
Call VIX 45 18.02.15               BUY        1/22/2015      700.00    0.07
Call VIX 45 18.02.15               SELL       1/22/2015     -700.00    0.07
Call VIX 45 18.02.15               BUY        1/22/2015      700.00    0.07
Call VIX 45 18.02.15               BUY        1/22/2015      700.00    0.07
Call VIX 45 18.02.15               BUY        1/22/2015      400.00    0.10
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Call VIX 45 18.02.15               BUY      1/26/2015     390.00    0.23
Call VIX 50 18.03.15               SELL     1/26/2015    -700.00    0.07
Call VIX 45 15.04.15               BUY      1/27/2015     125.00    0.25
Call VIX 45 18.02.15               BUY      1/27/2015     150.00    0.05
Call VIX 45 15.04.15               BUY      2/9/2015      850.00    0.30
Call VIX 47,5 18.02.15             BUY      2/10/2015    1,500.00   0.38
Call VIX 42,5 18.03.15             BUY      2/13/2015    1,150.00   0.42
Call VIX 37,5 18.03.15             BUY      2/17/2015    1,700.00   0.53
Call VIX 30 18.03.15               SELL     2/19/2015   -3,940.00   0.00
Call VIX 37,5 20.05.15             BUY      2/19/2015    1,800.00   0.30
Call VIX 45 18.02.15               SELL     2/19/2015   -1,800.00   0.30
Call VIX 45 20.05.15               BUY      2/19/2015    1,800.00   0.30
Call VIX 45 20.05.15               SELL     2/19/2015    -150.00    0.00
Call VIX 45 20.05.15               SELL     2/19/2015   -2,616.00   0.00
Call VIX 47,5 18.02.15             SELL     2/23/2015   -1,075.00   0.10
Call VIX 50 18.02.15               SELL     3/4/2015    -1,150.00   0.07
Call VIX 37,5 18.03.15             SELL     3/4/2015    -3,012.00   0.09
Call VIX 30 18.03.15               BUY      3/9/2015     1,280.00   0.34
Call VIX 45 15.04.15               BUY      3/10/2015    1,500.00   0.43
Call VIX 30 15.04.15               BUY      3/12/2015    2,600.00   0.22
Call VIX 30 15.04.15               BUY      3/18/2015    1,900.00   0.50
Call VIX 35 15.04.15               SELL     3/19/2015    -425.00    0.00
Call VIX 35 17.06.15               BUY      3/19/2015    2,050.00   0.27
Call VIX 37,5 18.03.15             SELL     3/19/2015    -850.00    0.00
Call VIX 40 17.06.15               SELL     3/19/2015    -473.00    0.00
Call VIX 42,5 18.03.15             SELL     3/19/2015   -2,848.00   0.00
Call VIX 47,5 18.03.15             SELL     3/19/2015    -588.00    0.00
Call VIX 50 18.03.15               BUY      4/7/2015     2,780.00   0.34
Call VIX 60 18.03.15               SELL     4/8/2015    -2,780.00   0.01
Call VIX 29 20.05.15               BUY      4/13/2015    4,000.00   0.09
Call VIX 30 15.04.15               BUY      4/14/2015    2,100.00   0.43
Call VIX 37,5 20.05.15             SELL     4/15/2015   -2,600.00   0.00
Call VIX 35 22.07.15               SELL     4/15/2015   -2,125.00   0.00
Call VIX 35 15.04.15               BUY      4/16/2015    1,900.00   0.23
Call VIX 55 15.04.15               SELL     4/27/2015   -2,780.00   0.09
Call VIX 42,5 22.07.15             BUY      5/5/2015     1,700.00   0.42
Call VIX 29 20.05.15               SELL     5/5/2015    -1,700.00   0.42
Call VIX 27 17.06.15               BUY      5/5/2015     1,700.00   0.42
Call VIX 27 17.06.15               BUY      5/6/2015     2,600.00   0.21
Call VIX 27 17.06.15               SELL     5/6/2015    -2,600.00   0.21
Call VIX 35 17.06.15               BUY      5/6/2015     2,600.00   0.21
Call VIX 35 17.06.15               BUY      5/12/2015    2,200.00   0.44
Call VIX 35 17.06.15               BUY      5/13/2015    2,000.00   0.31
Call VIX 35 19.08.15               SELL     5/21/2015   -5,700.00   0.00
Call VIX 40 19.08.15               SELL     5/21/2015   -1,800.00   0.00
Call VIX 37,5 20.05.15             BUY      6/9/2015     2,300.00   0.18
Call VIX 45 20.05.15               BUY      6/12/2015    1,900.00   0.30
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Call VIX 37,5 22.07.15             BUY      6/15/2015    2,100.00   0.44
Call VIX 27 22.07.15               BUY      6/16/2015    2,400.00   0.22
Call VIX 35 16.09.15               SELL     6/18/2015   -1,700.00   0.00
Call VIX 47,5 16.09.15             SELL     6/18/2015   -4,500.00   0.00
Call VIX 27 17.06.15               SELL     6/18/2015   -2,050.00   0.00
Call VIX 35 17.06.15               SELL     6/22/2015    -300.00    0.07
Call VIX 40 17.06.15               SELL     6/22/2015   -2,000.00   0.06
Call VIX 37,5 22.07.15             BUY      6/22/2015    2,000.00   0.06
Call VIX 37,5 22.07.15             SELL     6/22/2015   -2,000.00   0.06
Call VIX 37,5 22.07.15             SELL     6/22/2015   -1,900.00   0.03
Call VIX 37,5 22.07.15             BUY      6/22/2015    1,900.00   0.03
Call VIX 42,5 22.07.15             SELL     6/22/2015   -1,900.00   0.03
Call VIX 42,5 22.07.15             BUY      7/7/2015     2,300.00   0.24
Call VIX 42,5 22.07.15             SELL     7/7/2015    -2,300.00   0.24
Call VIX 42,5 19.08.15             BUY      7/7/2015     2,300.00   0.24
Call VIX 42,5 19.08.15             SELL     7/8/2015    -1,900.00   0.46
Call VIX 42,5 19.08.15             BUY      7/8/2015     1,000.00   0.42
Call VIX 27 22.07.15               SELL     7/8/2015    -2,100.00   0.11
Call VIX 35 19.08.15               BUY      7/15/2015    2,100.00   0.22
Call VIX 35 22.07.15               SELL     7/17/2015   -3,200.00   0.10
Call VIX 45 21.10.15               BUY      7/17/2015    3,200.00   0.10
Call VIX 35 19.08.15               BUY      7/17/2015    1,700.00   0.42
Call VIX 35 19.08.15               SELL     7/17/2015   -2,000.00   0.05
Call VIX 35 21.10.15               BUY      7/17/2015    2,000.00   0.05
Call VIX 40 19.08.15               SELL     7/17/2015   -2,300.00   0.03
Call VIX 40 19.08.15               BUY      7/17/2015    2,300.00   0.03
Call VIX 42,5 19.08.15             SELL     7/20/2015   -3,200.00   0.10
Call VIX 42,5 19.08.15             SELL     7/20/2015   -2,000.00   0.05
Call VIX 35 19.08.15               SELL     7/20/2015   -2,300.00   0.03
Call VIX 40 19.08.15               BUY      8/12/2015    2,250.00   0.31
Call VIX 42,5 19.08.15             SELL     8/12/2015   -2,250.00   0.31
Call VIX 28 16.09.15               BUY      8/12/2015    2,250.00   0.31
Call VIX 28 16.09.15               BUY      8/13/2015    2,300.00   0.19
Call VIX 28 16.09.15               BUY      8/17/2015    1,900.00   0.40
Call VIX 37,5 16.09.15             BUY      8/17/2015    2,000.00   0.23
Call VIX 35 18.11.15               BUY      8/26/2015      35.00    2.90
Call VIX 45 18.11.15               BUY      8/26/2015      35.00    1.60
Call VIX 28 16.09.15               SELL     9/8/2015    -1,140.00   1.57
Call VIX 35 16.09.15               SELL     9/8/2015    -1,065.00   0.45
Call VIX 28 16.09.15               SELL     9/9/2015    -1,150.00   0.13
Call VIX 35 16.09.15               SELL     9/9/2015    -1,200.00   0.06
Call VIX 37,5 16.09.15             BUY      9/9/2015     1,500.00   0.26
Call VIX 47,5 16.09.15             SELL     9/10/2015   -1,150.00   0.20
Call VIX 55 21.10.15               BUY      9/10/2015    1,530.00   0.35
Call VIX 37,5 16.09.15             SELL     9/11/2015   -1,145.00   0.66
Call VIX 55 21.10.15               SELL     9/11/2015   -1,070.00   0.11
Call VIX 28 16.09.15               BUY      9/11/2015    1,850.00   0.54
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Call VIX 35 16.09.15               SELL    9/14/2015    -1,050.00   0.43
Call VIX 45 21.10.15               BUY     9/14/2015     2,100.00   0.28
Call VIX 45 21.10.15               SELL    9/15/2015     -850.00    0.78
Call VIX 55 16.12.15               BUY     9/15/2015     1,900.00   0.47
Call VIX 35 21.10.15               SELL    9/16/2015     -850.00    0.56
Call VIX 45 16.12.15               BUY     9/16/2015     1,700.00   0.39
Call VIX 35 21.10.15               SELL    9/17/2015    -1,200.00   0.00
Call VIX 45 16.12.15               BUY     9/17/2015     1,200.00   0.00
Call VIX 47,5 16.09.15             BUY     9/17/2015     1,700.00   0.23
Call VIX 47,5 16.09.15             SELL    9/18/2015    -1,200.00   0.00
Call VIX 55 16.12.15               SELL    10/5/2015    -2,900.00   0.07
Call VIX 47,5 16.09.15             BUY     10/7/2015     3,300.00   0.23
Call VIX 45 21.10.15               BUY     10/9/2015      900.00    0.44
Call VIX 42,5 18.11.15             BUY     10/13/2015    1,600.00   0.62
Call VIX 32,5 18.11.15             BUY     10/15/2015    2,000.00   0.28
Call VIX 40 20.01.16               SELL    10/22/2015   -3,030.00   0.00
Call VIX 55 20.01.16               SELL    10/23/2015    -900.00    0.21
Call VIX 55 21.10.15               SELL    10/23/2015   -1,900.00   0.17
Call VIX 32,5 18.11.15             SELL    10/23/2015   -3,300.00   0.07
Call VIX 35 18.11.15               SELL    10/23/2015   -3,600.00   0.20
Call VIX 42,5 18.11.15             SELL    10/23/2015   -2,000.00   0.06
Call VIX 45 16.12.15               SELL    10/23/2015   -3,800.00   0.10
Call VIX 45 18.11.15               BUY     11/9/2015     3,000.00   0.33
Call VIX 55 16.12.15               BUY     11/10/2015    3,200.00   0.17
Call VIX 30 16.12.15               BUY     11/16/2015    2,000.00   0.50
Call VIX 37,5 16.12.15             BUY     11/18/2015    2,000.00   0.27
Call VIX 42,5 17.02.16             SELL    12/7/2015    -3,000.00   0.08
Call VIX 50 17.02.16               BUY     12/7/2015      700.00    0.28
Call VIX 30 16.12.15               BUY     12/9/2015     2,400.00   0.43
Call VIX 40 20.01.16               BUY     12/10/2015    2,300.00   0.48
Call VIX 35 20.01.16               BUY     12/11/2015    2,400.00   0.38
Call VIX 45 16.03.16               SELL    12/14/2015   -3,200.00   0.17
Call VIX 55 16.03.16               SELL     1/5/2016    -2,300.00   0.13
Call VIX 37,5 16.12.15             BUY      1/5/2016     2,900.00   0.28
Call VIX 40 20.01.16               BUY      1/8/2016      800.00    0.57
Call VIX 50 17.02.16               SELL    1/11/2016     -600.00    0.32
Call VIX 42,5 17.02.16             SELL    1/11/2016     -600.00    0.48
Call VIX 35 20.01.16               BUY     1/11/2016     1,000.00   0.59
Call VIX 35 20.01.16               SELL    1/12/2016     -400.00    0.12
Call VIX 50 20.04.16               BUY     1/12/2016      500.00    0.47
Call VIX 35 20.01.16               SELL    1/12/2016     -500.00    0.47
Call VIX 50 17.02.16               BUY     1/12/2016      500.00    0.47
Call VIX 50 17.02.16               SELL    1/13/2016     -400.00    0.10
Call VIX 50 20.04.16               SELL    1/13/2016    -1,000.00   0.16
Call VIX 35 20.01.16               BUY     1/13/2016     1,000.00   0.34
Call VIX 50 17.02.16               SELL    1/14/2016     -400.00    0.23
Call VIX 55 20.04.16               BUY     1/14/2016      500.00    0.66
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Call VIX 35 20.01.16               SELL     1/15/2016   -1,000.00   0.27
Call VIX 50 20.04.16               BUY      1/15/2016    1,000.00   0.55
Call VIX 50 17.02.16               SELL     1/21/2016   -2,000.00   0.00
Call VIX 55 20.04.16               BUY       2/9/2016     300.00    0.22
Call VIX 55 20.01.16               BUY       2/9/2016    1,000.00   0.22
Call VIX 55 16.03.16               BUY      2/10/2016     400.00    0.57
Call VIX 65 18.05.16               BUY      2/10/2016     500.00    0.67
Call VIX 40 16.03.16               BUY      2/11/2016     300.00    0.23
Call VIX 47,5 18.05.16             BUY      2/11/2016     900.00    0.29
Call VIX 55 16.03.16               BUY      2/12/2016     500.00    0.58
Call VIX 65 18.05.16               BUY      2/12/2016     900.00    0.63
Call VIX 40 16.03.16               BUY      2/16/2016    1,000.00   0.47
Call VIX 50 18.05.16               BUY      2/16/2016     500.00    0.21
Call VIX 40 16.03.16               BUY      2/16/2016    1,000.00   0.58
Call VIX 47,5 16.03.16             BUY      2/16/2016     800.00    0.28
Call VIX 50 18.05.16               SELL     2/18/2016   -2,800.00   0.00
Call VIX 60 18.05.16               SELL     2/18/2016   -2,900.00   0.00
Call VIX 42,5 17.02.16             BUY       3/7/2016     450.00    0.37
Call VIX 50 17.02.16               BUY       3/7/2016     400.00    0.50
Call VIX 35 20.04.16               SELL      3/7/2016    -800.00    0.08
Call VIX 40 15.06.16               SELL      3/7/2016   -1,900.00   0.06
Call VIX 60 18.05.16               BUY       3/8/2016     700.00    0.45
Call VIX 65 18.05.16               BUY       3/8/2016     800.00    0.56
Call VIX 35 20.04.16               BUY       3/9/2016     900.00    0.20
Call VIX 40 15.06.16               BUY       3/9/2016    1,000.00   0.28
Call VIX 45 20.04.16               BUY      3/10/2016     200.00    0.45
Call VIX 50 15.06.16               BUY      3/10/2016     300.00    0.57
Call VIX 35 20.04.16               BUY      3/11/2016     250.00    0.37
Call VIX 40 15.06.16               BUY      3/11/2016     200.00    0.44
Call VIX 35 20.04.16               BUY      3/15/2016     150.00    0.30
Call VIX 42,5 15.06.16             BUY      3/15/2016     200.00    0.42
Call VIX 35 20.04.16               BUY      3/16/2016     400.00    0.14
Call VIX 42,5 15.06.16             BUY      3/16/2016     900.00    0.28
Call VIX 45 20.04.16               SELL     3/17/2016   -1,900.00   0.00
Call VIX 50 15.06.16               SELL     3/17/2016   -2,300.00   0.00
Call VIX 40 16.03.16               SELL     3/17/2016    -500.00    0.00
Call VIX 45 16.03.16               SELL     3/17/2016    -500.00    0.15
Call VIX 47,5 16.03.16             SELL     3/17/2016   -1,900.00   0.14
Call VIX 47,5 18.05.16             SELL     3/17/2016   -3,000.00   0.00
Call VIX 50 18.05.16               SELL     3/18/2016   -1,750.00   0.18
Call VIX 55 16.03.16               BUY       4/4/2016     900.00    0.35
Call VIX 35 20.04.16               BUY       4/4/2016     500.00    0.47
Call VIX 29 18.05.16               BUY       4/5/2016     900.00    0.49
Call VIX 37,5 20.07.16             BUY       4/5/2016     500.00    0.62
Call VIX 29 18.05.16               BUY       4/7/2016    1,600.00   0.19
Call VIX 37,5 20.07.16             BUY       4/7/2016    1,000.00   0.25
Call VIX 37,5 18.05.16             BUY      4/11/2016     900.00    0.42
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Call VIX 50 20.07.16               BUY      4/11/2016     500.00    0.62
Call VIX 29 18.05.16               SELL     4/19/2016   -1,500.00   0.16
Call VIX 37,5 20.07.16             SELL     4/19/2016    -400.00    0.12
Call VIX 40 15.06.16               SELL     4/19/2016   -1,900.00   0.06
Call VIX 42,5 15.06.16             SELL     4/20/2016   -1,600.00   0.06
Call VIX 50 15.06.16               SELL     4/21/2016   -1,300.00   0.00
Call VIX 37,5 18.05.16             SELL     4/21/2016   -2,000.00   0.00
Call VIX 45 20.04.16               SELL     4/21/2016   -2,000.00   0.00
Call VIX 50 20.04.16               BUY      5/2/2016     3,000.00   0.12
Call VIX 55 20.04.16               BUY      5/9/2016      400.00    0.35
Call VIX 30 18.05.16               BUY      5/9/2016      300.00    0.44
Call VIX 30 15.06.16               BUY      5/10/2016     400.00    0.23
Call VIX 40 17.08.16               BUY      5/10/2016     300.00    0.38
Call VIX 30 15.06.16               BUY      5/11/2016     400.00    0.32
Call VIX 40 17.08.16               BUY      5/11/2016     200.00    0.47
Call VIX 28 15.06.16               BUY      5/12/2016     800.00    0.32
Call VIX 37,5 17.08.16             BUY      5/12/2016     500.00    0.48
Call VIX 30 15.06.16               BUY      5/13/2016     300.00    0.34
Call VIX 40 17.08.16               BUY      5/13/2016     100.00    0.49
Call VIX 28 15.06.16               BUY      5/17/2016    1,300.00   0.19
Call VIX 37,5 17.08.16             BUY      5/17/2016     900.00    0.27
Call VIX 32,5 15.06.16             BUY      5/18/2016    1,300.00   0.17
Call VIX 45 17.08.16               BUY      5/18/2016     900.00    0.27
Call VIX 32,5 15.06.16             SELL     5/19/2016   -2,700.00   0.00
Call VIX 45 17.08.16               SELL     5/19/2016   -3,000.00   0.00
Call VIX 29 18.05.16               SELL     5/25/2016   -1,000.00   0.07
Call VIX 30 18.05.16               SELL     5/25/2016   -1,500.00   0.07
Call VIX 50 20.07.16               SELL     5/31/2016   -1,600.00   0.06
Call VIX 50 20.07.16               SELL     5/31/2016   -2,600.00   0.04
Call VIX 30 15.06.16               SELL     5/31/2016   -1,500.00   0.12
Call VIX 32,5 15.06.16             BUY      5/31/2016    1,500.00   0.05
Call VIX 37,5 20.07.16             BUY      6/6/2016      400.00    0.31
Call VIX 50 20.07.16               BUY      6/6/2016      200.00    0.47
Call VIX 29 20.07.16               BUY      6/7/2016      400.00    0.27
Call VIX 37,5 21.09.16             BUY      6/7/2016      200.00    0.47
Call VIX 29 20.07.16               BUY      6/8/2016      400.00    0.28
Call VIX 37,5 21.09.16             BUY      6/8/2016      200.00    0.48
Call VIX 29 20.07.16               BUY      6/9/2016      400.00    0.33
Call VIX 37,5 21.09.16             BUY      6/9/2016      200.00    0.52
Call VIX 29 20.07.16               BUY      6/10/2016     400.00    0.47
Call VIX 37,5 21.09.16             BUY      6/10/2016     200.00    0.62
Call VIX 29 20.07.16               BUY      6/13/2016     400.00    0.68
Call VIX 37,5 21.09.16             BUY      6/13/2016    2,500.00   0.23
Call VIX 29 20.07.16               BUY      6/13/2016    2,000.00   0.28
Call VIX 40 20.07.16               SELL     6/16/2016    -700.00    0.00
Call VIX 50 21.09.16               BUY      7/5/2016      600.00    0.39
Call VIX 28 15.06.16               BUY      7/5/2016      600.00    0.50
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Call VIX 32,5 17.08.16             BUY      7/6/2016      400.00    0.24
Call VIX 40 19.10.16               BUY      7/6/2016      400.00    0.33
Call VIX 37,5 17.08.16             SELL     7/7/2016    -1,600.00   0.06
Call VIX 47,5 19.10.16             BUY      7/7/2016      400.00    0.24
Call VIX 29 20.07.16               SELL     7/7/2016     -600.00    0.10
Call VIX 32,5 17.08.16             BUY      7/7/2016      500.00    0.27
Call VIX 40 17.08.16               BUY      7/8/2016      500.00    0.34
Call VIX 47,5 19.10.16             SELL     7/8/2016     -300.00    0.12
Call VIX 29 17.08.16               BUY      7/8/2016      300.00    0.50
Call VIX 37,5 17.08.16             SELL     7/8/2016     -900.00    0.05
Call VIX 37,5 19.10.16             BUY      7/11/2016     400.00    0.34
Call VIX 45 17.08.16               BUY      7/11/2016     300.00    0.48
Call VIX 27 17.08.16               BUY      7/12/2016     500.00    0.17
Call VIX 37,5 19.10.16             BUY      7/12/2016     500.00    0.32
Call VIX 32,5 17.08.16             BUY      7/13/2016     400.00    0.32
Call VIX 45 19.10.16               BUY      7/13/2016     300.00    0.45
Call VIX 27 17.08.16               BUY      7/14/2016     300.00    0.32
Call VIX 37,5 19.10.16             BUY      7/14/2016     500.00    0.18
Call VIX 25 17.08.16               BUY      7/14/2016     300.00    0.44
Call VIX 29 17.08.16               BUY      7/14/2016     400.00    0.25
Call VIX 37,5 19.10.16             SELL     7/18/2016    -600.00    0.12
Call VIX 45 19.10.16               SELL     7/18/2016    -500.00    0.05
Call VIX 32,5 17.08.16             SELL     7/18/2016   -2,000.00   0.11
Call VIX 40 17.08.16               SELL     7/20/2016    -500.00    0.17
Call VIX 50 21.09.16               SELL     7/20/2016    -400.00    0.08
Call VIX 29 17.08.16               SELL     7/20/2016    -400.00    0.06
Call VIX 32,5 17.08.16             SELL     7/21/2016    -800.00    0.00
Call VIX 37,5 17.08.16             SELL     7/21/2016   -2,500.00   0.00
Call VIX 29 20.07.16               SELL     7/29/2016    -600.00    0.25
Call VIX 40 20.07.16               SELL     8/5/2016     -800.00    0.05
Call VIX 37,5 21.09.16             BUY      8/8/2016      200.00    0.34
Call VIX 27 17.08.16               BUY      8/8/2016      300.00    0.43
Call VIX 27 21.09.16               SELL     8/8/2016     -600.00    0.23
Call VIX 37,5 16.11.16             SELL     8/8/2016     -400.00    0.11
Call VIX 40 19.10.16               BUY      8/10/2016     400.00    0.33
Call VIX 47,5 19.10.16             BUY      8/10/2016     400.00    0.20
Call VIX 26 21.09.16               BUY      8/10/2016     200.00    0.47
Call VIX 32,5 21.09.16             BUY      8/10/2016     400.00    0.27
Call VIX 35 16.11.16               BUY      8/11/2016     400.00    0.36
Call VIX 42,5 16.11.16             BUY      8/11/2016     300.00    0.50
Call VIX 27 21.09.16               BUY      8/12/2016     400.00    0.20
Call VIX 35 16.11.16               BUY      8/12/2016     400.00    0.25
Call VIX 32,5 21.09.16             BUY      8/16/2016     300.00    0.37
Call VIX 45 16.11.16               BUY      8/16/2016     600.00    0.35
Call VIX 26 21.09.16               BUY      8/16/2016     300.00    0.50
Call VIX 27 21.09.16               BUY      8/16/2016     600.00    0.43
Call VIX 35 16.11.16               BUY      8/17/2016     500.00    0.22
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Call VIX 37,5 16.11.16              BUY     8/17/2016     500.00   0.28
Call VIX 32,5 21.09.16              SELL    8/18/2016    -300.00   0.00
Call VIX 45 16.11.16                SELL    8/18/2016    -500.00   0.00
Call VIX 25 17.08.16                BUY     8/18/2016     400.00   0.19
Call VIX 29 17.08.16                SELL    8/18/2016    -500.00   0.00
Call VIX 30 21.09.16                BUY     8/18/2016     400.00   0.27
Call VIX 32,5 17.08.16              SELL    8/18/2016    -900.00   0.00
Call VIX 45 16.11.16                SELL    8/22/2016    -500.00   0.12
Call VIX 45 17.08.16                BUY     8/23/2016     100.00   0.19
Call VIX 47,5 19.10.16              SELL    8/23/2016    -300.00   0.21
Call VIX 26 21.09.16                SELL     9/6/2016    -200.00   0.06
Call VIX 37,5 19.10.16              BUY      9/6/2016     400.00   0.36
Call VIX 27 21.09.16                BUY      9/6/2016     400.00   0.22
Call VIX 29 19.10.16                BUY      9/6/2016     300.00   0.44
Call VIX 35 19.10.16                BUY      9/6/2016     400.00   0.27
Call VIX 37,5 21.12.16              SELL     9/7/2016    -400.00   0.05
Call VIX 45 21.12.16                BUY      9/7/2016     400.00   0.37
Call VIX 26 21.09.16                BUY      9/7/2016     500.00   0.24
Call VIX 28 19.10.16                BUY      9/7/2016     300.00   0.52
Call VIX 32,5 19.10.16              BUY      9/7/2016     500.00   0.26
Call VIX 35 21.12.16                SELL     9/9/2016    -400.00   0.06
Call VIX 45 21.12.16                BUY      9/9/2016     400.00   0.43
Call VIX 27 21.09.16                BUY      9/9/2016     300.00   0.54
Call VIX 30 19.10.16                SELL    9/12/2016    -400.00   0.20
Call VIX 37,5 21.12.16              BUY     9/12/2016     200.00   0.44
Call VIX 26 21.09.16                SELL    9/12/2016    -900.00   0.07
Call VIX 32,5 19.10.16              SELL    9/12/2016    -400.00   0.05
Call VIX 32,5 21.09.16              BUY     9/12/2016     300.00   0.53
Call VIX 37,5 21.09.16              SELL    9/13/2016    -300.00   0.21
Call VIX 40 21.12.16                BUY     9/13/2016     200.00   0.49
Call VIX 27 21.09.16                BUY     9/13/2016     300.00   0.52
Call VIX 32,5 19.10.16              SELL    9/14/2016    -400.00   0.05
Call VIX 40 21.12.16                BUY     9/14/2016     600.00   0.20
Call VIX 32,5 21.09.16              BUY     9/14/2016     500.00   0.30
Call VIX 40 19.10.16                SELL    9/15/2016    -300.00   0.09
Call VIX 45 21.12.16                BUY     9/15/2016     200.00   0.40
Call VIX 27 21.09.16                BUY     9/15/2016     300.00   0.46
Call VIX 32,5 19.10.16              BUY     9/16/2016     400.00   0.24
Call VIX 40 21.12.16                BUY     9/16/2016     500.00   0.26
Call VIX 40 19.10.16                SELL    9/22/2016    -400.00   0.00
Call VIX 47,5 21.12.16              SELL    10/4/2016    -600.00   0.05
Call VIX 30 21.09.16                BUY     10/10/2016    300.00   0.39
Call VIX 32,5 19.10.16              BUY     10/10/2016    300.00   0.49
Call VIX 28 16.11.16                BUY     10/11/2016    300.00   0.38
Call VIX 35 18.01.17                BUY     10/11/2016    400.00   0.22
Call VIX 28 16.11.16                BUY     10/11/2016    300.00   0.49
Call VIX 32,5 16.11.16              BUY     10/11/2016    500.00   0.25
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Call VIX 35 18.01.17                SELL    10/12/2016    -400.00    0.06
Call VIX 42,5 18.01.17              BUY     10/12/2016     300.00    0.34
Call VIX 28 19.10.16                BUY     10/12/2016    1,000.00   0.22
Call VIX 30 16.11.16                BUY     10/12/2016     400.00    0.44
Call VIX 35 16.11.16                BUY     10/12/2016    1,000.00   0.27
Call VIX 37,5 18.01.17              BUY     10/13/2016     200.00    0.34
Call VIX 45 18.01.17                BUY     10/13/2016     300.00    0.44
Call VIX 32,5 16.11.16              BUY     10/17/2016     300.00    0.38
Call VIX 37,5 18.01.17              BUY     10/17/2016     300.00    0.53
Call VIX 29 16.11.16                BUY     10/18/2016     300.00    0.34
Call VIX 35 18.01.17                BUY     10/18/2016     300.00    0.47
Call VIX 28 16.11.16                BUY     10/19/2016     500.00    0.19
Call VIX 35 18.01.17                BUY     10/19/2016     400.00    0.25
Call VIX 32,5 16.11.16              SELL    10/20/2016    -400.00    0.00
Call VIX 45 18.01.17                SELL    10/20/2016    -400.00    0.00
Call VIX 29 19.10.16                SELL    10/20/2016    -500.00    0.00
Call VIX 30 19.10.16                SELL    10/20/2016    -400.00    0.00
Call VIX 32,5 19.10.16              SELL    10/20/2016    -900.00    0.00
Call VIX 35 19.10.16                SELL    10/20/2016   -1,000.00   0.00
Call VIX 37,5 19.10.16              SELL    10/20/2016    -900.00    0.00
Call VIX 40 19.10.16                SELL    11/7/2016     -200.00    0.11
Call VIX 45 19.10.16                BUY     11/7/2016      300.00    0.37
Call VIX 32,5 16.11.16              SELL    11/7/2016     -300.00    0.06
Call VIX 32,5 21.12.16              BUY     11/7/2016      400.00    0.43
Call VIX 35 16.11.16                SELL    11/8/2016     -300.00    0.31
Call VIX 37,5 15.02.17              BUY     11/8/2016      400.00    0.40
Call VIX 29 16.11.16                BUY     11/8/2016      400.00    0.50
Call VIX 32,5 21.12.16              SELL    11/8/2016     -300.00    0.07
Call VIX 35 15.02.17                SELL    11/9/2016     -300.00    0.10
Call VIX 37,5 16.11.16              SELL    11/9/2016     -300.00    0.11
Call VIX 28 16.11.16                BUY     11/9/2016      200.00    0.48
Call VIX 30 16.11.16                SELL    11/9/2016     -400.00    0.05
Call VIX 30 21.12.16                BUY     11/9/2016      300.00    0.53
Call VIX 32,5 16.11.16              SELL    11/9/2016     -200.00    0.05
Call VIX 35 15.02.17                SELL    11/9/2016     -300.00    0.11
Call VIX 35 16.11.16                SELL    11/9/2016     -500.00    0.07
Call VIX 40 21.12.16                SELL    11/9/2016     -500.00    0.06
Call VIX 45 21.12.16                BUY     11/10/2016     400.00    0.27
Call VIX 47,5 21.12.16              BUY     11/10/2016     500.00    0.32
Call VIX 35 21.12.16                BUY     11/11/2016     600.00    0.24
Call VIX 42,5 15.02.17              BUY     11/11/2016     500.00    0.28
Call VIX 37,5 21.12.16              BUY     11/14/2016     300.00    0.37
Call VIX 45 15.02.17                BUY     11/14/2016     300.00    0.47
Call VIX 29 21.12.16                BUY     11/15/2016     200.00    0.35
Call VIX 35 15.02.17                SELL    11/15/2016    -700.00    0.22
Call VIX 29 21.12.16                BUY     11/15/2016     300.00    0.45
Call VIX 32,5 21.12.16              SELL    11/15/2016    -600.00    0.08
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Call VIX 35 15.02.17                SELL    11/15/2016    -400.00    0.06
Call VIX 40 21.12.16                BUY     11/16/2016     500.00    0.34
Call VIX 45 21.12.16                BUY     11/16/2016     500.00    0.49
Call VIX 28 21.12.16                SELL    11/17/2016    -600.00    0.00
Call VIX 35 15.02.17                SELL    11/17/2016    -500.00    0.00
Call VIX 28 16.11.16                BUY     11/17/2016    1,000.00   0.19
Call VIX 32,5 16.11.16              SELL    11/17/2016   -1,300.00   0.00
Call VIX 32,5 21.12.16              SELL    11/17/2016    -600.00    0.00
Call VIX 35 16.11.16                BUY     11/17/2016     800.00    0.27
Call VIX 37,5 16.11.16              SELL    11/17/2016    -400.00    0.00
Call VIX 42,5 15.02.17              SELL    11/17/2016   -1,300.00   0.00
Call VIX 42,5 16.11.16              SELL    11/21/2016    -200.00    0.16
Call VIX 45 16.11.16                SELL    11/21/2016    -300.00    0.21
Call VIX 30 21.12.16                SELL    11/21/2016    -300.00    0.08
Call VIX 35 18.01.17                SELL    11/21/2016    -300.00    0.17
Call VIX 35 21.12.16                SELL    11/21/2016    -500.00    0.12
Call VIX 37,5 18.01.17              SELL    11/21/2016   -1,400.00   0.11
Call VIX 42,5 18.01.17              SELL    11/22/2016    -300.00    0.22
Call VIX 45 18.01.17                SELL    11/22/2016    -400.00    0.06
Call VIX 35 18.01.17                SELL    11/25/2016    -400.00    0.20
Call VIX 35 21.12.16                SELL    12/5/2016     -500.00    0.11
Call VIX 37,5 18.01.17              SELL    12/5/2016     -500.00    0.07
Call VIX 28 21.12.16                BUY     12/5/2016      200.00    0.38
Call VIX 29 21.12.16                SELL    12/5/2016     -300.00    0.22
Call VIX 30 18.01.17                BUY     12/5/2016      300.00    0.52
Call VIX 35 18.01.17                BUY     12/6/2016      500.00    0.24
Call VIX 37,5 22.03.17              SELL    12/6/2016     -400.00    0.38
Call VIX 32,5 18.01.17              SELL    12/6/2016     -400.00    0.31
Call VIX 35 15.02.17                BUY     12/6/2016      500.00    0.29
Call VIX 37,5 15.02.17              BUY     12/7/2016      600.00    0.35
Call VIX 45 22.03.17                BUY     12/7/2016      600.00    0.45
Call VIX 28 18.01.17                BUY     12/8/2016      500.00    0.24
Call VIX 37,5 22.03.17              SELL    12/8/2016     -300.00    0.37
Call VIX 32,5 18.01.17              BUY     12/8/2016      500.00    0.27
Call VIX 35 15.02.17                BUY     12/12/2016     300.00    0.35
Call VIX 47,5 22.03.17              SELL    12/12/2016    -600.00    0.33
Call VIX 27 18.01.17                BUY     12/12/2016     300.00    0.44
Call VIX 35 15.02.17                SELL    12/12/2016    -500.00    0.17
Call VIX 37,5 22.03.17              SELL    12/12/2016    -500.00    0.14
Call VIX 42,5 15.02.17              BUY     12/13/2016     600.00    0.20
Call VIX 45 15.02.17                BUY     12/13/2016     400.00    0.25
Call VIX 32,5 18.01.17              BUY     12/14/2016     300.00    0.47
Call VIX 45 22.03.17                SELL    12/14/2016    -300.00    0.47
Call VIX 27 18.01.17                BUY     12/14/2016     400.00    0.33
Call VIX 27 18.01.17                BUY     12/14/2016     300.00    0.47
Call VIX 27 18.01.17                BUY     12/15/2016     400.00    0.34
Call VIX 35 22.03.17                BUY     12/15/2016     300.00    0.47
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Call VIX 27 18.01.17                BUY     12/16/2016     500.00    0.17
Call VIX 35 22.03.17                BUY     12/16/2016     400.00    0.25
Call VIX 32,5 18.01.17              SELL    12/20/2016    -600.00    0.17
Call VIX 42,5 22.03.17              SELL    12/20/2016    -200.00    0.13
Call VIX 28 18.01.17                SELL    12/20/2016    -500.00    0.11
Call VIX 30 18.01.17                SELL    12/20/2016    -500.00    0.20
Call VIX 32,5 18.01.17              SELL    12/20/2016    -300.00    0.07
Call VIX 35 15.02.17                SELL    12/20/2016    -800.00    0.10
Call VIX 35 18.01.17                SELL    12/22/2016   -1,000.00   0.00
Call VIX 42,5 15.02.17              SELL    12/22/2016   -1,200.00   0.00
Call VIX 32,5 21.12.16              SELL    12/22/2016    -500.00    0.00
Call VIX 37,5 21.12.16              BUY      1/9/2017      500.00    0.28
Call VIX 45 21.12.16                BUY      1/9/2017      300.00    0.46
Call VIX 25 15.02.17                BUY     1/10/2017      400.00    0.35
Call VIX 32,5 19.04.17              BUY     1/10/2017      300.00    0.50
Call VIX 24 15.02.17                BUY     1/11/2017     1,000.00   0.18
Call VIX 32,5 19.04.17              BUY     1/11/2017     1,000.00   0.25
Call VIX 29 15.02.17                BUY     1/12/2017      600.00    0.33
Call VIX 40 19.04.17                BUY     1/12/2017      600.00    0.42
Call VIX 25 15.02.17                BUY     1/13/2017      500.00    0.17
Call VIX 35 19.04.17                BUY     1/13/2017      400.00    0.26
Call VIX 29 15.02.17                BUY     1/17/2017      300.00    0.32
Call VIX 40 19.04.17                BUY     1/17/2017      300.00    0.40
Call VIX 25 15.02.17                BUY     1/18/2017      300.00    0.28
Call VIX 35 19.04.17                BUY     1/18/2017      300.00    0.37
Call VIX 24 15.02.17                BUY     1/19/2017      200.00    0.24
Call VIX 35 19.04.17                BUY     1/19/2017      600.00    0.16
Call VIX 25 15.02.17                SELL    1/19/2017    -1,100.00   0.00
Call VIX 27 15.02.17                SELL    1/19/2017    -1,600.00   0.00
Call VIX 27 18.01.17                BUY     1/19/2017      200.00    0.38
Call VIX 32,5 18.01.17              BUY     1/19/2017      500.00    0.25
Call VIX 35 19.04.17                BUY     1/23/2017      100.00    0.17
Call VIX 40 19.04.17                BUY     1/23/2017      100.00    0.34
Call VIX 25 15.02.17                SELL    1/25/2017     -900.00    0.09
Call VIX 35 19.04.17                SELL    1/25/2017     -500.00    0.05
Call VIX 37,5 22.03.17              SELL    1/26/2017     -600.00    0.09
Call VIX 45 22.03.17                SELL     2/3/2017     -700.00    0.05
Call VIX 25 15.02.17                SELL     2/3/2017     -600.00    0.15
Call VIX 24 15.02.17                SELL     2/3/2017     -300.00    0.11
Call VIX 35 22.03.17                SELL     2/3/2017     -400.00    0.07
Call VIX 37,5 22.03.17              SELL     2/3/2017     -400.00    0.06
Call VIX 42,5 22.03.17              BUY      2/6/2017      800.00    0.35
Call VIX 45 22.03.17                BUY      2/6/2017      800.00    0.42
Call VIX 27 22.03.17                BUY      2/7/2017      600.00    0.18
Call VIX 35 17.05.17                BUY      2/7/2017      600.00    0.23
Call VIX 32,5 22.03.17              BUY      2/8/2017      400.00    0.32
Call VIX 42,5 17.05.17              BUY      2/8/2017      400.00    0.42
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Call VIX 27 22.03.17                BUY     2/9/2017      400.00    0.18
Call VIX 35 17.05.17                BUY     2/9/2017      600.00    0.23
Call VIX 30 22.03.17                BUY     2/10/2017     400.00    0.31
Call VIX 42,5 17.05.17              BUY     2/10/2017     400.00    0.46
Call VIX 24 22.03.17                BUY     2/13/2017     500.00    0.17
Call VIX 32,5 17.05.17              BUY     2/13/2017     500.00    0.23
Call VIX 27 22.03.17                BUY     2/14/2017     400.00    0.28
Call VIX 40 17.05.17                BUY     2/14/2017     300.00    0.40
Call VIX 22 22.03.17                BUY     2/15/2017     400.00    0.28
Call VIX 32,5 17.05.17              BUY     2/15/2017     300.00    0.44
Call VIX 21 22.03.17                SELL    2/15/2017    -600.00    0.20
Call VIX 30 17.05.17                SELL    2/15/2017    -600.00    0.15
Call VIX 32,5 19.04.17              SELL    2/15/2017   -1,900.00   0.10
Call VIX 35 19.04.17                SELL    2/16/2017   -1,100.00   0.00
Call VIX 40 19.04.17                BUY     2/16/2017     500.00    0.18
Call VIX 25 15.02.17                SELL    2/16/2017    -600.00    0.00
Call VIX 25 22.03.17                SELL    2/16/2017   -1,500.00   0.00
Call VIX 27 15.02.17                BUY     2/16/2017     500.00    0.24
Call VIX 29 15.02.17                BUY     2/17/2017     80.00     0.17
Call VIX 37,5 17.05.17              BUY     2/17/2017     80.00     0.27
Call VIX 25 22.03.17                SELL    2/21/2017   -1,200.00   0.09
Call VIX 37,5 17.05.17              SELL    2/21/2017    -900.00    0.16
Call VIX 27 22.03.17                SELL    3/1/2017     -400.00    0.12
Call VIX 35 19.04.17                SELL    3/1/2017     -400.00    0.10
Call VIX 21 22.03.17                SELL    3/1/2017     -400.00    0.07
Call VIX 22 22.03.17                BUY     3/1/2017      400.00    0.07
Call VIX 24 22.03.17                SELL    3/1/2017     -400.00    0.07
Call VIX 24 22.03.17                SELL    3/1/2017     -500.00    0.05
Call VIX 24 22.03.17                SELL    3/2/2017     -580.00    0.07
Call VIX 27 22.03.17                BUY     3/6/2017      800.00    0.33
Call VIX 25 22.03.17                BUY     3/6/2017      800.00    0.49
Call VIX 26 19.04.17                BUY     3/7/2017      400.00    0.32
Call VIX 32,5 21.06.17              BUY     3/7/2017      300.00    0.48
Call VIX 26 19.04.17                BUY     3/8/2017      800.00    0.20
Call VIX 32,5 21.06.17              BUY     3/8/2017      600.00    0.27
Call VIX 29 19.04.17                BUY     3/9/2017      500.00    0.34
Call VIX 40 21.06.17                BUY     3/9/2017      300.00    0.48
Call VIX 25 19.04.17                BUY     3/10/2017     700.00    0.19
Call VIX 32,5 21.06.17              BUY     3/10/2017     500.00    0.26
Call VIX 29 19.04.17                BUY     3/13/2017     600.00    0.16
Call VIX 40 21.06.17                BUY     3/13/2017     600.00    0.25
Call VIX 28 19.04.17                BUY     3/14/2017     400.00    0.32
Call VIX 40 21.06.17                BUY     3/14/2017     400.00    0.44
Call VIX 24 19.04.17                BUY     3/15/2017     500.00    0.18
Call VIX 32,5 21.06.17              BUY     3/15/2017     500.00    0.23
Call VIX 27 19.04.17                BUY     3/16/2017     500.00    0.26
Call VIX 40 21.06.17                BUY     3/16/2017     400.00    0.41
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Call VIX 23 19.04.17                SELL    3/20/2017   -1,200.00   0.17
Call VIX 32,5 21.06.17              SELL    3/23/2017    -400.00    0.00
Call VIX 35 17.05.17                SELL    3/23/2017    -600.00    0.00
Call VIX 30 22.03.17                SELL    3/23/2017    -500.00    0.00
Call VIX 32,5 22.03.17              BUY     3/27/2017     100.00    0.33
Call VIX 47,5 22.03.17              BUY     3/27/2017     100.00    0.31
Call VIX 23 19.04.17                BUY     3/27/2017     100.00    0.38
Call VIX 30 17.05.17                SELL    3/29/2017    -400.00    0.12
Call VIX 32,5 21.06.17              SELL    3/29/2017   -1,200.00   0.05
Call VIX 32,5 17.05.17              BUY     4/6/2017      800.00    0.17
Call VIX 42,5 17.05.17              BUY     4/6/2017      600.00    0.24
Call VIX 29 17.05.17                BUY     4/7/2017      800.00    0.19
Call VIX 35 19.07.17                BUY     4/7/2017      600.00    0.24
Call VIX 29 17.05.17                SELL    4/10/2017    -600.00    0.08
Call VIX 35 19.07.17                SELL    4/10/2017    -400.00    0.07
Call VIX 23 19.04.17                BUY     4/10/2017     500.00    0.32
Call VIX 24 19.04.17                SELL    4/10/2017    -500.00    0.05
Call VIX 25 17.05.17                BUY     4/10/2017     400.00    0.38
Call VIX 25 19.04.17                SELL    4/10/2017    -500.00    0.06
Call VIX 30 19.07.17                SELL    4/11/2017    -800.00    0.15
Call VIX 40 17.05.17                BUY     4/11/2017    1,000.00   0.45
Call VIX 26 19.04.17                BUY     4/11/2017    1,200.00   0.41
Call VIX 28 17.05.17                SELL    4/12/2017    -400.00    0.07
Call VIX 32,5 19.07.17              BUY     4/12/2017     800.00    0.35
Call VIX 26 19.04.17                BUY     4/12/2017     800.00    0.38
Call VIX 29 17.05.17                BUY     4/18/2017     600.00    0.22
Call VIX 32,5 19.07.17              BUY     4/18/2017     600.00    0.22
Call VIX 30 17.05.17                BUY     4/19/2017     300.00    0.31
Call VIX 37,5 19.07.17              BUY     4/19/2017     400.00    0.37
Call VIX 24 17.05.17                SELL    4/20/2017    -500.00    0.00
Call VIX 30 19.07.17                SELL    4/20/2017    -600.00    0.00
Call VIX 27 19.04.17                BUY     4/20/2017     500.00    0.19
Call VIX 28 19.04.17                SELL    4/20/2017   -1,500.00   0.00
Call VIX 29 17.05.17                BUY     4/20/2017     600.00    0.22
Call VIX 29 19.04.17                SELL    4/25/2017   -1,000.00   0.05
Call VIX 37,5 19.07.17              BUY     4/25/2017    1,000.00   0.05
Call VIX 28 17.05.17                SELL    4/25/2017   -1,000.00   0.05
Call VIX 28 17.05.17                SELL    5/2/2017     -300.00    0.07
Call VIX 28 17.05.17                SELL    5/2/2017     -500.00    0.05
Call VIX 24 17.05.17                SELL    5/4/2017    -1,400.00   0.11
Call VIX 25 17.05.17                SELL    5/5/2017     -400.00    0.12
Call VIX 32,5 21.06.17              BUY     5/8/2017      500.00    0.27
Call VIX 32,5 21.06.17              BUY     5/8/2017      400.00    0.38
Call VIX 23 21.06.17                BUY     5/9/2017      500.00    0.28
Call VIX 29 16.08.17                BUY     5/9/2017      400.00    0.37
Call VIX 23 21.06.17                BUY     5/10/2017     400.00    0.18
Call VIX 30 16.08.17                BUY     5/10/2017     600.00    0.21
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Call VIX 27 21.06.17                BUY     5/11/2017     400.00    0.33
Call VIX 37,5 16.08.17              BUY     5/11/2017     300.00    0.43
Call VIX 23 21.06.17                BUY     5/12/2017     500.00    0.27
Call VIX 30 16.08.17                BUY     5/12/2017     400.00    0.37
Call VIX 23 21.06.17                BUY     5/15/2017     500.00    0.15
Call VIX 30 16.08.17                BUY     5/15/2017     500.00    0.20
Call VIX 26 21.06.17                BUY     5/16/2017     500.00    0.16
Call VIX 37,5 16.08.17              SELL    5/16/2017    -500.00    0.06
Call VIX 24 21.06.17                BUY     5/16/2017     500.00    0.24
Call VIX 32,5 21.06.17              BUY     5/17/2017     500.00    0.32
Call VIX 35 16.08.17                BUY     5/17/2017     500.00    0.34
Call VIX 22 21.06.17                BUY     5/17/2017     400.00    0.42
Call VIX 24 21.06.17                BUY     5/17/2017     400.00    0.43
Call VIX 30 16.08.17                BUY     5/18/2017     400.00    0.43
Call VIX 30 16.08.17                SELL    5/18/2017   -2,900.00   0.00
Call VIX 23 21.06.17                BUY     5/18/2017     300.00    0.48
Call VIX 29 17.05.17                SELL    5/18/2017   -1,000.00   0.00
Call VIX 30 16.08.17                BUY     5/18/2017     300.00    0.38
Call VIX 30 17.05.17                BUY     5/18/2017     800.00    0.23
Call VIX 30 19.07.17                SELL    5/18/2017    -300.00    0.00
Call VIX 30 21.06.17                SELL    5/18/2017    -580.00    0.00
Call VIX 32,5 17.05.17              BUY     5/18/2017     800.00    0.24
Call VIX 37,5 17.05.17              BUY     5/19/2017     700.00    0.28
Call VIX 40 16.08.17                BUY     5/19/2017     500.00    0.42
Call VIX 23 21.06.17                SELL    5/23/2017    -800.00    0.17
Call VIX 30 16.08.17                SELL    5/23/2017    -600.00    0.12
Call VIX 32,5 19.07.17              SELL    5/26/2017    -500.00    22.00
Call VIX 37,5 19.07.17              BUY     5/26/2017     500.00    22.00
Call VIX 22 21.06.17                SELL    5/26/2017    -500.00    0.16
Call VIX 22 21.06.17                SELL    5/26/2017    -500.00    0.12
Call VIX 22 21.06.17                SELL    5/26/2017    -400.00    0.17
Call VIX 24 21.06.17                SELL    5/26/2017    -800.00    0.06
Call VIX 30 19.07.17                SELL    5/26/2017   -1,200.00   0.13
Call VIX 30 21.06.17                SELL    5/26/2017   -1,200.00   0.11
Call VIX 32,5 19.07.17              SELL    5/26/2017    -600.00    0.09
Call VIX 35 19.07.17                SELL    6/1/2017     -500.00    0.08
Call VIX 37,5 19.07.17              SELL    6/1/2017     -400.00    0.09
Call VIX 23 21.06.17                SELL    6/1/2017     -400.00    0.05
Call VIX 23 21.06.17                SELL    6/1/2017     -700.00    0.16
Call VIX 27 21.06.17                SELL    6/2/2017    -2,100.00   0.08
Call VIX 30 19.07.17                SELL    6/2/2017     -500.00    0.07
Call VIX 23 21.06.17                SELL    6/2/2017     -500.00    0.05
Call VIX 24 21.06.17                BUY     6/6/2017     1,200.00   0.33
Call VIX 26 21.06.17                BUY     6/6/2017      800.00    0.44
Call VIX 23 19.07.17                BUY     6/7/2017     1,800.00   0.20
Call VIX 30 20.09.17                BUY     6/7/2017     1,200.00   0.28
Call VIX 29 19.07.17                BUY     6/8/2017      600.00    0.28
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Call VIX 37,5 20.09.17              BUY     6/8/2017      400.00    0.40
Call VIX 23 19.07.17                BUY     6/12/2017    1,200.00   0.32
Call VIX 30 20.09.17                BUY     6/12/2017     800.00    0.44
Call VIX 23 19.07.17                BUY     6/13/2017    1,700.00   0.18
Call VIX 30 20.09.17                BUY     6/13/2017    1,200.00   0.23
Call VIX 28 19.07.17                BUY     6/14/2017     600.00    0.28
Call VIX 37,5 20.09.17              BUY     6/14/2017     500.00    0.38
Call VIX 22 19.07.17                SELL    6/19/2017    -800.00    0.21
Call VIX 30 20.09.17                SELL    6/19/2017    -800.00    0.11
Call VIX 30 16.08.17                SELL    6/22/2017   -2,200.00   0.00
Call VIX 40 16.08.17                SELL    6/26/2017    -400.00    0.21
Call VIX 40 21.06.17                SELL    6/26/2017    -700.00    0.18
Call VIX 29 16.08.17                SELL    6/26/2017   -1,100.00   0.11
Call VIX 30 16.08.17                SELL    7/10/2017    -600.00    0.08
Call VIX 37,5 16.08.17              BUY     7/10/2017     600.00    0.27
Call VIX 23 19.07.17                BUY     7/10/2017     900.00    0.17
Call VIX 25 16.08.17                BUY     7/10/2017     500.00    0.37
Call VIX 30 16.08.17                BUY     7/10/2017     800.00    0.20
Call VIX 32,5 18.10.17              SELL    7/11/2017   -1,800.00   0.07
Call VIX 40 18.10.17                BUY     7/11/2017     400.00    0.42
Call VIX 23 19.07.17                BUY     7/12/2017     800.00    0.17
Call VIX 30 18.10.17                SELL    7/12/2017    -500.00    0.06
Call VIX 27 16.08.17                BUY     7/12/2017     700.00    0.21
Call VIX 35 16.08.17                BUY     7/13/2017     600.00    0.29
Call VIX 37,5 18.10.17              BUY     7/13/2017     500.00    0.37
Call VIX 21 16.08.17                BUY     7/14/2017     500.00    0.27
Call VIX 30 18.10.17                BUY     7/14/2017     400.00    0.37
Call VIX 20 16.08.17                BUY     7/17/2017     600.00    0.25
Call VIX 29 18.10.17                BUY     7/17/2017     400.00    0.37
Call VIX 19 16.08.17                BUY     7/18/2017     700.00    0.16
Call VIX 29 18.10.17                BUY     7/18/2017     600.00    0.21
Call VIX 23 16.08.17                BUY     7/19/2017     500.00    0.23
Call VIX 37,5 18.10.17              BUY     7/19/2017     400.00    0.35
Call VIX 18 16.08.17                BUY     7/20/2017     100.00    0.22
Call VIX 28 18.10.17                BUY     7/20/2017     900.00    0.14
Call VIX 18 16.08.17                SELL    7/20/2017    -600.00    0.00
Call VIX 22 16.08.17                SELL    7/20/2017    -600.00    0.00
Call VIX 22 19.07.17                SELL    7/20/2017   -1,700.00   0.00
Call VIX 23 19.07.17                SELL    7/20/2017   -1,800.00   0.00
Call VIX 28 19.07.17                BUY     7/20/2017     600.00    0.23
Call VIX 29 19.07.17                SELL    7/25/2017    -600.00    0.08
Call VIX 35 18.10.17                SELL    7/25/2017    -800.00    0.15
Call VIX 25 16.08.17                SELL    7/26/2017   -2,100.00   0.04
Call VIX 30 20.09.17                BUY     7/26/2017    2,100.00   0.04
Call VIX 30 16.08.17                SELL    7/26/2017   -2,100.00   0.04
Call VIX 30 16.08.17                SELL    7/27/2017   -1,200.00   0.18
Call VIX 30 16.08.17                SELL    8/3/2017    -1,800.00   0.13
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Call VIX 30 20.09.17                SELL    8/7/2017     -500.00    0.11
Call VIX 37,5 20.09.17              SELL    8/7/2017     -600.00    0.07
Call VIX 20 16.08.17                BUY     8/7/2017      500.00    0.31
Call VIX 21 16.08.17                BUY     8/7/2017      500.00    0.41
Call VIX 25 20.09.17                SELL    8/7/2017     -500.00    0.17
Call VIX 30 15.11.17                SELL    8/8/2017     -600.00    0.08
Call VIX 30 20.09.17                SELL    8/8/2017     -900.00    0.05
Call VIX 19 16.08.17                SELL    8/8/2017     -700.00    0.05
Call VIX 22 16.08.17                BUY     8/8/2017      300.00    0.39
Call VIX 23 16.08.17                BUY     8/8/2017      700.00    0.18
Call VIX 28 18.10.17                BUY     8/8/2017      400.00    0.27
Call VIX 30 20.09.17                BUY     8/8/2017      800.00    0.23
Call VIX 35 18.10.17                SELL    8/10/2017    -800.00    0.06
Call VIX 40 15.11.17                BUY     8/10/2017    1,000.00   0.35
Call VIX 27 16.08.17                BUY     8/10/2017     800.00    0.43
Call VIX 29 20.09.17                BUY     8/10/2017     650.00    0.48
Call VIX 32,5 20.09.17              BUY     8/10/2017     650.00    0.39
Call VIX 35 15.11.17                BUY     8/10/2017     350.00    0.39
Call VIX 35 15.11.17                BUY     8/11/2017     500.00    0.44
Call VIX 35 15.11.17                BUY     8/11/2017     500.00    0.49
Call VIX 32,5 20.09.17              BUY     8/14/2017     800.00    0.19
Call VIX 35 15.11.17                BUY     8/14/2017     700.00    0.27
Call VIX 32,5 20.09.17              BUY     8/16/2017     500.00    0.33
Call VIX 42,5 15.11.17              BUY     8/16/2017     500.00    0.19
Call VIX 24 20.09.17                BUY     8/16/2017     500.00    0.41
Call VIX 30 20.09.17                BUY     8/16/2017     700.00    0.27
Call VIX 32,5 15.11.17              SELL    8/17/2017    -600.00    0.00
Call VIX 40 15.11.17                BUY     8/17/2017     900.00    0.20
Call VIX 18 16.08.17                BUY     8/17/2017     800.00    0.24
Call VIX 30 20.09.17                BUY     8/28/2017     100.00    0.23
Call VIX 42,5 15.11.17              BUY     8/28/2017     100.00    0.42
Call VIX 24 20.09.17                SELL    8/31/2017    -500.00    0.27
Call VIX 32,5 15.11.17              SELL    8/31/2017   -2,100.00   0.06
Call VIX 32,5 18.10.17              SELL    8/31/2017    -800.00    0.13
Call VIX 32,5 20.09.17              SELL    9/1/2017    -1,000.00   0.06
Call VIX 40 18.10.17                SELL    9/1/2017     -400.00    0.27
Call VIX 29 20.09.17                SELL    9/1/2017    -2,100.00   0.05
Call VIX 30 18.10.17                SELL    9/1/2017     -700.00    0.16
Call VIX 30 20.09.17                BUY     9/5/2017     1,000.00   0.38
Call VIX 37,5 18.10.17              BUY     9/5/2017      300.00    0.39
Call VIX 29 18.10.17                BUY     9/5/2017      600.00    0.43
Call VIX 30 18.10.17                SELL    9/5/2017     -600.00    0.43
Call VIX 35 20.12.17                BUY     9/5/2017      600.00    0.43
Call VIX 35 20.12.17                BUY     9/5/2017     1,200.00   0.42
Call VIX 35 20.12.17                BUY     9/6/2017     1,000.00   0.23
Call VIX 35 20.12.17                BUY     9/6/2017      800.00    0.27
Call VIX 35 18.10.17                BUY     9/7/2017     1,000.00   0.25
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Call VIX 42,5 20.12.17              BUY      9/7/2017      800.00    0.29
Call VIX 32,5 18.10.17              SELL     9/8/2017     -500.00    0.10
Call VIX 42,5 20.12.17              BUY      9/8/2017      700.00    0.35
Call VIX 25 20.09.17                BUY      9/8/2017      600.00    0.43
Call VIX 27 18.10.17                SELL    9/11/2017     -600.00    0.06
Call VIX 35 20.12.17                BUY     9/11/2017      600.00    0.20
Call VIX 24 20.09.17                BUY     9/11/2017      700.00    0.27
Call VIX 30 18.10.17                BUY     9/12/2017      400.00    0.34
Call VIX 42,5 20.12.17              BUY     9/12/2017      600.00    0.38
Call VIX 24 18.10.17                BUY     9/13/2017      300.00    0.29
Call VIX 35 20.12.17                BUY     9/13/2017      600.00    0.37
Call VIX 24 18.10.17                BUY     9/14/2017      600.00    0.18
Call VIX 35 20.12.17                BUY     9/14/2017      900.00    0.23
Call VIX 27 18.10.17                SELL    9/21/2017     -600.00    0.00
Call VIX 40 20.12.17                SELL    9/25/2017     -400.00    0.12
Call VIX 37,5 20.09.17              SELL    9/25/2017     -300.00    0.10
Call VIX 29 18.10.17                SELL    9/25/2017     -500.00    0.17
Call VIX 30 18.10.17                SELL    9/27/2017     -700.00    0.10
Call VIX 35 15.11.17                SELL    9/27/2017    -1,000.00   0.08
Call VIX 27 18.10.17                SELL    9/27/2017     -500.00    0.07
Call VIX 29 18.10.17                SELL    9/27/2017    -1,000.00   0.06
Call VIX 30 18.10.17                SELL    9/27/2017     -650.00    0.15
Call VIX 32,5 18.10.17              SELL    9/27/2017    -1,000.00   0.05
Call VIX 35 15.11.17                SELL    9/28/2017     -700.00    0.11
Call VIX 35 18.10.17                SELL    9/28/2017     -700.00    0.07
Call VIX 40 15.11.17                SELL    10/2/2017     -600.00    0.07
Call VIX 42,5 15.11.17              SELL    10/2/2017     -500.00    0.21
Call VIX 27 18.10.17                SELL    10/2/2017     -600.00    0.16
Call VIX 30 15.11.17                SELL    10/2/2017    -1,000.00   0.11
Call VIX 32,5 15.11.17              SELL    10/2/2017     -800.00    0.08
Call VIX 35 15.11.17                SELL    10/2/2017     -800.00    0.07
Call VIX 40 15.11.17                SELL    10/4/2017     -400.00    0.07
Call VIX 42,5 15.11.17              SELL    10/5/2017     -300.00    0.06
Call VIX 24 18.10.17                SELL    10/5/2017     -600.00    0.25
Call VIX 24 18.10.17                SELL    10/5/2017    -1,600.00   0.17
Call VIX 35 20.12.17                BUY     10/6/2017      600.00    0.33
Call VIX 42,5 20.12.17              BUY     10/6/2017      500.00    0.47
Call VIX 25 15.11.17                BUY     10/9/2017      500.00    0.30
Call VIX 32,5 17.01.18              BUY     10/9/2017      400.00    0.47
Call VIX 25 15.11.17                SELL    10/9/2017    -1,800.00   0.26
Call VIX 32,5 17.01.18              BUY     10/10/2017     600.00    0.33
Call VIX 35 20.12.17                BUY     10/10/2017     900.00    0.18
Call VIX 25 15.11.17                BUY     10/10/2017     500.00    0.42
Call VIX 32,5 15.11.17              BUY     10/10/2017     700.00    0.27
Call VIX 35 17.01.18                BUY     10/11/2017     600.00    0.31
Call VIX 42,5 17.01.18              BUY     10/11/2017     900.00    0.18
Call VIX 24 15.11.17                BUY     10/11/2017     500.00    0.42
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Call VIX 30 15.11.17                BUY     10/11/2017     800.00    0.24
Call VIX 35 17.01.18                BUY     10/12/2017     600.00    0.28
Call VIX 45 17.01.18                BUY     10/12/2017     500.00    0.43
Call VIX 24 15.11.17                BUY     10/13/2017     300.00    0.24
Call VIX 32,5 17.01.18              BUY     10/13/2017     900.00    0.18
Call VIX 24 15.11.17                BUY     10/13/2017     400.00    0.12
Call VIX 28 15.11.17                BUY     10/13/2017     200.00    0.43
Call VIX 32,5 15.11.17              BUY     10/13/2017    1,200.00   0.24
Call VIX 32,5 17.01.18              BUY     10/16/2017     800.00    0.29
Call VIX 42,5 17.01.18              BUY     10/16/2017    1,000.00   0.17
Call VIX 22 15.11.17                BUY     10/16/2017     600.00    0.42
Call VIX 28 15.11.17                BUY     10/16/2017     800.00    0.26
Call VIX 32,5 17.01.18              SELL    10/18/2017    -600.00    0.21
Call VIX 42,5 17.01.18              SELL    10/18/2017    -900.00    0.16
Call VIX 35 20.12.17                SELL    10/18/2017    -700.00    0.14
Call VIX 40 20.12.17                SELL    10/20/2017    -700.00    0.00
Call VIX 42,5 20.12.17              SELL    10/20/2017    -400.00    0.00
Call VIX 28 18.10.17                SELL    10/20/2017    -600.00    0.00
Call VIX 29 18.10.17                SELL    10/20/2017   -1,000.00   0.00
Call VIX 30 18.10.17                SELL    10/20/2017    -600.00    0.00
Call VIX 35 18.10.17                SELL    10/30/2017    -600.00    0.13
Call VIX 37,5 18.10.17              SELL    11/3/2017    -1,500.00   0.05
Call VIX 35 20.12.17                SELL    11/3/2017    -1,700.00   0.08
Call VIX 24 15.11.17                SELL    11/6/2017     -800.00    0.07
Call VIX 25 15.11.17                BUY     11/6/2017      600.00    0.33
Call VIX 22 15.11.17                BUY     11/6/2017      500.00    0.44
Call VIX 24 20.12.17                BUY     11/7/2017      700.00    0.32
Call VIX 32,5 14.02.18              BUY     11/7/2017      500.00    0.46
Call VIX 24 20.12.17                BUY     11/8/2017      700.00    0.33
Call VIX 32,5 14.02.18              BUY     11/8/2017      600.00    0.42
Call VIX 24 20.12.17                BUY     11/9/2017      700.00    0.33
Call VIX 35 14.02.18                BUY     11/9/2017      600.00    0.44
Call VIX 25 20.12.17                BUY     11/10/2017     800.00    0.32
Call VIX 35 14.02.18                BUY     11/10/2017     500.00    0.42
Call VIX 25 20.12.17                BUY     11/13/2017     900.00    0.20
Call VIX 35 14.02.18                BUY     11/13/2017     800.00    0.27
Call VIX 30 20.12.17                BUY     11/14/2017     700.00    0.34
Call VIX 45 14.02.18                BUY     11/14/2017     500.00    0.48
Call VIX 25 20.12.17                BUY     11/15/2017    2,400.00   0.18
Call VIX 35 14.02.18                BUY     11/15/2017    1,600.00   0.29
Call VIX 35 20.12.17                SELL    11/16/2017   -1,900.00   0.00
Call VIX 47,5 14.02.18              BUY     11/16/2017    1,000.00   0.18
Call VIX 28 15.11.17                SELL    11/16/2017    -900.00    0.00
Call VIX 29 20.12.17                SELL    11/16/2017   -1,300.00   0.00
Call VIX 30 15.11.17                BUY     11/16/2017     800.00    0.27
Call VIX 32,5 15.11.17              SELL    11/27/2017    -700.00    0.08
Call VIX 45 14.02.18                SELL    11/28/2017   -1,500.00   0.07
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Call VIX 25 20.12.17                SELL    11/29/2017   -1,300.00   0.08
Call VIX 25 20.12.17                SELL    12/1/2017     -700.00    0.08
Call VIX 24 20.12.17                BUY     12/4/2017      800.00    0.32
Call VIX 24 20.12.17                SELL    12/4/2017    -2,200.00   0.12
Call VIX 24 17.01.18                SELL    12/4/2017    -1,000.00   0.10
Call VIX 32,5 17.01.18              BUY     12/4/2017      500.00    0.43
Call VIX 35 17.01.18                SELL    12/4/2017    -2,700.00   0.06
Call VIX 35 21.03.18                BUY     12/5/2017     1,600.00   0.29
Call VIX 42,5 17.01.18              SELL    12/5/2017    -1,000.00   0.05
Call VIX 25 17.01.18                SELL    12/5/2017     -900.00    0.03
Call VIX 29 20.12.17                BUY     12/5/2017     1,000.00   0.43
Call VIX 30 20.12.17                SELL    12/5/2017     -800.00    0.06
Call VIX 35 21.03.18                BUY     12/6/2017      800.00    0.33
Call VIX 45 17.01.18                BUY     12/6/2017      500.00    0.45
Call VIX 25 17.01.18                BUY     12/7/2017     1,000.00   0.20
Call VIX 35 21.03.18                BUY     12/7/2017      800.00    0.27
Call VIX 30 17.01.18                BUY     12/8/2017     1,000.00   0.20
Call VIX 45 21.03.18                BUY     12/8/2017      900.00    0.25
Call VIX 29 17.01.18                BUY     12/11/2017     600.00    0.32
Call VIX 45 21.03.18                BUY     12/11/2017     500.00    0.42
Call VIX 23 17.01.18                BUY     12/12/2017     700.00    0.30
Call VIX 35 21.03.18                BUY     12/12/2017     500.00    0.45
Call VIX 22 17.01.18                SELL    12/12/2017   -1,100.00   0.22
Call VIX 32,5 21.03.18              SELL    12/12/2017   -1,600.00   0.10
Call VIX 35 14.02.18                BUY     12/13/2017     900.00    0.17
Call VIX 47,5 14.02.18              BUY     12/13/2017     900.00    0.26
Call VIX 28 17.01.18                BUY     12/14/2017     900.00    0.18
Call VIX 42,5 21.03.18              BUY     12/14/2017     800.00    0.25
Call VIX 28 17.01.18                SELL    12/15/2017   -1,000.00   0.25
Call VIX 42,5 21.03.18              SELL    12/15/2017   -1,100.00   0.22
Call VIX 32,5 14.02.18              SELL    12/15/2017   -1,600.00   0.11
Call VIX 35 14.02.18                SELL    12/18/2017    -800.00    0.16
Call VIX 45 14.02.18                SELL    12/18/2017    -800.00    0.17
Call VIX 24 17.01.18                SELL    12/18/2017   -1,600.00   0.16
Call VIX 25 17.01.18                SELL    12/18/2017   -1,000.00   0.11
Call VIX 25 17.01.18                SELL    12/20/2017   -2,400.00   0.00
Call VIX 30 17.01.18                SELL     1/3/2018     -700.00    0.10
Call VIX 35 20.12.17                SELL     1/3/2018     -600.00    0.09
Call VIX 22 17.01.18                SELL     1/3/2018    -1,000.00   0.05
Call VIX 23 17.01.18                SELL     1/5/2018     -500.00    0.32
Call VIX 29 17.01.18                SELL     1/5/2018     -800.00    0.19
Call VIX 35 21.03.18                BUY      1/8/2018     1,200.00   0.30
Call VIX 45 21.03.18                SELL     1/8/2018    -1,200.00   0.30
Call VIX 25 14.02.18                BUY      1/8/2018     1,000.00   0.44
Call VIX 25 14.02.18                SELL     1/8/2018    -1,000.00   0.44
Call VIX 35 18.04.18                SELL     1/8/2018    -1,000.00   0.28
Call VIX 35 18.04.18                SELL     1/8/2018     -900.00    0.17
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Call VIX 35 21.03.18                BUY     1/9/2018      600.00    0.32
Call VIX 45 21.03.18                BUY     1/9/2018     1,200.00   0.30
Call VIX 23 14.02.18                BUY     1/9/2018      500.00    0.42
Call VIX 25 14.02.18                BUY     1/9/2018     1,000.00   0.44
Call VIX 35 18.04.18                BUY     1/10/2018     700.00    0.32
Call VIX 35 18.04.18                BUY     1/10/2018     500.00    0.42
Call VIX 23 14.02.18                BUY     1/11/2018     900.00    0.17
Call VIX 35 18.04.18                BUY     1/11/2018     700.00    0.25
Call VIX 28 14.02.18                BUY     1/12/2018     900.00    0.18
Call VIX 42,5 18.04.18              SELL    1/12/2018    -500.00    0.30
Call VIX 27 14.02.18                SELL    1/12/2018   -1,000.00   0.26
Call VIX 32,5 21.03.18              SELL    1/12/2018   -1,700.00   0.17
Call VIX 35 21.03.18                BUY     1/12/2018     900.00    0.24
Call VIX 42,5 21.03.18              BUY     1/16/2018     700.00    0.27
Call VIX 45 18.04.18                BUY     1/16/2018     500.00    0.43
Call VIX 22 14.02.18                SELL    1/16/2018    -500.00    0.43
Call VIX 32,5 18.04.18              BUY     1/17/2018     700.00    0.29
Call VIX 32,5 18.04.18              BUY     1/17/2018     500.00    0.43
Call VIX 23 14.02.18                BUY     1/17/2018     600.00    0.40
Call VIX 32,5 18.04.18              SELL    1/18/2018   -1,800.00   0.00
Call VIX 35 18.04.18                BUY     1/18/2018    2,100.00   0.18
Call VIX 28 17.01.18                BUY     1/18/2018    1,600.00   0.26
Call VIX 30 14.02.18                SELL    1/23/2018    -600.00    0.20
Call VIX 45 18.04.18                SELL    1/23/2018    -600.00    0.22
Call VIX 23 14.02.18                SELL    1/23/2018    -100.00    0.22
Call VIX 23 14.02.18                SELL    1/23/2018   -1,200.00   0.18
Call VIX 23 14.02.18                SELL    1/26/2018    -900.00    0.13
Call VIX 25 14.02.18                SELL    1/29/2018    -700.00    0.23
Call VIX 28 14.02.18                BUY     2/1/2018      800.00    0.24
Call VIX 23 14.02.18                BUY     2/1/2018      200.00    0.44
Call VIX 22 14.02.18                BUY     2/5/2018      900.00    0.44
Call VIX 32,5 18.04.18              BUY     2/5/2018      700.00    0.53
Call VIX 35 21.03.18                BUY     2/6/2018      300.00    0.70
Call VIX 42,5 16.05.18              BUY     2/6/2018      300.00    0.75
Call VIX 50 16.05.18                BUY     2/6/2018      450.00    0.70
Call VIX 50 16.05.18                BUY     2/6/2018      450.00    0.75
Call VIX 55 21.03.18                BUY     2/7/2018      800.00    3.18
Call VIX 55 21.03.18                BUY     2/7/2018      800.00    1.33
Call VIX 22 14.02.18                BUY     2/7/2018      600.00    1.48
Call VIX 30 14.02.18                BUY     2/7/2018     1,000.00   0.54
Call VIX 32,5 18.04.18              BUY     2/7/2018      800.00    0.57
Call VIX 40 21.03.18                BUY     2/7/2018      700.00    0.73
Call VIX 45 16.05.18                SELL    2/8/2018     -800.00    4.80
Call VIX 45 18.04.18                BUY     2/8/2018      900.00    0.70
Call VIX 22 14.02.18                BUY     2/8/2018      700.00    0.70
Call VIX 47,5 21.03.18              SELL    2/9/2018     -800.00    5.71
Call VIX 50 16.05.18                SELL    2/9/2018     -900.00    2.42
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Call VIX 22 14.02.18                BUY     2/9/2018      900.00    0.64
Call VIX 30 14.02.18                BUY     2/9/2018     1,000.00   0.64
Call VIX 55 16.05.18                BUY     2/9/2018     1,400.00   0.39
Call VIX 55 21.03.18                BUY     2/9/2018     1,600.00   0.34
Call VIX 70 16.05.18                SELL    2/12/2018    -900.00    2.50
Call VIX 70 21.03.18                SELL    2/12/2018    -900.00    1.42
Call VIX 27 14.02.18                BUY     2/12/2018    2,400.00   0.38
Call VIX 30 14.02.18                BUY     2/12/2018    3,000.00   0.34
Call VIX 60 16.05.18                SELL    2/13/2018    -700.00    4.65
Call VIX 60 21.03.18                SELL    2/13/2018   -1,100.00   0.52
Call VIX 22 14.02.18                BUY     2/13/2018    1,100.00   0.58
Call VIX 30 14.02.18                BUY     2/13/2018    1,000.00   0.58
Call VIX 45 21.03.18                BUY     2/13/2018    1,600.00   0.33
Call VIX 47,5 16.05.18              BUY     2/13/2018    1,400.00   0.33
Call VIX 55 21.03.18                SELL    2/15/2018    -900.00    0.10
Call VIX 60 16.05.18                SELL    2/16/2018   -1,000.00   0.10
Call VIX 55 21.03.18                SELL    2/16/2018   -3,000.00   0.06
Call VIX 55 21.03.18                SELL    2/23/2018   -1,100.00   0.14
Call VIX 60 21.03.18                SELL    2/23/2018   -1,600.00   0.08
Call VIX 45 21.03.18                SELL    2/26/2018    -900.00    0.18
Call VIX 55 21.03.18                SELL    2/26/2018   -1,000.00   0.15
Call VIX 35 21.03.18                SELL    2/26/2018    -900.00    0.10
Call VIX 40 21.03.18                SELL    2/26/2018    -600.00    0.21
Call VIX 47,5 21.03.18              SELL    2/26/2018    -900.00    0.16
Call VIX 50 16.05.18                SELL    2/26/2018   -2,400.00   0.12
Call VIX 55 16.05.18                SELL    2/26/2018   -1,400.00   0.08
Call VIX 60 16.05.18                BUY     3/5/2018      600.00    0.49
Call VIX 70 16.05.18                BUY     3/5/2018      800.00    0.50
Call VIX 37,5 18.04.18              BUY     3/6/2018     1,100.00   0.29
Call VIX 45 20.06.18                BUY     3/6/2018     1,300.00   0.35
Call VIX 42,5 18.04.18              SELL    3/6/2018    -1,300.00   0.35
Call VIX 50 20.06.18                BUY     3/6/2018     1,300.00   0.35
Call VIX 50 20.06.18                BUY     3/7/2018      800.00    0.42
Call VIX 50 20.06.18                BUY     3/7/2018      800.00    0.52
Call VIX 35 18.04.18                BUY     3/8/2018      800.00    0.42
Call VIX 42,5 20.06.18              BUY     3/8/2018      800.00    0.53
Call VIX 32,5 18.04.18              BUY     3/9/2018      500.00    0.24
Call VIX 40 20.06.18                BUY     3/9/2018     1,300.00   0.29
Call VIX 37,5 18.04.18              SELL    3/9/2018    -1,400.00   0.13
Call VIX 50 20.06.18                BUY     3/12/2018     700.00    0.38
Call VIX 60 16.05.18                SELL    3/12/2018    -500.00    0.32
Call VIX 32,5 18.04.18              SELL    3/12/2018    -600.00    0.27
Call VIX 35 18.04.18                BUY     3/12/2018     800.00    0.47
Call VIX 37,5 18.04.18              SELL    3/12/2018   -1,000.00   0.24
Call VIX 40 20.06.18                BUY     3/13/2018     700.00    0.53
Call VIX 47,5 16.05.18              BUY     3/14/2018     500.00    0.44
Call VIX 40 20.06.18                BUY     3/14/2018     800.00    0.57
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Call VIX 32,5 18.04.18              BUY     3/14/2018     200.00    0.42
Call VIX 40 20.06.18                BUY     3/14/2018     800.00    0.27
Call VIX 42,5 16.05.18              BUY     3/14/2018    1,200.00   0.32
Call VIX 42,5 18.04.18              BUY     3/15/2018     800.00    0.26
Call VIX 55 20.06.18                BUY     3/15/2018    1,200.00   0.33
Call VIX 42,5 18.04.18              SELL    3/22/2018   -1,600.00   0.00
Call VIX 55 20.06.18                BUY     4/5/2018      100.00    0.18
Call VIX 70 21.03.18                BUY     4/5/2018      100.00    0.13
Call VIX 32,5 18.04.18              BUY     4/5/2018      100.00    0.48
Call VIX 35 18.04.18                BUY     4/5/2018      100.00    0.08
Call VIX 40 20.06.18                BUY     4/5/2018      100.00    0.07
Call VIX 42,5 18.04.18              BUY     4/5/2018      100.00    0.28
Call VIX 45 18.04.18                BUY     4/9/2018      600.00    0.46
Call VIX 50 20.06.18                BUY     4/9/2018      800.00    0.56
Call VIX 35 16.05.18                BUY     4/10/2018    1,600.00   0.30
Call VIX 40 18.07.18                SELL    4/10/2018   -1,800.00   0.06
Call VIX 42,5 16.05.18              BUY     4/10/2018    1,300.00   0.33
Call VIX 42,5 18.04.18              SELL    4/11/2018    -900.00    0.06
Call VIX 50 18.07.18                BUY     4/11/2018     900.00    0.06
Call VIX 32,5 18.04.18              BUY     4/11/2018    1,800.00   0.45
Call VIX 32,5 18.04.18              SELL    4/11/2018   -1,900.00   0.10
Call VIX 35 16.05.18                BUY     4/11/2018    1,900.00   0.10
Call VIX 35 18.04.18                BUY     4/11/2018    1,600.00   0.55
Call VIX 35 18.04.18                SELL    4/12/2018    -900.00    0.10
Call VIX 40 18.07.18                SELL    4/12/2018   -1,900.00   0.60
Call VIX 32,5 18.04.18              BUY     4/12/2018    1,900.00   0.60
Call VIX 35 18.04.18                SELL    4/12/2018   -1,900.00   0.06
Call VIX 35 18.04.18                BUY     4/12/2018    2,800.00   0.26
Call VIX 35 18.04.18                BUY     4/12/2018    2,600.00   0.33
Call VIX 42,5 16.05.18              BUY     4/13/2018    1,300.00   0.27
Call VIX 50 18.07.18                BUY     4/13/2018    1,200.00   0.31
Call VIX 40 16.05.18                BUY     4/16/2018     800.00    0.37
Call VIX 50 18.07.18                BUY     4/16/2018    1,000.00   0.35
Call VIX 30 16.05.18                BUY     4/16/2018     800.00    0.47
Call VIX 30 16.05.18                BUY     4/16/2018     800.00    0.47
Call VIX 37,5 18.07.18              BUY     4/17/2018    1,100.00   0.34
Call VIX 37,5 18.07.18              SELL    4/17/2018    -600.00    0.21
Call VIX 28 16.05.18                BUY     4/17/2018     900.00    0.44
Call VIX 35 16.05.18                SELL    4/17/2018    -900.00    0.13
Call VIX 37,5 18.07.18              SELL    4/18/2018   -1,800.00   0.19
Call VIX 42,5 16.05.18              SELL    4/18/2018   -1,600.00   0.12
Call VIX 35 16.05.18                SELL    4/18/2018    -700.00    0.08
Call VIX 42,5 16.05.18              SELL    4/19/2018   -2,500.00   0.00
Call VIX 50 16.05.18                SELL    4/19/2018   -1,100.00   0.00
Call VIX 32,5 18.04.18              SELL    4/19/2018    -500.00    0.00
Call VIX 35 18.04.18                SELL    4/19/2018   -1,700.00   0.00
Call VIX 37,5 18.04.18              SELL    4/19/2018   -3,300.00   0.00
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Call VIX 42,5 18.04.18              SELL    4/30/2018    -1,300.00   0.08
Call VIX 45 18.04.18                SELL     5/4/2018    -2,800.00   0.03
Call VIX 40 16.05.18                BUY      5/7/2018     1,400.00   0.40
Call VIX 42,5 16.05.18              BUY      5/7/2018     1,800.00   0.44
Call VIX 30 20.06.18                SELL     5/8/2018     -800.00    0.08
Call VIX 37,5 22.08.18              BUY      5/8/2018     1,100.00   0.42
Call VIX 30 16.05.18                BUY      5/8/2018     1,600.00   0.46
Call VIX 30 20.06.18                BUY      5/9/2018     1,600.00   0.23
Call VIX 37,5 22.08.18              BUY      5/9/2018     2,400.00   0.27
Call VIX 37,5 20.06.18              SELL     5/9/2018    -1,300.00   0.12
Call VIX 47,5 22.08.18              BUY     5/11/2018      700.00    0.34
Call VIX 50 20.06.18                BUY     5/11/2018     1,200.00   0.23
Call VIX 27 20.06.18                BUY     5/11/2018      800.00    0.41
Call VIX 32,5 20.06.18              SELL    5/11/2018    -2,400.00   0.23
Call VIX 35 22.08.18                BUY     5/11/2018     1,100.00   0.27
Call VIX 40 18.07.18                SELL    5/11/2018    -5,100.00   0.15
Call VIX 45 22.08.18                SELL    5/11/2018    -1,200.00   0.07
Call VIX 50 18.07.18                BUY     5/14/2018      600.00    0.32
Call VIX 55 20.06.18                BUY     5/14/2018      100.00    0.20
Call VIX 25 20.06.18                BUY     5/14/2018      800.00    0.43
Call VIX 30 20.06.18                SELL    5/14/2018    -1,700.00   0.10
Call VIX 32,5 22.08.18              BUY     5/14/2018     1,100.00   0.26
Call VIX 40 20.06.18                SELL    5/17/2018    -1,100.00   0.00
Call VIX 42,5 22.08.18              SELL    5/17/2018    -1,000.00   0.00
Call VIX 28 16.05.18                SELL    5/17/2018     -800.00    0.00
Call VIX 30 16.05.18                SELL    5/21/2018    -1,400.00   0.17
Call VIX 45 16.05.18                SELL    5/21/2018     -700.00    0.11
Call VIX 30 20.06.18                SELL    5/21/2018     -800.00    0.09
Call VIX 37,5 20.06.18              SELL    5/21/2018     -800.00    0.08
Call VIX 42,5 20.06.18              SELL    5/21/2018    -1,400.00   0.07
Call VIX 45 20.06.18                SELL    5/21/2018    -1,200.00   0.06
Call VIX 50 20.06.18                SELL    5/22/2018     -700.00    0.12
Call VIX 55 20.06.18                SELL    5/22/2018     -200.00    0.12
Call VIX 37,5 20.06.18              SELL     6/1/2018    -1,600.00   0.20
Call VIX 37,5 20.06.18              BUY     12/16/2014     273.00    0.55
Call VIX 37,5 18.07.18              SELL    12/16/2014    -273.00    0.55

NORD/LB           Horizont
FondsVIX Future 15.01.13            BUY     12/11/2012     75.00     16.80
VIX Future 15.01.13                 SELL    12/21/2012    -40.00     18.10
VIX Future 15.01.13                 SELL    12/21/2012    -35.00     18.55
VIX Future 16.04.13                 BUY     1/29/2013      50.00     16.45
VIX Future 19.03.13                 BUY      2/6/2013      50.00     15.85
VIX Future 19.03.13                 SELL    2/25/2013     -50.00     16.80
VIX Future 21.05.13                 BUY      3/7/2013      50.00     16.10
VIX Future 16.04.13                 SELL     4/5/2013     -50.00     15.15
VIX Future 21.05.13                 BUY     4/10/2013      50.00     14.65
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VIX Future 21.05.13                SELL    4/17/2013     -50.00   16.10
VIX Future 18.06.13                BUY      5/6/2013      50.00   14.90
VIX Future 21.05.13                SELL    5/21/2013     -50.00   13.20
VIX Future 18.06.13                BUY     5/23/2013      50.00   15.80
VIX Future 18.06.13                BUY     5/28/2013      50.00   15.05
VIX Future 18.06.13                SELL     6/3/2013     -50.00   16.40
VIX Future 18.06.13                SELL     6/6/2013     -50.00   16.90
VIX Future 18.06.13                SELL     6/6/2013     -50.00   17.20
VIX Future 20.08.13                BUY     7/16/2013      50.00   15.95
VIX Future 20.08.13                BUY     7/19/2013      50.00   15.00
VIX Future 20.08.13                BUY     7/23/2013      50.00   14.59
VIX Future 20.08.13                BUY     7/30/2013      50.00   14.60
VIX Future 20.08.13                BUY      8/1/2013      50.00   14.00
VIX Future 17.09.13                BUY      8/2/2013      50.00   14.60
VIX Future 20.08.13                SELL    8/16/2013    -250.00   14.12
VIX Future 17.09.13                SELL    8/27/2013     -50.00   17.10
VIX Future 15.10.13                BUY     9/18/2013      50.00   14.95
VIX Future 15.10.13                BUY     9/20/2013      50.00   14.60
VIX Future 15.10.13                SELL    9/30/2013     -50.00   16.00
VIX Future 15.10.13                SELL    9/30/2013     -50.00   16.20
VIX Future 15.10.13                BUY     9/30/2013      50.00   16.20
VIX Future 15.10.13                SELL    9/30/2013     -50.00   16.20
VIX Future 15.10.13                SELL    10/1/2013     -50.00   16.20
VIX Future 15.10.13                BUY     10/1/2013      50.00   16.20
VIX Future 19.11.13                BUY     10/18/2013     50.00   14.40
VIX Future 17.12.13                BUY     11/14/2013     50.00   14.50
VIX Future 17.12.13                BUY     11/18/2013     50.00   14.24
VIX Future 17.12.13                BUY     11/18/2013      5.00   14.20
VIX Future 19.11.13                SELL    11/18/2013    -50.00   12.79
VIX Future 17.12.13                SELL    12/6/2013     -55.00   13.95
VIX Future 17.12.13                SELL    12/11/2013    -50.00   14.48
VIX Future 21.01.14                BUY     12/11/2013     50.00   15.37
VIX Future 21.01.14                SELL    1/14/2014     -50.00   13.65
VIX Future 15.07.14                BUY     5/22/2014      50.00   14.95
VIX Future 15.07.14                SELL    7/10/2014     -50.00   13.00
VIX Future 19.08.14                BUY     7/10/2014     100.00   13.35
VIX Future 19.08.14                SELL    7/31/2014    -100.00   13.95
VIX Future 16.09.14                BUY     8/22/2014     100.00   13.45
VIX Future 21.10.14                BUY     8/22/2014     100.00   14.20
VIX Future 16.09.14                SELL     9/9/2014    -100.00   13.50
VIX Future 21.10.14                SELL    9/25/2014    -100.00   15.45
VIX Future 18.03.15                BUY     2/27/2015      50.00   16.10
VIX Future 17.06.15                BUY      3/6/2015      50.00   17.95
VIX Future 17.06.15                SELL    3/10/2015     -50.00   18.60
VIX Future 18.03.15                SELL    3/10/2015     -50.00   16.65
VIX Future 15.04.15                BUY     3/25/2015      50.00   15.90
VIX Future 15.04.15                SELL    4/15/2015     -50.00   13.81
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VIX Future 20.05.15                   BUY      4/24/2015     85.00    14.70
VIX Future 20.05.15                   SELL     5/21/2015     -85.00   12.80
VIX Future 16.09.15                   BUY      7/20/2015     50.00    15.30
VIX Future 16.09.15                   BUY       8/6/2015     50.00    15.25
VIX Future 16.09.15                   SELL     8/24/2015    -100.00   22.88
VIX Future 18.05.16                   BUY      4/15/2016     46.00    17.20
VIX Future 18.05.16                   SELL     5/18/2016     -46.00   15.40
VIX Future 15.06.16                   BUY       6/3/2016     20.00    15.35
VIX Future 20.07.16                   BUY       6/3/2016     20.00    17.45
VIX Future 15.06.16                   SELL     6/10/2016     -20.00   16.60
VIX Future 20.07.16                   SELL     6/15/2016     -20.00   20.05
VIX Future 17.08.16                   BUY       7/6/2016     50.00    18.75
VIX Future 17.08.16                   BUY      7/12/2016     25.00    16.45
VIX Future 17.08.16                   SELL      8/8/2016     -19.00   12.75
VIX Future 21.09.16                   BUY       8/8/2016     19.00    15.25
VIX Future 17.08.16                   SELL     8/10/2016     -19.00   12.55
VIX Future 17.08.16                   SELL     8/18/2016     -37.00   12.80
VIX Future 17.08.16                   SELL     8/18/2016     -37.00   12.80
VIX Future 21.09.16                   SELL      9/2/2016     -19.00   14.05
VIX Future 19.04.17                   BUY      2/10/2017     35.00    15.20
VIX Future 22.03.17                   BUY      2/10/2017     35.00    13.60
VIX Future 17.05.17                   BUY      3/20/2017     35.00    14.10
VIX Future 22.03.17                   SELL     3/20/2017     -35.00   11.70
VIX Future 19.04.17                   SELL     4/11/2017     -35.00   16.25
VIX Future 17.05.17                   SELL     5/18/2017     -35.00   12.98
VIX Future 19.07.17                   BUY      6/14/2017     28.00    12.40
VIX Future 19.07.17                   SELL     7/19/2017     -28.00   10.11
VIX Future 19.07.17                   BUY      7/19/2017     28.00    10.11
VIX Future 19.07.17                   SELL     7/19/2017     -28.00   10.11
VIX Future 20.09.17                   BUY       8/2/2017     40.00    12.50
VIX Future 20.09.17                   SELL      8/2/2017     -40.00   12.50
VIX Future 20.09.17                   BUY       8/2/2017     40.00    12.50
VIX Future 20.09.17                   SELL     8/18/2017     -40.00   15.10
VIX Future 18.10.17                   BUY      8/23/2017     40.00    14.10
VIX Future 18.10.17                   SELL     10/18/2017    -40.00   10.53
VIX Future 18.10.17                   BUY      10/18/2017    40.00    10.53
VIX Future 18.10.17                   SELL     10/18/2017    -40.00   10.53
VIX Future 20.12.17                   BUY      10/18/2017    40.00    12.25
VIX Future 20.12.17                   SELL     11/15/2017    -40.00   13.25
VIX Future 20.12.17                   BUY      11/21/2017    40.00    11.70
VIX Future 20.12.17                   SELL     12/21/2017    -40.00   8.75

Nordlux Pro Fondsmanagement - Bürgerstiftungsfonds
VIX Future 21.03.18                   BUY       2/5/2018    70.00     14.70
VIX Future 18.04.18                   BUY       2/6/2018    70.00     18.93
VIX Future 18.04.18                   SELL      2/6/2018    -70.00    18.93
VIX Future 18.04.18                   BUY       2/6/2018    70.00     21.19
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VIX Future 18.04.18                  SELL     2/6/2018    -25.00   18.93
VIX Future 18.04.18                  SELL     2/6/2018    -45.00   18.93
VIX Future 21.03.18                  SELL     2/6/2018    -70.00   23.45

Nordlux Pro Fondsmanagement - Nordlux Aktiv
VIX Future 15.07.14                  BUY      5/22/2014     5.00   14.95
VIX Future 15.07.14                  SELL     7/10/2014    -5.00   13.00
VIX Future 19.08.14                  BUY      7/10/2014    10.00   13.35
VIX Future 19.08.14                  SELL     7/31/2014   -10.00   13.95
VIX Future 16.09.14                  BUY      8/22/2014    10.00   13.45
VIX Future 21.10.14                  BUY      8/22/2014    10.00   14.20
VIX Future 16.09.14                  SELL     9/9/2014    -10.00   13.50
VIX Future 21.10.14                  SELL     9/25/2014   -10.00   15.45
VIX Future 18.03.15                  BUY      2/27/2015    20.00   16.10
VIX Future 17.06.15                  BUY      3/6/2015     20.00   17.95
VIX Future 17.06.15                  SELL     3/10/2015   -20.00   18.60
VIX Future 18.03.15                  SELL     3/10/2015   -20.00   16.65
VIX Future 15.04.15                  BUY      3/25/2015    20.00   15.90
VIX Future 15.04.15                  SELL     4/15/2015   -20.00   13.81
VIX Future 20.05.15                  BUY      4/24/2015    43.00   14.70
VIX Future 20.05.15                  SELL     5/21/2015   -43.00   12.80
VIX Future 16.09.15                  BUY      7/20/2015    20.00   15.30
VIX Future 16.09.15                  BUY      8/6/2015     20.00   15.25
VIX Future 16.09.15                  SELL     8/24/2015   -40.00   22.88
VIX Future 18.05.16                  BUY      4/15/2016    30.00   17.20
VIX Future 18.05.16                  SELL     5/18/2016   -30.00   15.40
VIX Future 15.06.16                  BUY      6/3/2016     15.00   15.35
VIX Future 20.07.16                  BUY      6/3/2016     15.00   17.45
VIX Future 15.06.16                  SELL     6/10/2016   -15.00   16.60
VIX Future 20.07.16                  SELL     6/15/2016   -15.00   20.05
VIX Future 17.08.16                  BUY      7/6/2016     30.00   18.75
VIX Future 17.08.16                  BUY      7/12/2016    15.00   16.45
VIX Future 17.08.16                  SELL     8/8/2016    -11.00   12.75
VIX Future 21.09.16                  BUY      8/8/2016     11.00   15.25
VIX Future 17.08.16                  SELL     8/10/2016   -11.00   12.55
VIX Future 17.08.16                  SELL     8/18/2016   -23.00   12.80
VIX Future 17.08.16                  SELL     8/18/2016   -23.00   12.80
VIX Future 21.09.16                  SELL     9/2/2016    -11.00   14.05
VIX Future 19.04.17                  BUY      2/10/2017    35.00   15.20
VIX Future 22.03.17                  BUY      2/10/2017    35.00   13.60
VIX Future 17.05.17                  BUY      3/20/2017    35.00   14.10
VIX Future 22.03.17                  SELL     3/20/2017   -35.00   11.70
VIX Future 19.04.17                  SELL     4/11/2017   -35.00   16.25
VIX Future 17.05.17                  SELL     5/18/2017   -35.00   12.98
VIX Future 19.07.17                  BUY      6/14/2017    34.00   12.40
VIX Future 19.07.17                  SELL     7/19/2017   -34.00   10.11
VIX Future 19.07.17                  BUY      7/19/2017    34.00   10.11
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VIX Future 19.07.17                  SELL       7/19/2017    -34.00   10.11
VIX Future 19.07.17                  BUY        7/19/2017     34.00   10.11
VIX Future 19.07.17                  SELL       7/19/2017    -34.00   10.11
VIX Future 20.09.17                  BUY         8/2/2017     30.00   12.50
VIX Future 20.09.17                  SELL        8/2/2017    -30.00   12.50
VIX Future 20.09.17                  BUY         8/2/2017     30.00   12.50
VIX Future 20.09.17                  SELL       8/18/2017    -30.00   15.10
VIX Future 18.10.17                  BUY        8/23/2017     30.00   14.10
VIX Future 18.10.17                  SELL       10/18/2017   -30.00   10.53

Nordlux Pro Fondsmanagement - Nordlux Pro 100
VIX Future 15.01.13                   BUY       12/6/2012    120.00   17.50
VIX Future 15.01.13                   SELL      12/21/2012   -60.00   18.10
VIX Future 15.01.13                   SELL      12/21/2012   -60.00   18.55
VIX Future 16.04.13                   BUY       1/29/2013     60.00   16.45
VIX Future 19.03.13                   BUY        2/6/2013     60.00   15.85
VIX Future 19.03.13                   SELL      2/25/2013    -60.00   16.20
VIX Future 16.04.13                   SELL       4/5/2013    -60.00   15.15
VIX Future 21.05.13                   BUY       4/10/2013     60.00   14.65
VIX Future 21.05.13                   SELL      4/17/2013    -60.00   16.10
VIX Future 20.08.13                   BUY       7/23/2013     85.00   14.59
VIX Future 20.08.13                   SELL      8/16/2013    -85.00   14.12
VIX Future 15.10.13                   BUY       9/18/2013     45.00   14.95
VIX Future 15.10.13                   BUY       9/20/2013     40.00   14.60
VIX Future 15.10.13                   SELL      9/30/2013    -40.00   16.00
VIX Future 15.10.13                   SELL      9/30/2013    -45.00   16.20
VIX Future 15.10.13                   SELL      10/1/2013    -45.00   16.20
VIX Future 15.10.13                   BUY       10/1/2013     45.00   16.20
VIX Future 19.11.13                   BUY       10/18/2013    40.00   14.40
VIX Future 17.12.13                   BUY       11/18/2013    40.00   14.24
VIX Future 19.11.13                   SELL      11/18/2013   -40.00   12.79
VIX Future 17.12.13                   SELL      12/6/2013    -40.00   13.95
VIX Future 15.07.14                   BUY       5/22/2014     12.00   14.95
VIX Future 15.07.14                   SELL      7/10/2014    -12.00   13.00
VIX Future 19.08.14                   BUY       7/10/2014     24.00   13.35
VIX Future 19.08.14                   SELL      7/31/2014    -24.00   13.95
VIX Future 16.09.14                   BUY       8/22/2014     24.00   13.45
VIX Future 21.10.14                   BUY       8/22/2014     24.00   14.20
VIX Future 16.09.14                   SELL       9/9/2014    -24.00   13.50
VIX Future 21.10.14                   SELL      9/25/2014    -24.00   15.45
VIX Future 18.03.15                   BUY       2/27/2015     20.00   16.10
VIX Future 17.06.15                   BUY        3/6/2015     20.00   17.95
VIX Future 17.06.15                   SELL      3/10/2015    -20.00   18.60
VIX Future 18.03.15                   SELL      3/10/2015    -20.00   16.65
VIX Future 15.04.15                   BUY       3/25/2015     20.00   15.90
VIX Future 15.04.15                   SELL      4/15/2015    -20.00   13.81
VIX Future 20.05.15                   BUY       4/24/2015     39.00   14.70
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VIX Future 20.05.15                  SELL      5/21/2015    -39.00   12.80
VIX Future 16.09.15                  BUY       7/20/2015     20.00   15.30
VIX Future 16.09.15                  BUY        8/6/2015     20.00   15.25
VIX Future 16.09.15                  SELL      8/24/2015    -40.00   22.88
VIX Future 18.05.16                  BUY       4/15/2016     33.00   17.20
VIX Future 18.05.16                  SELL      5/18/2016    -33.00   15.40
VIX Future 15.06.16                  BUY        6/3/2016     15.00   15.35
VIX Future 20.07.16                  BUY        6/3/2016     15.00   17.45
VIX Future 15.06.16                  SELL      6/10/2016    -15.00   16.60
VIX Future 20.07.16                  SELL      6/15/2016    -15.00   20.05
VIX Future 17.08.16                  BUY        7/6/2016     30.00   18.75
VIX Future 17.08.16                  BUY       7/12/2016     15.00   16.45
VIX Future 17.08.16                  BUY        8/2/2016     15.00   13.95
VIX Future 17.08.16                  SELL       8/8/2016    -15.00   12.75
VIX Future 21.09.16                  BUY        8/8/2016     15.00   15.25
VIX Future 17.08.16                  SELL      8/10/2016    -15.00   12.55
VIX Future 17.08.16                  SELL      8/18/2016    -30.00   12.80
VIX Future 17.08.16                  SELL      8/18/2016    -30.00   12.80
VIX Future 21.09.16                  SELL       9/2/2016    -15.00   14.05
VIX Future 19.04.17                  BUY       2/10/2017     24.00   15.20
VIX Future 22.03.17                  BUY       2/10/2017     24.00   13.60
VIX Future 17.05.17                  BUY       3/20/2017     24.00   14.10
VIX Future 22.03.17                  SELL      3/20/2017    -24.00   11.70
VIX Future 19.04.17                  SELL      4/11/2017    -24.00   16.25
VIX Future 17.05.17                  SELL      5/18/2017    -24.00   12.98
VIX Future 19.07.17                  BUY       6/14/2017     23.00   12.40
VIX Future 19.07.17                  SELL      7/19/2017    -23.00   10.11
VIX Future 19.07.17                  BUY       7/19/2017     23.00   10.11
VIX Future 19.07.17                  SELL      7/19/2017    -23.00   10.11
VIX Future 20.09.17                  BUY        8/2/2017     25.00   12.50
VIX Future 20.09.17                  SELL       8/2/2017    -25.00   12.50
VIX Future 20.09.17                  BUY        8/2/2017     25.00   12.50
VIX Future 20.09.17                  SELL      8/18/2017    -25.00   15.10
VIX Future 18.10.17                  BUY       8/23/2017     25.00   14.10
VIX Future 18.10.17                  SELL      10/18/2017   -25.00   10.53

Nordlux Pro Fondsmanagement - Nordlux Pro 30
VIX Future 15.01.13                  BUY       12/6/2012     30.00   17.50
VIX Future 15.01.13                  SELL      12/21/2012   -15.00   18.10
VIX Future 15.01.13                  SELL      12/21/2012   -15.00   18.55
VIX Future 16.04.13                  BUY       1/29/2013     15.00   16.45
VIX Future 19.03.13                  BUY        2/6/2013     15.00   15.85
VIX Future 19.03.13                  SELL      2/25/2013    -15.00   16.20
VIX Future 16.04.13                  SELL       4/5/2013    -15.00   15.15
VIX Future 21.05.13                  BUY       4/10/2013     15.00   14.65
VIX Future 21.05.13                  SELL      4/17/2013    -15.00   16.10
VIX Future 20.08.13                  BUY       7/23/2013     25.00   14.59
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VIX Future 20.08.13                  SELL      8/16/2013    -25.00   14.12
VIX Future 15.10.13                  BUY       9/18/2013     15.00   14.95
VIX Future 15.10.13                  BUY       9/20/2013     10.00   14.60
VIX Future 15.10.13                  SELL      9/30/2013    -10.00   16.00
VIX Future 15.10.13                  SELL      9/30/2013    -15.00   16.20
VIX Future 15.10.13                  SELL      10/1/2013    -15.00   16.20
VIX Future 15.10.13                  BUY       10/1/2013     15.00   16.20
VIX Future 19.11.13                  BUY       10/18/2013    10.00   14.40
VIX Future 17.12.13                  BUY       11/18/2013    10.00   14.24
VIX Future 19.11.13                  SELL      11/18/2013   -10.00   12.79
VIX Future 17.12.13                  SELL      12/6/2013    -10.00   13.95
VIX Future 15.07.14                  BUY       5/22/2014      5.00   14.95
VIX Future 15.07.14                  SELL      7/10/2014     -5.00   13.00
VIX Future 19.08.14                  BUY       7/10/2014     10.00   13.35
VIX Future 19.08.14                  SELL      7/31/2014    -10.00   13.95
VIX Future 16.09.14                  BUY       8/22/2014     10.00   13.45
VIX Future 21.10.14                  BUY       8/22/2014     10.00   14.20
VIX Future 16.09.14                  SELL       9/9/2014    -10.00   13.50
VIX Future 21.10.14                  SELL      9/25/2014    -10.00   15.45

Nordlux Pro Fondsmanagement - Nordlux Pro 60
VIX Future 15.01.13                  BUY       12/6/2012     50.00   17.50
VIX Future 15.01.13                  SELL      12/21/2012   -25.00   18.10
VIX Future 15.01.13                  SELL      12/21/2012   -25.00   18.55
VIX Future 16.04.13                  BUY       1/29/2013     25.00   16.45
VIX Future 19.03.13                  BUY        2/6/2013     25.00   15.85
VIX Future 19.03.13                  SELL      2/25/2013    -25.00   16.20
VIX Future 16.04.13                  SELL       4/5/2013    -25.00   15.15
VIX Future 21.05.13                  BUY       4/10/2013     25.00   14.65
VIX Future 21.05.13                  SELL      4/17/2013    -25.00   16.10
VIX Future 20.08.13                  BUY       7/23/2013     40.00   14.59
VIX Future 20.08.13                  SELL      8/16/2013    -40.00   14.12
VIX Future 15.10.13                  BUY       9/18/2013     20.00   14.95
VIX Future 15.10.13                  BUY       9/20/2013     20.00   14.60
VIX Future 15.10.13                  SELL      9/30/2013    -20.00   16.00
VIX Future 15.10.13                  SELL      9/30/2013    -20.00   16.20
VIX Future 15.10.13                  SELL      10/1/2013    -20.00   16.20
VIX Future 15.10.13                  BUY       10/1/2013     20.00   16.20
VIX Future 19.11.13                  BUY       10/18/2013    20.00   14.40
VIX Future 17.12.13                  BUY       11/18/2013    20.00   14.24
VIX Future 19.11.13                  SELL      11/18/2013   -20.00   12.79
VIX Future 17.12.13                  SELL      12/6/2013    -20.00   13.95
VIX Future 15.07.14                  BUY       5/22/2014      7.00   14.95
VIX Future 15.07.14                  SELL      7/10/2014     -7.00   13.00
VIX Future 19.08.14                  BUY       7/10/2014     14.00   13.35
VIX Future 19.08.14                  SELL      7/31/2014    -14.00   13.95
VIX Future 16.09.14                  BUY       8/22/2014     14.00   13.45
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VIX Future 21.10.14                  BUY      8/22/2014     14.00   14.20
VIX Future 16.09.14                  SELL     9/9/2014     -14.00   13.50
VIX Future 21.10.14                  SELL     9/25/2014    -14.00   15.45

Nordlux Pro Fondsmanagement - Nordlux Strategie
VIX Future 16.10.12                  BUY       9/28/2012    40.00   16.75
VIX Future 16.10.12                  SELL     10/12/2012   -40.00   16.05
VIX Future 15.01.13                  BUY       12/6/2012    20.00   17.50
VIX Future 15.01.13                  SELL     12/21/2012   -10.00   18.10
VIX Future 15.01.13                  SELL     12/21/2012   -10.00   18.55
VIX Future 16.04.13                  BUY       1/29/2013    15.00   16.45
VIX Future 19.03.13                  BUY        2/6/2013    15.00   15.85
VIX Future 19.03.13                  SELL      2/25/2013   -15.00   16.20
VIX Future 19.03.13                  BUY       2/25/2013    15.00   16.20
VIX Future 19.03.13                  SELL      2/25/2013   -15.00   16.20
VIX Future 16.04.13                  SELL       4/5/2013   -15.00   15.15
VIX Future 21.05.13                  BUY       4/10/2013    20.00   14.65
VIX Future 21.05.13                  SELL      4/17/2013   -20.00   16.10
VIX Future 20.08.13                  BUY       7/24/2013    10.00   14.75
VIX Future 20.08.13                  BUY       7/26/2013    10.00   14.60
VIX Future 20.08.13                  SELL      8/16/2013   -20.00   14.12
VIX Future 15.10.13                  BUY       9/18/2013    10.00   14.95
VIX Future 15.10.13                  BUY       9/20/2013    10.00   14.60
VIX Future 15.10.13                  SELL      9/30/2013   -10.00   16.00
VIX Future 15.10.13                  SELL      9/30/2013   -10.00   16.20
VIX Future 15.10.13                  SELL      10/1/2013   -10.00   16.20
VIX Future 15.10.13                  BUY       10/1/2013    10.00   16.20
VIX Future 19.11.13                  BUY      10/18/2013    10.00   14.40
VIX Future 17.12.13                  BUY      11/18/2013    10.00   14.24
VIX Future 19.11.13                  SELL     11/18/2013   -10.00   12.79
VIX Future 17.12.13                  SELL      12/6/2013   -10.00   13.95
VIX Future 15.07.14                  BUY       5/22/2014    10.00   14.95
VIX Future 15.07.14                  SELL      7/10/2014   -10.00   13.00
VIX Future 19.08.14                  BUY       7/10/2014    20.00   13.35
VIX Future 19.08.14                  SELL      7/31/2014   -20.00   13.95
VIX Future 16.09.14                  BUY       8/22/2014    20.00   13.45
VIX Future 21.10.14                  BUY       8/22/2014    20.00   14.20
VIX Future 16.09.14                  SELL       9/9/2014   -20.00   13.50
VIX Future 21.10.14                  SELL      9/25/2014   -20.00   15.45
VIX Future 18.03.15                  BUY       2/27/2015    10.00   16.10
VIX Future 17.06.15                  BUY        3/6/2015    10.00   17.95
VIX Future 17.06.15                  SELL      3/10/2015   -10.00   18.60
VIX Future 18.03.15                  SELL      3/10/2015   -10.00   16.65
VIX Future 15.04.15                  BUY       3/25/2015    10.00   15.90
VIX Future 15.04.15                  SELL      4/15/2015   -10.00   13.81
VIX Future 20.05.15                  BUY       4/24/2015    30.00   14.70
VIX Future 20.05.15                  SELL       5/7/2015   -30.00   15.75
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VIX Future 16.09.15                   BUY        7/20/2015     10.00    15.30
VIX Future 16.09.15                   BUY         8/6/2015     10.00    15.25
VIX Future 16.09.15                   BUY        8/24/2015     20.00    23.45
VIX Future 16.09.15                   SELL       8/24/2015    -40.00    22.88
VIX Future 18.05.16                   BUY        4/15/2016     41.00    17.20
VIX Future 18.05.16                   SELL       5/18/2016    -41.00    15.40
VIX Future 15.06.16                   BUY         6/3/2016     15.00    15.35
VIX Future 20.07.16                   BUY         6/3/2016     15.00    17.45
VIX Future 15.06.16                   SELL       6/10/2016    -15.00    16.60
VIX Future 20.07.16                   SELL       6/15/2016    -15.00    20.05
VIX Future 17.08.16                   BUY         7/6/2016     30.00    18.75
VIX Future 17.08.16                   BUY        7/12/2016     15.00    16.45
VIX Future 17.08.16                   BUY         8/2/2016     15.00    13.95
VIX Future 17.08.16                   SELL        8/8/2016    -15.00    12.75
VIX Future 21.09.16                   BUY         8/8/2016     15.00    15.25
VIX Future 17.08.16                   SELL       8/10/2016    -15.00    12.55
VIX Future 17.08.16                   SELL       8/18/2016    -30.00    12.80
VIX Future 17.08.16                   SELL       8/18/2016    -30.00    12.80
VIX Future 21.09.16                   SELL        9/2/2016    -15.00    14.05
VIX Future 19.04.17                   BUY        2/10/2017     22.00    15.20
VIX Future 22.03.17                   BUY        2/10/2017     22.00    13.60
VIX Future 17.05.17                   BUY        3/20/2017     22.00    14.10
VIX Future 22.03.17                   SELL       3/20/2017    -22.00    11.70
VIX Future 19.04.17                   SELL       4/11/2017    -22.00    16.25
VIX Future 17.05.17                   SELL       5/18/2017    -22.00    12.98
VIX Future 19.07.17                   BUY        6/14/2017     15.00    12.40
VIX Future 19.07.17                   SELL       7/19/2017    -15.00    10.11
VIX Future 19.07.17                   BUY        7/19/2017     15.00    10.11
VIX Future 19.07.17                   SELL       7/19/2017    -15.00    10.11
VIX Future 20.09.17                   BUY         8/2/2017     20.00    12.50
VIX Future 20.09.17                   SELL        8/2/2017    -20.00    12.50
VIX Future 20.09.17                   BUY         8/2/2017     20.00    12.50
VIX Future 20.09.17                   SELL       8/18/2017    -20.00    15.10
VIX Future 18.10.17                   BUY        8/23/2017     20.00    14.10
VIX Future 18.10.17                   SELL       10/18/2017   -20.00    10.53
VIX Future 20.12.17                   BUY        11/21/2017    30.00    11.70
VIX Future 20.12.17                   SELL       12/21/2017   -30.00    8.75

Nordlux Pro Fondsmanagement - StiftungsPartner
VIX Future 21.03.18                   BUY         2/5/2018     100.00   14.70
VIX Future 18.04.18                   BUY         2/6/2018     100.00   21.19
VIX Future 18.04.18                   SELL        2/6/2018     -35.00   18.93
VIX Future 18.04.18                   SELL        2/6/2018     -65.00   18.93
VIX Future 21.03.18                   SELL        2/6/2018    -100.00   23.45

OptoFlex
Call VIX 21 20.03.13                  BUY        12/18/2012   70.00     2.10
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Call VIX 21 20.03.13                BUY     12/18/2012     180.00    1.85
Call VIX 40 16.01.13                BUY     12/18/2012    1,500.00   0.10
Call VIX 21 20.03.13                BUY     12/19/2012     100.00    1.80
Call VIX 32,5 16.01.13              BUY     12/19/2012    2,250.00   0.15
Call VIX 47,5 20.03.13              BUY     12/19/2012    1,250.00   0.15
Call VIX 19 13.02.13                BUY     12/20/2012     250.00    1.65
Call VIX 21 20.03.13                BUY     12/20/2012     175.00    1.90
Call VIX 35 13.02.13                BUY     12/20/2012    1,000.00   0.28
Call VIX 37,5 20.03.13              BUY     12/20/2012    1,000.00   0.35
Call VIX 42,5 13.02.13              BUY     12/20/2012    1,000.00   0.15
Call VIX 19 13.02.13                SELL     1/8/2013      -80.00    1.00
Call VIX 20 17.04.13                BUY      1/8/2013       85.00    2.25
Call VIX 45 17.04.13                BUY      1/8/2013     1,000.00   0.18
Call VIX 19 13.02.13                SELL    1/11/2013     -170.00    0.75
Call VIX 20 17.04.13                BUY     1/11/2013      170.00    2.00
Call VIX 20 17.04.13                BUY     1/11/2013       70.00    2.05
Call VIX 21 20.03.13                SELL    1/11/2013      -70.00    1.40
Call VIX 20 17.04.13                BUY     1/14/2013      125.00    1.95
Call VIX 21 20.03.13                SELL    1/14/2013     -180.00    1.30
Call VIX 27 13.02.13                BUY     1/14/2013      700.00    0.25
Call VIX 37,5 17.04.13              BUY     1/14/2013      850.00    0.35
Call VIX 32,5 16.01.13              SELL    1/17/2013    -2,250.00   0.00
Call VIX 40 16.01.13                SELL    1/17/2013    -1,500.00   0.00
Call VIX 18 22.05.13                BUY      2/7/2013      130.00    2.20
Call VIX 20 17.04.13                SELL     2/7/2013     -130.00    1.20
Call VIX 27 20.03.13                BUY      2/7/2013     1,000.00   0.23
Call VIX 18 22.05.13                BUY     2/11/2013       70.00    1.80
Call VIX 21 20.03.13                SELL    2/11/2013      -70.00    0.40
Call VIX 42,5 22.05.13              BUY     2/11/2013     1,000.00   0.15
Call VIX 18 22.05.13                BUY     2/13/2013      280.00    1.82
Call VIX 18 22.05.13                SELL    2/13/2013      -65.00    1.75
Call VIX 20 17.04.13                SELL    2/13/2013      -75.00    0.80
Call VIX 21 20.03.13                SELL    2/13/2013     -205.00    0.35
Call VIX 32,5 20.03.13              BUY     2/13/2013     1,250.00   0.09
Call VIX 32,5 22.05.13              BUY     2/13/2013      700.00    0.35
Call VIX 27 13.02.13                SELL    2/14/2013     -700.00    0.00
Call VIX 35 13.02.13                SELL    2/14/2013    -1,000.00   0.00
Call VIX 42,5 13.02.13              SELL    2/14/2013    -1,000.00   0.00
Call VIX 18 22.05.13                BUY     2/15/2013      175.00    1.72
Call VIX 27 20.03.13                BUY     2/15/2013      450.00    0.15
Call VIX 32,5 20.03.13              BUY     2/15/2013      600.00    0.09
Call VIX 32,5 22.05.13              BUY     2/15/2013      400.00    0.33
Call VIX 42,5 22.05.13              BUY     2/15/2013      400.00    0.13
Call VIX 18 19.06.13                BUY      3/6/2013      120.00    2.08
Call VIX 20 17.04.13                SELL     3/6/2013     -120.00    0.70
Call VIX 45 19.06.13                BUY      3/6/2013     1,650.00   0.15
Call VIX 18 19.06.13                BUY      3/7/2013      130.00    1.98
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Call VIX 18 22.05.13                SELL    3/7/2013     -130.00    1.55
Call VIX 32,5 17.04.13              BUY     3/7/2013     2,000.00   0.13
Call VIX 18 19.06.13                BUY     3/8/2013      265.00    1.96
Call VIX 18 22.05.13                SELL    3/8/2013     -145.00    1.50
Call VIX 26 17.04.13                BUY     3/8/2013     1,700.00   0.25
Call VIX 18 19.06.13                BUY     3/11/2013     220.00    1.92
Call VIX 20 17.04.13                SELL    3/11/2013    -125.00    0.50
Call VIX 35 19.06.13                BUY     3/11/2013    1,250.00   0.33
Call VIX 18 22.05.13                SELL    3/21/2013    -315.00    1.45
Call VIX 19 17.07.13                BUY     3/21/2013     330.00    2.35
Call VIX 27 20.03.13                SELL    3/21/2013   -1,450.00   0.00
Call VIX 32,5 20.03.13              SELL    3/21/2013   -1,850.00   0.00
Call VIX 32,5 22.05.13              SELL    3/21/2013   -1,100.00   0.30
Call VIX 37,5 20.03.13              SELL    3/21/2013   -1,000.00   0.00
Call VIX 40 17.07.13                BUY     3/21/2013    1,163.00   0.37
Call VIX 42,5 22.05.13              SELL    3/21/2013   -1,400.00   0.10
Call VIX 47,5 20.03.13              SELL    3/21/2013   -1,250.00   0.00
Call VIX 50 17.07.13                BUY     3/21/2013    1,400.00   0.15
Call VIX 18 17.07.13                BUY     4/8/2013      210.00    2.20
Call VIX 18 19.06.13                SELL    4/8/2013     -270.00    1.59
Call VIX 28 22.05.13                BUY     4/8/2013     1,500.00   0.29
Call VIX 18 19.06.13                SELL    4/12/2013    -125.00    1.35
Call VIX 18 17.07.13                BUY     4/18/2013     100.00    2.50
Call VIX 26 17.04.13                SELL    4/18/2013   -1,700.00   0.00
Call VIX 26 17.04.13                BUY     4/18/2013    1,700.00   0.00
Call VIX 40 22.05.13                BUY     4/18/2013    1,400.00   0.18
Call VIX 26 17.04.13                SELL    4/19/2013   -1,700.00   0.00
Call VIX 32,5 17.04.13              SELL    4/19/2013   -2,000.00   0.00
Call VIX 37,5 17.04.13              SELL    4/19/2013    -850.00    0.00
Call VIX 45 17.04.13                SELL    4/19/2013   -1,000.00   0.00
Call VIX 18 17.07.13                SELL    4/30/2013    -100.00    1.75
Call VIX 18 17.07.13                SELL    5/6/2013     -210.00    1.50
Call VIX 18 21.08.13                BUY     5/10/2013     300.00    2.10
Call VIX 27 19.06.13                BUY     5/10/2013    1,200.00   0.25
Call VIX 32,5 19.06.13              BUY     5/10/2013    1,100.00   0.14
Call VIX 18 19.06.13                SELL    5/15/2013    -340.00    0.80
Call VIX 18 21.08.13                BUY     5/15/2013     285.00    2.05
Call VIX 19 17.07.13                SELL    5/15/2013    -330.00    1.30
Call VIX 35 21.08.13                BUY     5/15/2013    1,100.00   0.33
Call VIX 40 17.07.13                SELL    5/15/2013   -1,163.00   0.13
Call VIX 40 21.08.13                BUY     5/15/2013     900.00    0.23
Call VIX 18 21.08.13                SELL    5/16/2013     -45.00    2.10
Call VIX 18 21.08.13                SELL    5/22/2013    -255.00    2.06
Call VIX 19 18.09.13                BUY     5/22/2013     345.00    2.27
Call VIX 27 19.06.13                SELL    5/22/2013   -1,200.00   0.15
Call VIX 32,5 17.07.13              BUY     5/22/2013    2,450.00   0.26
Call VIX 32,5 19.06.13              SELL    5/22/2013   -1,100.00   0.10
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Call VIX 35 19.06.13                SELL    5/22/2013   -1,250.00   0.05
Call VIX 40 17.07.13                BUY     5/22/2013    1,250.00   0.13
Call VIX 28 22.05.13                SELL    5/23/2013   -1,500.00   0.00
Call VIX 40 22.05.13                SELL    5/23/2013   -1,400.00   0.00
Call VIX 21 18.09.13                BUY     6/20/2013     325.00    2.42
Call VIX 37,5 18.09.13              BUY     6/20/2013    1,250.00   0.40
Call VIX 45 18.09.13                BUY     6/20/2013    1,300.00   0.20
Call VIX 45 19.06.13                SELL    6/20/2013   -1,650.00   0.00
Call VIX 19 16.10.13                BUY     7/15/2013     310.00    1.95
Call VIX 19 18.09.13                SELL    7/15/2013    -345.00    1.37
Call VIX 26 21.08.13                BUY     7/15/2013    1,200.00   0.24
Call VIX 32,5 21.08.13              BUY     7/15/2013    1,600.00   0.10
Call VIX 18 21.08.13                SELL    7/16/2013    -285.00    0.90
Call VIX 19 16.10.13                BUY     7/16/2013     285.00    1.95
Call VIX 19 16.10.13                BUY     7/16/2013      25.00    2.00
Call VIX 32,5 16.10.13              BUY     7/16/2013    1,079.00   0.37
Call VIX 40 16.10.13                BUY     7/16/2013    1,200.00   0.17
Call VIX 32,5 17.07.13              SELL    7/18/2013   -2,450.00   0.00
Call VIX 40 17.07.13                SELL    7/18/2013   -1,250.00   0.00
Call VIX 50 17.07.13                SELL    7/18/2013   -1,400.00   0.00
Call VIX 18 20.11.13                BUY     8/6/2013      230.00    1.85
Call VIX 19 16.10.13                SELL    8/6/2013     -205.00    1.10
Call VIX 26 18.09.13                BUY     8/6/2013     1,300.00   0.28
Call VIX 18 20.11.13                BUY     8/9/2013      105.00    1.85
Call VIX 19 16.10.13                SELL    8/9/2013     -105.00    1.15
Call VIX 32,5 18.09.13              BUY     8/9/2013     1,500.00   0.13
Call VIX 18 20.11.13                BUY     8/12/2013     215.00    1.95
Call VIX 21 18.09.13                SELL    8/12/2013    -215.00    0.50
Call VIX 35 20.11.13                BUY     8/12/2013    1,500.00   0.30
Call VIX 18 20.11.13                BUY     8/16/2013      95.00    2.30
Call VIX 21 18.09.13                SELL    8/16/2013    -110.00    0.55
Call VIX 45 20.11.13                BUY     8/16/2013    1,700.00   0.15
Call VIX 18 20.11.13                BUY     8/19/2013      90.00    2.13
Call VIX 19 16.10.13                BUY     8/19/2013      55.00    1.33
Call VIX 26 18.09.13                BUY     8/19/2013     350.00    0.24
Call VIX 32,5 16.10.13              BUY     8/19/2013     200.00    0.28
Call VIX 32,5 18.09.13              BUY     8/19/2013     350.00    0.13
Call VIX 35 20.11.13                BUY     8/19/2013     200.00    0.35
Call VIX 40 16.10.13                BUY     8/19/2013     250.00    0.13
Call VIX 26 21.08.13                SELL    8/22/2013   -1,200.00   0.00
Call VIX 26 21.08.13                BUY     8/22/2013    1,200.00   0.00
Call VIX 26 21.08.13                SELL    8/23/2013   -1,200.00   0.00
Call VIX 32,5 21.08.13              SELL    8/23/2013   -1,600.00   0.00
Call VIX 35 21.08.13                SELL    8/23/2013   -1,100.00   0.00
Call VIX 40 21.08.13                SELL    8/23/2013    -900.00    0.00
Call VIX 18 20.11.13                BUY     9/6/2013      155.00    2.34
Call VIX 26 18.09.13                BUY     9/6/2013      350.00    0.15
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Call VIX 35 20.11.13                BUY      9/6/2013      290.00    0.35
Call VIX 45 20.11.13                BUY      9/6/2013      250.00    0.15
Call VIX 18 20.11.13                SELL    9/10/2013     -215.00    1.90
Call VIX 18 20.11.13                SELL    9/10/2013      -90.00    1.88
Call VIX 19 18.12.13                BUY     9/10/2013      215.00    2.03
Call VIX 19 18.12.13                BUY     9/10/2013       75.00    2.02
Call VIX 28 16.10.13                BUY     9/10/2013     1,400.00   0.23
Call VIX 32,5 16.10.13              BUY     9/10/2013     1,100.00   0.12
Call VIX 18 20.11.13                BUY     9/12/2013       90.00    1.88
Call VIX 18 20.11.13                BUY     9/12/2013      215.00    1.90
Call VIX 19 18.12.13                SELL    9/12/2013      -75.00    2.02
Call VIX 19 18.12.13                SELL    9/12/2013     -215.00    2.03
Call VIX 28 16.10.13                SELL    9/12/2013    -1,400.00   0.23
Call VIX 32,5 16.10.13              SELL    9/12/2013    -1,100.00   0.12
Call VIX 18 20.11.13                SELL    9/13/2013     -215.00    1.90
Call VIX 18 20.11.13                SELL    9/13/2013      -90.00    1.88
Call VIX 18 20.11.13                SELL    9/13/2013     -163.00    1.60
Call VIX 19 18.12.13                BUY     9/13/2013      215.00    2.03
Call VIX 19 18.12.13                BUY     9/13/2013       75.00    2.02
Call VIX 19 18.12.13                BUY     9/13/2013      145.00    1.80
Call VIX 28 16.10.13                BUY     9/13/2013     1,400.00   0.23
Call VIX 28 16.10.13                BUY     9/13/2013     1,700.00   0.17
Call VIX 32,5 16.10.13              BUY     9/13/2013     1,100.00   0.12
Call VIX 19 16.10.13                SELL    9/18/2013     -365.00    0.60
Call VIX 19 18.12.13                BUY     9/18/2013      540.00    1.65
Call VIX 32,5 18.12.13              BUY     9/18/2013     1,800.00   0.36
Call VIX 42,5 18.12.13              BUY     9/18/2013     2,250.00   0.15
Call VIX 18 20.11.13                SELL    9/19/2013     -422.00    1.20
Call VIX 19 18.12.13                SELL    9/19/2013     -145.00    1.40
Call VIX 32,5 16.10.13              SELL    9/19/2013    -2,379.00   0.08
Call VIX 35 20.11.13                SELL    9/19/2013    -1,990.00   0.15
Call VIX 45 20.11.13                SELL    9/19/2013    -1,950.00   0.05
Call VIX 19 18.12.13                SELL    9/20/2013     -290.00    1.45
Call VIX 26 18.09.13                SELL    9/20/2013    -2,000.00   0.00
Call VIX 28 16.10.13                SELL    9/20/2013    -3,100.00   0.05
Call VIX 32,5 18.09.13              SELL    9/20/2013    -1,850.00   0.00
Call VIX 37,5 18.09.13              SELL    9/20/2013    -1,250.00   0.00
Call VIX 45 18.09.13                SELL    9/20/2013    -1,300.00   0.00
Call VIX 20 22.01.14                BUY     10/8/2013      200.00    2.60
Call VIX 37,5 20.11.13              BUY     10/8/2013     1,500.00   0.35
Call VIX 21 22.01.14                BUY     10/9/2013      310.00    2.70
Call VIX 37,5 20.11.13              BUY     10/9/2013     1,200.00   0.43
Call VIX 40 22.01.14                BUY     10/9/2013     2,000.00   0.45
Call VIX 21 22.01.14                BUY     10/10/2013     175.00    2.70
Call VIX 20 22.01.14                SELL    10/17/2013    -200.00    1.35
Call VIX 20 22.01.14                BUY     10/17/2013     200.00    1.35
Call VIX 20 22.01.14                SELL    10/17/2013    -200.00    1.35
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Call VIX 21 22.01.14                SELL    10/17/2013    -175.00    1.15
Call VIX 21 22.01.14                BUY     10/17/2013     175.00    1.15
Call VIX 21 22.01.14                SELL    10/17/2013    -175.00    1.15
Call VIX 37,5 20.11.13              SELL    10/17/2013   -2,700.00   0.05
Call VIX 37,5 20.11.13              BUY     10/17/2013    2,700.00   0.05
Call VIX 37,5 20.11.13              SELL    10/17/2013   -2,700.00   0.05
Call VIX 40 16.10.13                SELL    10/18/2013   -1,450.00   0.00
Call VIX 18 19.02.14                BUY      11/7/2013     360.00    1.95
Call VIX 24 18.12.13                BUY      11/7/2013     420.00    0.25
Call VIX 26 18.12.13                BUY      11/7/2013    2,676.00   0.20
Call VIX 32,5 18.12.13              BUY      11/7/2013     114.00    0.10
Call VIX 18 19.02.14                BUY     11/12/2013     300.00    1.98
Call VIX 19 18.12.13                SELL    11/12/2013    -170.00    0.45
Call VIX 32,5 18.12.13              BUY     11/12/2013    3,000.00   0.10
Call VIX 40 19.02.14                BUY     11/12/2013    2,700.00   0.15
Call VIX 18 19.02.14                BUY     11/13/2013     310.00    2.13
Call VIX 18 19.02.14                SELL    11/13/2013    -310.00    2.13
Call VIX 18 19.02.14                BUY     11/13/2013     310.00    2.13
Call VIX 19 18.12.13                SELL    11/13/2013    -370.00    0.45
Call VIX 21 22.01.14                SELL    11/13/2013    -310.00    0.83
Call VIX 32,5 19.02.14              BUY     11/13/2013    2,000.00   0.35
Call VIX 32,5 19.02.14              SELL    11/13/2013   -2,000.00   0.35
Call VIX 32,5 19.02.14              BUY     11/13/2013    2,000.00   0.35
Call VIX 40 22.01.14                SELL    11/13/2013   -1,000.00   0.10
Call VIX 40 22.01.14                SELL    11/13/2013   -1,000.00   0.10
Call VIX 40 22.01.14                BUY     11/13/2013    1,000.00   0.10
Call VIX 40 22.01.14                BUY     11/13/2013    1,000.00   0.10
Call VIX 40 22.01.14                SELL    11/13/2013   -1,000.00   0.10
Call VIX 40 22.01.14                SELL    11/14/2013   -1,000.00   0.10
Call VIX 18 18.03.14                BUY      12/5/2013     170.00    2.00
Call VIX 40 18.03.14                BUY      12/5/2013    2,200.00   0.18
Call VIX 18 18.03.14                BUY     12/11/2013     400.00    1.85
Call VIX 18 19.02.14                SELL    12/11/2013    -360.00    1.35
Call VIX 25 22.01.14                BUY     12/11/2013    2,400.00   0.33
Call VIX 18 18.03.14                BUY     12/12/2013     190.00    2.00
Call VIX 18 19.02.14                SELL    12/12/2013    -140.00    1.50
Call VIX 35 22.01.14                BUY     12/12/2013    3,000.00   0.15
Call VIX 18 18.03.14                BUY     12/16/2013     385.00    1.98
Call VIX 35 18.03.14                BUY     12/16/2013    2,500.00   0.30
Call VIX 24 18.12.13                SELL    12/20/2013    -420.00    0.00
Call VIX 26 18.12.13                SELL    12/20/2013   -2,676.00   0.00
Call VIX 32,5 18.12.13              SELL    12/20/2013   -4,914.00   0.00
Call VIX 42,5 18.12.13              SELL    12/20/2013   -2,250.00   0.00
Call VIX 18 18.03.14                SELL     1/3/2014     -415.00    1.25
Call VIX 18 18.03.14                BUY      1/3/2014      415.00    1.25
Call VIX 18 18.03.14                SELL     1/3/2014     -415.00    1.25
Call VIX 18 19.02.14                SELL     1/3/2014     -315.00    0.75
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Call VIX 18 19.02.14                BUY     1/3/2014      315.00    0.75
Call VIX 18 19.02.14                SELL    1/3/2014     -315.00    0.75
Call VIX 25 22.01.14                SELL    1/3/2014    -2,400.00   0.08
Call VIX 25 22.01.14                BUY     1/3/2014     2,400.00   0.08
Call VIX 25 22.01.14                SELL    1/3/2014    -2,400.00   0.08
Call VIX 32,5 19.02.14              SELL    1/3/2014    -1,010.00   0.20
Call VIX 32,5 19.02.14              BUY     1/3/2014     1,010.00   0.20
Call VIX 32,5 19.02.14              SELL    1/3/2014    -1,010.00   0.20
Call VIX 40 19.02.14                SELL    1/3/2014    -2,700.00   0.11
Call VIX 40 19.02.14                BUY     1/3/2014     2,700.00   0.11
Call VIX 40 19.02.14                SELL    1/3/2014    -2,700.00   0.11
Call VIX 18 18.03.14                SELL    1/13/2014    -200.00    0.88
Call VIX 18 19.02.14                SELL    1/13/2014    -155.00    0.45
Call VIX 24 19.02.14                BUY     1/13/2014    2,300.00   0.23
Call VIX 32,5 19.02.14              BUY     1/13/2014    1,900.00   0.10
Call VIX 32,5 16.04.14              BUY     1/14/2014    1,650.00   0.33
Call VIX 35 22.01.14                SELL    1/23/2014   -3,000.00   0.00
Call VIX 42,5 16.04.14              BUY     1/23/2014    1,077.00   0.20
Call VIX 23 19.02.14                BUY     2/3/2014      100.00    0.75
Call VIX 42,5 16.04.14              BUY     2/3/2014      200.00    0.35
Call VIX 23 19.02.14                SELL    2/10/2014    -100.00    0.10
Call VIX 29 18.03.14                BUY     2/10/2014    1,200.00   0.25
Call VIX 18 18.03.14                SELL    2/12/2014    -360.00    0.75
Call VIX 35 18.03.14                BUY     2/12/2014     200.00    0.10
Call VIX 35 21.05.14                BUY     2/12/2014    1,500.00   0.33
Call VIX 18 18.03.14                SELL    2/13/2014    -170.00    0.75
Call VIX 32,5 18.03.14              BUY     2/13/2014    1,200.00   0.15
Call VIX 24 19.02.14                SELL    2/20/2014   -2,300.00   0.00
Call VIX 32,5 19.02.14              SELL    2/20/2014   -2,890.00   0.00
Call VIX 40 21.05.14                BUY     2/20/2014     500.00    0.25
Call VIX 42,5 21.05.14              BUY     2/20/2014     650.00    0.20
Call VIX 29 18.03.14                SELL    3/4/2014    -1,200.00   0.06
Call VIX 35 16.04.14                BUY     3/10/2014    1,250.00   0.15
Call VIX 28 16.04.14                BUY     3/11/2014    1,100.00   0.25
Call VIX 35 18.06.14                BUY     3/12/2014    1,500.00   0.40
Call VIX 47,5 18.06.14              BUY     3/12/2014    2,200.00   0.15
Call VIX 35 16.04.14                BUY     3/13/2014     300.00    0.17
Call VIX 32,5 18.03.14              SELL    3/19/2014   -1,200.00   0.00
Call VIX 35 18.03.14                SELL    3/19/2014   -2,700.00   0.00
Call VIX 40 18.03.14                SELL    3/19/2014   -2,200.00   0.00
Call VIX 32,5 21.05.14              BUY     4/7/2014      800.00    0.15
Call VIX 35 16.07.14                BUY     4/7/2014     1,800.00   0.35
Call VIX 27 21.05.14                BUY     4/10/2014    3,000.00   0.20
Call VIX 40 16.07.14                BUY     4/10/2014    1,600.00   0.20
Call VIX 27 21.05.14                BUY     4/15/2014     400.00    0.30
Call VIX 35 18.06.14                BUY     4/15/2014     250.00    0.23
Call VIX 40 16.07.14                BUY     4/15/2014     150.00    0.25
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Call VIX 28 16.04.14                SELL    4/22/2014   -1,100.00   0.00
Call VIX 32,5 16.04.14              SELL    4/22/2014   -1,650.00   0.00
Call VIX 35 16.04.14                SELL    4/22/2014   -1,550.00   0.00
Call VIX 42,5 16.04.14              SELL    4/22/2014   -1,277.00   0.00
Call VIX 24 18.06.14                BUY     5/9/2014     2,850.00   0.22
Call VIX 32,5 18.06.14              BUY     5/9/2014     3,500.00   0.08
Call VIX 30 20.08.14                BUY     5/13/2014    2,000.00   0.29
Call VIX 37,5 20.08.14              BUY     5/13/2014    2,000.00   0.14
Call VIX 27 21.05.14                SELL    5/23/2014   -3,400.00   0.00
Call VIX 32,5 21.05.14              SELL    5/23/2014    -800.00    0.00
Call VIX 35 21.05.14                SELL    5/23/2014   -1,500.00   0.00
Call VIX 40 21.05.14                SELL    5/23/2014    -500.00    0.00
Call VIX 42,5 21.05.14              SELL    5/23/2014    -650.00    0.00
Call VIX 24 18.06.14                SELL    5/28/2014   -2,850.00   0.05
Call VIX 32,5 18.06.14              SELL    5/28/2014   -3,500.00   0.03
Call VIX 26 16.07.14                BUY     6/10/2014    2,350.00   0.10
Call VIX 23 16.07.14                BUY     6/13/2014    3,800.00   0.15
Call VIX 30 17.09.14                BUY     6/17/2014    2,000.00   0.30
Call VIX 37,5 17.09.14              BUY     6/17/2014    2,000.00   0.15
Call VIX 35 18.06.14                SELL    6/19/2014   -1,750.00   0.00
Call VIX 47,5 18.06.14              SELL    6/19/2014   -2,200.00   0.00
Call VIX 23 20.08.14                BUY     7/8/2014     2,400.00   0.23
Call VIX 29 20.08.14                BUY     7/9/2014     3,200.00   0.10
Call VIX 23 17.09.14                BUY     7/11/2014     350.00    0.40
Call VIX 29 20.08.14                BUY     7/11/2014    1,000.00   0.10
Call VIX 30 22.10.14                BUY     7/15/2014    2,500.00   0.30
Call VIX 35 22.10.14                BUY     7/15/2014    1,950.00   0.20
Call VIX 23 16.07.14                SELL    7/17/2014   -3,800.00   0.00
Call VIX 26 16.07.14                SELL    7/17/2014   -2,350.00   0.00
Call VIX 35 16.07.14                SELL    7/17/2014   -1,800.00   0.00
Call VIX 40 16.07.14                SELL    7/17/2014   -1,750.00   0.00
Call VIX 30 22.10.14                BUY     8/5/2014      300.00    0.50
Call VIX 29 20.08.14                SELL    8/6/2014    -4,200.00   0.05
Call VIX 37,5 17.09.14              BUY     8/6/2014     3,000.00   0.13
Call VIX 23 20.08.14                SELL    8/7/2014    -1,200.00   0.23
Call VIX 30 17.09.14                BUY     8/7/2014     2,000.00   0.30
Call VIX 23 20.08.14                SELL    8/11/2014   -1,200.00   0.05
Call VIX 28 17.09.14                BUY     8/11/2014    1,000.00   0.23
Call VIX 23 17.09.14                SELL    8/12/2014    -350.00    0.43
Call VIX 35 19.11.14                BUY     8/12/2014    3,150.00   0.33
Call VIX 45 19.11.14                BUY     8/12/2014    3,000.00   0.16
Call VIX 30 20.08.14                SELL    8/21/2014   -2,000.00   0.00
Call VIX 37,5 20.08.14              SELL    8/21/2014   -2,000.00   0.00
Call VIX 30 17.09.14                SELL    8/22/2014   -3,000.00   0.05
Call VIX 28 17.09.14                SELL    8/25/2014   -1,000.00   0.05
Call VIX 25 22.10.14                BUY     9/9/2014     1,000.00   0.25
Call VIX 27 22.10.14                BUY     9/11/2014    1,300.00   0.20
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Call VIX 32,5 22.10.14              BUY     9/12/2014     3,500.00   0.10
Call VIX 35 17.12.14                BUY     9/15/2014     3,000.00   0.30
Call VIX 42,5 17.12.14              BUY     9/16/2014     2,300.00   0.20
Call VIX 30 17.09.14                SELL    9/22/2014    -1,000.00   0.00
Call VIX 37,5 17.09.14              SELL    9/22/2014    -5,000.00   0.00
Call VIX 25 22.10.14                SELL    10/8/2014    -1,000.00   0.13
Call VIX 27 22.10.14                SELL    10/8/2014    -1,300.00   0.08
Call VIX 29 19.11.14                BUY     10/8/2014     1,200.00   0.30
Call VIX 32,5 22.10.14              SELL    10/8/2014    -3,500.00   0.08
Call VIX 35 19.11.14                BUY     10/8/2014     1,950.00   0.23
Call VIX 35 22.10.14                SELL    10/8/2014    -1,950.00   0.06
Call VIX 30 19.11.14                BUY     10/9/2014     1,500.00   0.30
Call VIX 30 22.10.14                SELL    10/9/2014    -2,800.00   0.05
Call VIX 42,5 21.01.15              BUY     10/13/2014    1,500.00   0.40
Call VIX 50 21.01.15                BUY     10/15/2014    2,200.00   0.35
Call VIX 32,5 19.11.14              BUY     10/17/2014     300.00    0.50
Call VIX 35 17.12.14                BUY     10/17/2014     150.00    0.53
Call VIX 42,5 21.01.15              BUY     10/17/2014    1,500.00   0.42
Call VIX 29 19.11.14                SELL    11/7/2014    -1,200.00   0.10
Call VIX 30 19.11.14                SELL    11/7/2014    -1,500.00   0.08
Call VIX 32,5 19.11.14              SELL    11/7/2014     -300.00    0.05
Call VIX 35 19.11.14                SELL    11/7/2014     -511.00    0.05
Call VIX 50 21.01.15                SELL    11/7/2014    -2,200.00   0.11
Call VIX 27 17.12.14                BUY     11/11/2014    1,300.00   0.25
Call VIX 32,5 17.12.14              BUY     11/12/2014     500.00    0.15
Call VIX 27 17.12.14                BUY     11/13/2014    1,500.00   0.25
Call VIX 42,5 21.01.15              SELL    11/13/2014   -3,000.00   0.15
Call VIX 42,5 21.01.15              BUY     11/13/2014    3,000.00   0.15
Call VIX 42,5 21.01.15              SELL    11/13/2014   -3,000.00   0.15
Call VIX 42,5 21.01.15              SELL    11/14/2014   -3,000.00   0.15
Call VIX 42,5 21.01.15              BUY     11/14/2014    3,000.00   0.15
Call VIX 50 18.02.15                BUY     11/18/2014    3,000.00   0.15
Call VIX 35 19.11.14                SELL    11/20/2014   -4,589.00   0.00
Call VIX 37,5 18.02.15              BUY     11/20/2014    2,000.00   0.39
Call VIX 45 19.11.14                SELL    11/20/2014   -3,000.00   0.00
Call VIX 27 17.12.14                SELL    12/9/2014    -2,800.00   0.08
Call VIX 32,5 21.01.15              BUY     12/9/2014     1,756.00   0.40
Call VIX 40 21.01.15                BUY     12/9/2014     1,756.00   0.20
Call VIX 40 21.01.15                BUY     12/10/2014    2,635.00   0.20
Call VIX 42,5 21.01.15              BUY     12/12/2014     300.00    0.20
Call VIX 50 18.03.15                BUY     12/15/2014    1,227.00   0.50
Call VIX 42,5 21.01.15              BUY     12/16/2014     300.00    0.40
Call VIX 47,5 18.03.15              BUY     12/16/2014    1,227.00   0.55
Call VIX 60 18.03.15                BUY     12/16/2014    2,662.00   0.25
Call VIX 32,5 17.12.14              SELL    12/19/2014    -500.00    0.00
Call VIX 35 17.12.14                SELL    12/19/2014   -3,150.00   0.00
Call VIX 42,5 17.12.14              SELL    12/19/2014   -2,300.00   0.00
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Call VIX 32,5 21.01.15              SELL    1/5/2015    -1,756.00   0.55
Call VIX 40 21.01.15                SELL    1/5/2015    -1,756.00   0.25
Call VIX 42,5 21.01.15              SELL    1/5/2015     -600.00    0.21
Call VIX 45 18.02.15                BUY     1/5/2015     4,465.00   0.35
Call VIX 40 21.01.15                SELL    1/7/2015    -2,635.00   0.10
Call VIX 45 18.02.15                BUY     1/7/2015      600.00    0.30
Call VIX 50 18.02.15                BUY     1/7/2015     1,384.00   0.18
Call VIX 50 18.03.15                BUY     1/7/2015      600.00    0.28
Call VIX 50 18.02.15                BUY     1/8/2015      200.00    0.10
Call VIX 37,5 18.02.15              SELL    1/12/2015   -2,000.00   0.44
Call VIX 45 15.04.15                BUY     1/12/2015    3,285.00   0.40
Call VIX 42,5 18.02.15              BUY     1/14/2015    1,000.00   0.35
Call VIX 50 18.02.15                SELL    1/14/2015   -3,000.00   0.15
Call VIX 55 15.04.15                BUY     1/14/2015    2,950.00   0.23
Call VIX 45 18.02.15                BUY     1/20/2015     325.00    0.18
Call VIX 50 18.03.15                BUY     1/20/2015     225.00    0.23
Call VIX 55 15.04.15                BUY     1/20/2015     575.00    0.20
Call VIX 50 18.02.15                BUY     1/21/2015    1,000.00   0.10
Call VIX 45 15.04.15                BUY     1/26/2015     260.00    0.23
Call VIX 42,5 18.02.15              SELL    2/3/2015    -1,000.00   0.05
Call VIX 40 18.03.15                BUY     2/10/2015    2,200.00   0.28
Call VIX 32,5 18.03.15              BUY     2/13/2015    1,700.00   0.29
Call VIX 32,5 18.03.15              BUY     2/17/2015     800.00    0.29
Call VIX 40 20.05.15                BUY     2/17/2015    2,550.00   0.43
Call VIX 45 18.02.15                SELL    2/19/2015   -5,390.00   0.00
Call VIX 50 18.02.15                SELL    2/19/2015   -2,584.00   0.00
Call VIX 50 20.05.15                BUY     2/19/2015    2,800.00   0.22
Call VIX 50 20.05.15                SELL    2/19/2015   -2,800.00   0.22
Call VIX 50 20.05.15                BUY     2/19/2015    2,800.00   0.22
Call VIX 32,5 18.03.15              SELL    3/4/2015    -2,500.00   0.03
Call VIX 45 15.04.15                SELL    3/4/2015    -3,545.00   0.09
Call VIX 32,5 15.04.15              BUY     3/9/2015     2,050.00   0.25
Call VIX 32,5 15.04.15              BUY     3/10/2015    2,400.00   0.31
Call VIX 32,5 15.04.15              SELL    3/11/2015   -2,400.00   0.31
Call VIX 32,5 15.04.15              BUY     3/11/2015    2,400.00   0.31
Call VIX 42,5 15.04.15              BUY     3/12/2015    5,400.00   0.10
Call VIX 37,5 17.06.15              BUY     3/18/2015    2,700.00   0.40
Call VIX 40 18.03.15                SELL    3/19/2015   -2,200.00   0.00
Call VIX 45 17.06.15                BUY     3/19/2015    3,600.00   0.18
Call VIX 47,5 18.03.15              SELL    3/19/2015   -1,227.00   0.00
Call VIX 50 18.03.15                SELL    3/19/2015   -2,052.00   0.00
Call VIX 60 18.03.15                SELL    3/19/2015   -2,662.00   0.00
Call VIX 37,5 17.06.15              BUY     3/20/2015     350.00    0.30
Call VIX 40 20.05.15                BUY     3/26/2015     400.00    0.16
Call VIX 42,5 15.04.15              BUY     3/26/2015    1,000.00   0.03
Call VIX 45 17.06.15                BUY     3/26/2015    1,000.00   0.18
Call VIX 32,5 15.04.15              SELL    4/7/2015    -4,450.00   0.02
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Call VIX 32,5 20.05.15              BUY      4/7/2015     4,450.00   0.24
Call VIX 40 20.05.15                BUY     4/13/2015     7,200.00   0.07
Call VIX 40 20.05.15                SELL    4/13/2015    -7,200.00   0.07
Call VIX 37,5 22.07.15              BUY     4/14/2015     3,500.00   0.36
Call VIX 40 20.05.15                BUY     4/14/2015     7,200.00   0.07
Call VIX 40 20.05.15                SELL    4/14/2015    -7,200.00   0.07
Call VIX 40 20.05.15                BUY     4/14/2015     7,200.00   0.07
Call VIX 40 20.05.15                SELL    4/14/2015    -7,200.00   0.07
Call VIX 40 20.05.15                BUY     4/14/2015     7,200.00   0.07
Call VIX 42,5 15.04.15              SELL    4/15/2015    -6,400.00   0.00
Call VIX 55 15.04.15                SELL    4/15/2015    -3,525.00   0.00
Call VIX 47,5 22.07.15              BUY     4/16/2015     4,100.00   0.17
Call VIX 32,5 20.05.15              SELL    4/27/2015    -4,450.00   0.06
Call VIX 30 17.06.15                BUY      5/5/2015     4,400.00   0.31
Call VIX 30 17.06.15                SELL     5/5/2015    -4,400.00   0.31
Call VIX 30 17.06.15                BUY      5/5/2015     4,400.00   0.31
Call VIX 40 17.06.15                BUY      5/6/2015     4,200.00   0.13
Call VIX 40 17.06.15                SELL     5/6/2015    -4,200.00   0.13
Call VIX 40 17.06.15                BUY      5/6/2015     4,200.00   0.13
Call VIX 37,5 19.08.15              BUY     5/12/2015     4,000.00   0.37
Call VIX 42,5 19.08.15              BUY     5/13/2015     3,100.00   0.25
Call VIX 40 20.05.15                SELL    5/21/2015   -10,150.00   0.00
Call VIX 50 20.05.15                SELL    5/21/2015    -2,800.00   0.00
Call VIX 40 22.07.15                BUY      6/9/2015     3,600.00   0.14
Call VIX 30 22.07.15                BUY     6/16/2015     4,100.00   0.25
Call VIX 37,5 22.07.15              BUY     6/16/2015      600.00    0.15
Call VIX 40 16.09.15                BUY     6/16/2015     4,600.00   0.32
Call VIX 55 16.09.15                BUY     6/16/2015     5,500.00   0.14
Call VIX 55 16.09.15                SELL    6/16/2015    -5,500.00   0.14
Call VIX 55 16.09.15                BUY     6/16/2015     5,500.00   0.14
Call VIX 30 17.06.15                SELL    6/18/2015    -4,400.00   0.00
Call VIX 37,5 17.06.15              SELL    6/18/2015    -3,050.00   0.00
Call VIX 40 17.06.15                SELL    6/18/2015    -4,200.00   0.00
Call VIX 45 17.06.15                SELL    6/18/2015    -4,600.00   0.00
Call VIX 40 22.07.15                SELL    6/22/2015    -3,600.00   0.05
Call VIX 40 22.07.15                BUY     6/22/2015     3,600.00   0.05
Call VIX 40 22.07.15                SELL    6/22/2015    -3,600.00   0.05
Call VIX 40 22.07.15                BUY     6/22/2015     3,600.00   0.05
Call VIX 40 22.07.15                SELL    6/22/2015    -3,600.00   0.05
Call VIX 40 22.07.15                SELL    6/22/2015    -3,600.00   0.14
Call VIX 40 22.07.15                BUY     6/22/2015     3,600.00   0.14
Call VIX 40 22.07.15                BUY     6/22/2015     3,600.00   0.05
Call VIX 40 22.07.15                SELL    6/22/2015    -3,600.00   0.05
Call VIX 42,5 19.08.15              SELL    6/22/2015    -3,100.00   0.13
Call VIX 42,5 19.08.15              BUY     6/22/2015     3,100.00   0.13
Call VIX 42,5 19.08.15              SELL    6/22/2015    -3,100.00   0.13
Call VIX 47,5 22.07.15              SELL    6/22/2015    -4,100.00   0.02
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Call VIX 47,5 22.07.15              BUY     6/22/2015    4,100.00   0.02
Call VIX 47,5 22.07.15              SELL    6/22/2015   -4,100.00   0.02
Call VIX 47,5 19.08.15              BUY     7/7/2015     7,000.00   0.15
Call VIX 30 22.07.15                SELL    7/8/2015    -4,100.00   0.27
Call VIX 37,5 19.08.15              BUY     7/8/2015     2,700.00   0.27
Call VIX 37,5 19.08.15              SELL    7/8/2015    -2,700.00   0.27
Call VIX 37,5 19.08.15              BUY     7/8/2015     2,700.00   0.27
Call VIX 37,5 22.07.15              SELL    7/8/2015    -4,100.00   0.07
Call VIX 55 21.10.15                BUY     7/15/2015    5,400.00   0.12
Call VIX 37,5 19.08.15              SELL    7/17/2015   -6,700.00   0.08
Call VIX 37,5 19.08.15              BUY     7/17/2015    6,700.00   0.08
Call VIX 37,5 21.10.15              BUY     7/17/2015    4,200.00   0.36
Call VIX 37,5 21.10.15              SELL    7/17/2015   -4,200.00   0.36
Call VIX 47,5 19.08.15              SELL    7/17/2015   -7,000.00   0.02
Call VIX 47,5 19.08.15              BUY     7/17/2015    7,000.00   0.02
Call VIX 37,5 19.08.15              SELL    7/20/2015   -6,700.00   0.08
Call VIX 37,5 21.10.15              BUY     7/20/2015    4,200.00   0.36
Call VIX 47,5 19.08.15              SELL    7/20/2015   -7,000.00   0.02
Call VIX 30 16.09.15                BUY     8/12/2015    6,050.00   0.25
Call VIX 42,5 16.09.15              BUY     8/13/2015    6,000.00   0.13
Call VIX 40 18.11.15                BUY     8/17/2015    4,900.00   0.30
Call VIX 55 18.11.15                BUY     8/17/2015    5,700.00   0.12
Call VIX 30 16.09.15                BUY     8/24/2015     120.00    3.85
Call VIX 40 16.09.15                BUY     8/24/2015      90.00    2.10
Call VIX 40 18.11.15                BUY     8/24/2015     100.00    1.40
Call VIX 30 16.09.15                BUY     8/25/2015     800.00    2.15
Call VIX 37,5 21.10.15              BUY     8/25/2015     600.00    1.30
Call VIX 40 16.09.15                BUY     8/25/2015     650.00    0.94
Call VIX 40 18.11.15                BUY     8/25/2015     650.00    1.00
Call VIX 42,5 16.09.15              BUY     8/25/2015     800.00    0.79
Call VIX 55 16.09.15                BUY     8/25/2015     800.00    0.30
Call VIX 55 18.11.15                BUY     8/25/2015     800.00    0.39
Call VIX 55 21.10.15                BUY     8/25/2015     750.00    0.40
Call VIX 30 16.09.15                BUY     9/1/2015      500.00    4.20
Call VIX 37,5 21.10.15              BUY     9/1/2015      350.00    2.12
Call VIX 40 16.09.15                BUY     9/1/2015      400.00    1.60
Call VIX 40 18.11.15                BUY     9/1/2015      400.00    1.55
Call VIX 42,5 16.09.15              BUY     9/1/2015      500.00    1.25
Call VIX 55 16.09.15                BUY     9/1/2015      450.00    0.40
Call VIX 55 18.11.15                BUY     9/1/2015      500.00    0.60
Call VIX 55 21.10.15                BUY     9/1/2015      450.00    0.65
Call VIX 30 16.09.15                SELL    9/8/2015    -3,735.00   1.10
Call VIX 40 16.09.15                SELL    9/8/2015    -2,870.00   0.21
Call VIX 42,5 16.09.15              SELL    9/9/2015    -7,300.00   0.06
Call VIX 60 21.10.15                BUY     9/9/2015     2,500.00   0.18
Call VIX 60 21.10.15                BUY     9/10/2015    4,480.00   0.27
Call VIX 30 16.09.15                SELL    9/11/2015   -3,735.00   0.40
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Call VIX 40 16.09.15                SELL     9/11/2015 -2,870.00    0.02
Call VIX 50 21.10.15                BUY      9/11/2015   6,950.00   0.38
Call VIX 55 16.12.15                BUY      9/14/2015   4,700.00   0.28
Call VIX 37,5 21.10.15              SELL     9/15/2015 -2,575.00    0.61
Call VIX 50 16.12.15                BUY      9/15/2015   6,900.00   0.33
Call VIX 37,5 21.10.15              SELL     9/16/2015 -2,575.00    0.48
Call VIX 50 16.12.15                BUY      9/16/2015   6,700.00   0.29
Call VIX 55 16.09.15                SELL     9/17/2015 -6,750.00    0.00
Call VIX 55 16.12.15                BUY      9/17/2015   3,200.00   0.23
Call VIX 50 21.10.15                SELL     10/5/2015 -6,950.00    0.03
Call VIX 50 21.10.15                BUY      10/5/2015   6,950.00   0.03
Call VIX 50 21.10.15                SELL     10/5/2015 -6,950.00    0.03
Call VIX 47,5 18.11.15              BUY      10/7/2015   9,400.00   0.17
Call VIX 35 18.11.15                BUY      10/9/2015   3,900.00   0.33
Call VIX 45 20.01.16                BUY     10/13/2015 6,400.00     0.45
Call VIX 55 20.01.16                BUY     10/15/2015 4,500.00     0.28
Call VIX 55 21.10.15                SELL    10/22/2015 -6,600.00    0.00
Call VIX 60 21.10.15                SELL    10/22/2015 -6,980.00    0.00
Call VIX 35 18.11.15                SELL    10/23/2015 -3,900.00    0.17
Call VIX 40 18.11.15                SELL    10/23/2015 -6,050.00    0.10
Call VIX 47,5 18.11.15              SELL    10/23/2015 -9,400.00    0.05
Call VIX 50 16.12.15                SELL    10/23/2015 -13,600.00   0.11
Call VIX 55 16.12.15                SELL    10/23/2015 -7,900.00    0.10
Call VIX 55 18.11.15                SELL    10/23/2015 -7,000.00    0.03
Call VIX 32,5 16.12.15              BUY      11/9/2015 10,200.00    0.25
Call VIX 42,5 16.12.15              BUY     11/10/2015 9,000.00     0.10
Call VIX 47,5 17.02.16              BUY     11/16/2015 6,900.00     0.37
Call VIX 32,5 16.12.15              BUY     11/18/2015 1,300.00     0.22
Call VIX 42,5 16.12.15              BUY     11/18/2015 1,150.00     0.08
Call VIX 45 20.01.16                BUY     11/18/2015    800.00    0.23
Call VIX 47,5 17.02.16              BUY     11/18/2015    900.00    0.30
Call VIX 50 17.02.16                BUY     11/18/2015 5,200.00     0.27
Call VIX 55 20.01.16                BUY     11/18/2015    580.00    0.12
Call VIX 32,5 16.12.15              BUY     11/25/2015    500.00    0.09
Call VIX 47,5 17.02.16              BUY     11/25/2015    500.00    0.33
Call VIX 32,5 16.12.15              SELL     12/7/2015 -12,000.00   0.05
Call VIX 40 20.01.16                BUY      12/9/2015 10,000.00    0.34
Call VIX 47,5 16.03.16              BUY     12/10/2015 7,400.00     0.42
Call VIX 55 16.03.16                BUY     12/11/2015 6,400.00     0.38
Call VIX 42,5 16.12.15              SELL    12/14/2015 -10,150.00   0.08
Call VIX 40 20.01.16                BUY     12/22/2015 1,000.00     0.27
Call VIX 47,5 16.03.16              BUY     12/22/2015    650.00    0.43
Call VIX 47,5 17.02.16              BUY     12/22/2015    550.00    0.35
Call VIX 40 20.01.16                BUY     12/23/2015 1,500.00     0.17
Call VIX 47,5 16.03.16              BUY     12/23/2015 1,100.00     0.30
Call VIX 47,5 16.03.16              SELL    12/23/2015 -1,100.00    0.30
Call VIX 47,5 16.03.16              BUY     12/23/2015 1,100.00     0.37
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Call VIX 47,5 16.03.16              SELL    12/23/2015   -1,100.00   0.37
Call VIX 47,5 17.02.16              BUY     12/23/2015    1,250.00   0.37
Call VIX 47,5 17.02.16              SELL    12/23/2015   -1,250.00   0.37
Call VIX 47,5 17.02.16              BUY     12/23/2015    1,250.00   0.30
Call VIX 47,5 16.03.16              BUY     12/28/2015    1,100.00   0.37
Call VIX 47,5 16.03.16              SELL    12/29/2015   -1,100.00   0.37
Call VIX 47,5 16.03.16              BUY     12/29/2015    1,100.00   0.37
Call VIX 47,5 16.03.16              BUY     12/29/2015    1,100.00   0.37
Call VIX 45 20.01.16                SELL     1/5/2016    -7,200.00   0.06
Call VIX 60 17.02.16                BUY      1/5/2016    12,000.00   0.15
Call VIX 40 20.01.16                BUY      1/8/2016      800.00    0.30
Call VIX 47,5 16.03.16              BUY      1/8/2016      600.00    0.63
Call VIX 47,5 17.02.16              BUY      1/8/2016      600.00    0.47
Call VIX 47,5 17.02.16              BUY      1/8/2016     4,000.00   0.44
Call VIX 50 17.02.16                BUY      1/8/2016      400.00    0.43
Call VIX 55 16.03.16                BUY      1/8/2016      400.00    0.43
Call VIX 60 17.02.16                BUY      1/8/2016      800.00    0.25
Call VIX 40 20.01.16                SELL    1/11/2016    -3,500.00   0.15
Call VIX 40 20.01.16                SELL    1/11/2016    -3,500.00   0.18
Call VIX 47,5 16.03.16              BUY     1/11/2016      400.00    0.55
Call VIX 50 17.02.16                BUY     1/11/2016      250.00    0.28
Call VIX 55 16.03.16                BUY     1/11/2016      300.00    0.38
Call VIX 55 20.04.16                BUY     1/11/2016     6,000.00   0.44
Call VIX 60 17.02.16                BUY     1/11/2016      500.00    0.15
Call VIX 40 20.01.16                SELL    1/12/2016    -2,100.00   0.05
Call VIX 55 20.04.16                BUY     1/12/2016     2,500.00   0.38
Call VIX 40 20.01.16                SELL    1/13/2016    -2,100.00   0.05
Call VIX 50 17.02.16                SELL    1/13/2016    -3,000.00   0.16
Call VIX 55 20.04.16                BUY     1/13/2016     3,300.00   0.34
Call VIX 40 20.01.16                SELL    1/14/2016    -2,100.00   0.10
Call VIX 55 20.04.16                BUY     1/14/2016     2,500.00   0.49
Call VIX 47,5 16.03.16              BUY     1/15/2016      250.00    0.70
Call VIX 47,5 17.02.16              BUY     1/15/2016      800.00    0.37
Call VIX 50 17.02.16                SELL    1/15/2016    -2,850.00   0.27
Call VIX 55 16.03.16                BUY     1/15/2016      200.00    0.42
Call VIX 55 20.04.16                BUY     1/15/2016     3,500.00   0.55
Call VIX 55 20.04.16                BUY     1/15/2016      400.00    0.52
Call VIX 60 17.02.16                BUY     1/15/2016      700.00    0.15
Call VIX 47,5 16.03.16              BUY     1/19/2016      250.00    0.58
Call VIX 47,5 17.02.16              BUY     1/19/2016      400.00    0.32
Call VIX 55 16.03.16                BUY     1/19/2016      200.00    0.38
Call VIX 55 20.04.16                BUY     1/19/2016      500.00    0.43
Call VIX 60 17.02.16                BUY     1/19/2016      350.00    0.14
Call VIX 47,5 16.03.16              BUY     1/21/2016      200.00    0.47
Call VIX 47,5 17.02.16              BUY     1/21/2016      300.00    0.20
Call VIX 55 20.01.16                SELL    1/21/2016    -5,080.00   0.00
Call VIX 55 20.04.16                BUY     1/21/2016      200.00    0.32
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Call VIX 47,5 16.03.16              BUY     1/22/2016     200.00     0.32
Call VIX 47,5 17.02.16              BUY     1/22/2016     300.00     0.08
Call VIX 55 20.04.16                BUY     1/22/2016     200.00     0.27
Call VIX 47,5 16.03.16              BUY     1/25/2016     300.00     0.38
Call VIX 55 20.04.16                BUY     1/25/2016     300.00     0.33
Call VIX 47,5 17.02.16              BUY     1/26/2016     450.00     0.13
Call VIX 47,5 16.03.16              BUY     1/27/2016     200.00     0.37
Call VIX 47,5 17.02.16              BUY     1/27/2016     300.00     0.07
Call VIX 55 20.04.16                BUY     1/27/2016     200.00     0.32
Call VIX 47,5 16.03.16              BUY     1/28/2016     200.00     0.30
Call VIX 47,5 17.02.16              BUY     1/28/2016     300.00     0.08
Call VIX 55 20.04.16                BUY     1/28/2016     200.00     0.28
Call VIX 47,5 16.03.16              BUY     2/3/2016      600.00     0.25
Call VIX 47,5 17.02.16              BUY     2/3/2016      900.00     0.03
Call VIX 55 20.04.16                BUY     2/3/2016      600.00     0.30
Call VIX 60 16.03.16                BUY     2/9/2016     5,000.00    0.14
Call VIX 70 18.05.16                BUY     2/9/2016     5,900.00    0.17
Call VIX 42,5 16.03.16              BUY     2/10/2016    2,800.00    0.45
Call VIX 55 18.05.16                BUY     2/10/2016    3,700.00    0.38
Call VIX 60 16.03.16                BUY     2/11/2016    5,500.00    0.14
Call VIX 70 18.05.16                BUY     2/11/2016    4,700.00    0.23
Call VIX 42,5 16.03.16              BUY     2/12/2016    3,000.00    0.45
Call VIX 55 18.05.16                BUY     2/12/2016    4,900.00    0.43
Call VIX 42,5 16.03.16              BUY     2/16/2016    4,500.00    0.33
Call VIX 50 16.03.16                BUY     2/16/2016    4,000.00    0.18
Call VIX 55 18.05.16                BUY     2/16/2016    5,700.00    0.39
Call VIX 70 18.05.16                BUY     2/16/2016    5,400.00    0.14
Call VIX 42,5 16.03.16              BUY     2/17/2016     250.00     0.15
Call VIX 55 18.05.16                BUY     2/17/2016     250.00     0.27
Call VIX 47,5 17.02.16              SELL    2/18/2016   -18,450.00   0.00
Call VIX 60 17.02.16                SELL    2/18/2016   -14,350.00   0.00
Call VIX 42,5 16.03.16              SELL    2/26/2016     -30.00     0.05
Call VIX 37,5 20.04.16              BUY     3/7/2016     2,000.00    0.30
Call VIX 45 15.06.16                BUY     3/7/2016     2,200.00    0.37
Call VIX 70 18.05.16                SELL    3/7/2016    -16,000.00   0.04
Call VIX 37,5 20.04.16              BUY     3/8/2016     3,800.00    0.38
Call VIX 45 15.06.16                BUY     3/8/2016     4,300.00    0.39
Call VIX 50 20.04.16                BUY     3/9/2016     6,500.00    0.13
Call VIX 60 15.06.16                BUY     3/9/2016     9,000.00    0.14
Call VIX 37,5 20.04.16              BUY     3/10/2016    1,500.00    0.37
Call VIX 45 15.06.16                BUY     3/10/2016    1,900.00    0.42
Call VIX 37,5 20.04.16              BUY     3/11/2016    1,700.00    0.29
Call VIX 45 15.06.16                BUY     3/11/2016    2,000.00    0.38
Call VIX 37,5 20.04.16              BUY     3/15/2016    1,300.00    0.28
Call VIX 45 15.06.16                BUY     3/15/2016    1,600.00    0.37
Call VIX 37,5 20.04.16              BUY     3/16/2016     300.00     0.21
Call VIX 45 15.06.16                BUY     3/16/2016     300.00     0.32
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Call VIX 50 20.04.16                BUY     3/16/2016     4,000.00   0.09
Call VIX 60 15.06.16                BUY     3/16/2016     5,900.00   0.15
Call VIX 42,5 16.03.16              SELL    3/17/2016   -10,520.00   0.00
Call VIX 47,5 16.03.16              SELL    3/17/2016   -12,350.00   0.00
Call VIX 50 16.03.16                SELL    3/17/2016    -4,000.00   0.00
Call VIX 55 16.03.16                SELL    3/17/2016    -7,500.00   0.00
Call VIX 55 18.05.16                SELL    3/17/2016   -14,550.00   0.08
Call VIX 60 16.03.16                SELL    3/17/2016   -10,500.00   0.00
Call VIX 37,5 20.04.16              SELL    3/18/2016   -10,600.00   0.13
Call VIX 30 18.05.16                BUY     4/4/2016      5,000.00   0.32
Call VIX 42,5 20.07.16              BUY     4/4/2016      3,900.00   0.33
Call VIX 30 18.05.16                BUY     4/5/2016      5,000.00   0.44
Call VIX 42,5 20.07.16              BUY     4/5/2016      3,900.00   0.43
Call VIX 42,5 18.05.16              BUY     4/7/2016      8,500.00   0.13
Call VIX 55 20.07.16                BUY     4/7/2016      6,000.00   0.19
Call VIX 30 18.05.16                BUY     4/11/2016     6,300.00   0.39
Call VIX 42,5 20.07.16              BUY     4/11/2016     3,300.00   0.44
Call VIX 45 15.06.16                SELL    4/19/2016   -12,300.00   0.10
Call VIX 42,5 18.05.16              SELL    4/20/2016    -8,500.00   0.04
Call VIX 50 20.04.16                SELL    4/21/2016   -10,500.00   0.00
Call VIX 55 20.04.16                SELL    4/21/2016   -20,400.00   0.00
Call VIX 32,5 18.05.16              BUY     5/2/2016     15,000.00   0.10
Call VIX 32,5 15.06.16              BUY     5/9/2016      3,000.00   0.25
Call VIX 40 17.08.16                BUY     5/9/2016      1,900.00   0.44
Call VIX 32,5 15.06.16              BUY     5/10/2016     2,600.00   0.19
Call VIX 40 17.08.16                BUY     5/10/2016     1,700.00   0.38
Call VIX 42,5 17.08.16              BUY     5/11/2016     1,900.00   0.32
Call VIX 32,5 15.06.16              BUY     5/12/2016     6,000.00   0.25
Call VIX 40 17.08.16                BUY     5/12/2016     3,900.00   0.48
Call VIX 30 15.06.16                BUY     5/13/2016     1,800.00   0.25
Call VIX 42,5 17.08.16              BUY     5/13/2016     1,800.00   0.33
Call VIX 37,5 15.06.16              BUY     5/17/2016     6,000.00   0.13
Call VIX 50 17.08.16                BUY     5/17/2016     5,600.00   0.18
Call VIX 37,5 15.06.16              BUY     5/18/2016     6,000.00   0.11
Call VIX 50 17.08.16                BUY     5/18/2016     5,600.00   0.22
Call VIX 30 18.05.16                SELL    5/19/2016   -16,300.00   0.00
Call VIX 32,5 18.05.16              SELL    5/19/2016   -15,000.00   0.00
Call VIX 55 20.07.16                SELL    5/25/2016    -6,000.00   0.04
Call VIX 32,5 15.06.16              SELL    5/31/2016   -11,600.00   0.04
Call VIX 37,5 15.06.16              SELL    5/31/2016   -12,000.00   0.03
Call VIX 42,5 20.07.16              SELL    5/31/2016   -11,100.00   0.07
Call VIX 30 20.07.16                BUY     6/6/2016      2,200.00   0.29
Call VIX 42,5 21.09.16              BUY     6/6/2016      2,000.00   0.34
Call VIX 30 20.07.16                BUY     6/7/2016      2,200.00   0.24
Call VIX 42,5 21.09.16              BUY     6/7/2016      2,000.00   0.32
Call VIX 30 20.07.16                BUY     6/8/2016      2,500.00   0.27
Call VIX 42,5 21.09.16              BUY     6/8/2016      1,900.00   0.34
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Call VIX 30 20.07.16                BUY     6/9/2016      2,500.00   0.32
Call VIX 42,5 21.09.16              BUY     6/9/2016      1,900.00   0.36
Call VIX 30 20.07.16                BUY     6/10/2016     2,200.00   0.44
Call VIX 42,5 21.09.16              BUY     6/10/2016     2,000.00   0.43
Call VIX 30 20.07.16                BUY     6/13/2016     2,000.00   0.63
Call VIX 42,5 21.09.16              BUY     6/13/2016     2,000.00   0.47
Call VIX 47,5 20.07.16              BUY     6/13/2016    16,000.00   0.15
Call VIX 60 21.09.16                BUY     6/13/2016    12,700.00   0.19
Call VIX 30 15.06.16                SELL    6/16/2016    -1,800.00   0.00
Call VIX 60 15.06.16                SELL    6/16/2016   -14,900.00   0.00
Call VIX 35 17.08.16                BUY     7/5/2016      2,400.00   0.30
Call VIX 42,5 19.10.16              BUY     7/5/2016      3,400.00   0.40
Call VIX 42,5 17.08.16              BUY     7/6/2016      1,500.00   0.17
Call VIX 55 19.10.16                BUY     7/6/2016      2,500.00   0.23
Call VIX 30 20.07.16                SELL    7/7/2016    -13,600.00   0.05
Call VIX 37,5 17.08.16              BUY     7/7/2016      2,200.00   0.14
Call VIX 40 17.08.16                SELL    7/7/2016     -3,700.00   0.10
Call VIX 50 19.10.16                BUY     7/7/2016      2,200.00   0.23
Call VIX 30 17.08.16                BUY     7/8/2016      2,200.00   0.30
Call VIX 42,5 17.08.16              SELL    7/8/2016     -3,700.00   0.06
Call VIX 42,5 19.10.16              BUY     7/8/2016      1,800.00   0.37
Call VIX 29 17.08.16                BUY     7/11/2016     1,900.00   0.26
Call VIX 40 19.10.16                BUY     7/11/2016     1,500.00   0.42
Call VIX 35 17.08.16                BUY     7/12/2016     2,000.00   0.13
Call VIX 50 19.10.16                BUY     7/12/2016     2,000.00   0.23
Call VIX 29 17.08.16                BUY     7/13/2016     1,800.00   0.23
Call VIX 40 19.10.16                BUY     7/13/2016     1,500.00   0.42
Call VIX 27 17.08.16                BUY     7/14/2016     1,800.00   0.24
Call VIX 32,5 17.08.16              BUY     7/14/2016     1,500.00   0.14
Call VIX 40 19.10.16                BUY     7/14/2016     1,200.00   0.35
Call VIX 55 19.10.16                BUY     7/14/2016     2,400.00   0.17
Call VIX 35 17.08.16                SELL    7/18/2016    -2,400.00   0.07
Call VIX 40 17.08.16                SELL    7/18/2016    -3,800.00   0.05
Call VIX 60 21.09.16                SELL    7/18/2016   -12,700.00   0.06
Call VIX 37,5 17.08.16              SELL    7/20/2016    -2,200.00   0.06
Call VIX 42,5 21.09.16              SELL    7/20/2016    -8,000.00   0.17
Call VIX 47,5 20.07.16              SELL    7/21/2016   -16,000.00   0.00
Call VIX 30 17.08.16                SELL    7/29/2016    -2,200.00   0.09
Call VIX 42,5 21.09.16              SELL    7/29/2016    -3,800.00   0.16
Call VIX 29 21.09.16                BUY     8/8/2016      1,800.00   0.28
Call VIX 40 16.11.16                BUY     8/8/2016      1,500.00   0.38
Call VIX 42,5 19.10.16              SELL    8/8/2016     -3,400.00   0.17
Call VIX 55 19.10.16                SELL    8/8/2016     -2,500.00   0.06
Call VIX 28 21.09.16                BUY     8/10/2016     1,700.00   0.29
Call VIX 37,5 16.11.16              BUY     8/10/2016     1,500.00   0.42
Call VIX 37,5 21.09.16              BUY     8/10/2016     2,400.00   0.14
Call VIX 50 16.11.16                BUY     8/10/2016     2,400.00   0.18
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Call VIX 29 21.09.16                BUY     8/11/2016     1,700.00   0.30
Call VIX 40 16.11.16                BUY     8/11/2016     1,800.00   0.34
Call VIX 37,5 21.09.16              BUY     8/12/2016     2,500.00   0.15
Call VIX 55 16.11.16                BUY     8/12/2016     2,400.00   0.15
Call VIX 29 21.09.16                BUY     8/16/2016     1,500.00   0.29
Call VIX 29 21.09.16                BUY     8/16/2016     3,600.00   0.29
Call VIX 40 16.11.16                BUY     8/16/2016     1,500.00   0.36
Call VIX 40 16.11.16                BUY     8/16/2016     3,500.00   0.38
Call VIX 37,5 21.09.16              BUY     8/17/2016     2,600.00   0.15
Call VIX 50 16.11.16                BUY     8/17/2016     2,000.00   0.23
Call VIX 27 17.08.16                SELL    8/18/2016    -1,800.00   0.00
Call VIX 29 17.08.16                SELL    8/18/2016    -3,700.00   0.00
Call VIX 32,5 17.08.16              SELL    8/18/2016    -1,500.00   0.00
Call VIX 35 17.08.16                SELL    8/18/2016    -2,000.00   0.00
Call VIX 35 21.09.16                BUY     8/18/2016     2,600.00   0.13
Call VIX 42,5 17.08.16              SELL    8/18/2016    -1,500.00   0.00
Call VIX 50 17.08.16                SELL    8/18/2016   -11,200.00   0.00
Call VIX 55 16.11.16                BUY     8/18/2016     2,500.00   0.18
Call VIX 29 21.09.16                BUY     8/22/2016      100.00    0.17
Call VIX 50 19.10.16                SELL    8/22/2016    -2,200.00   0.10
Call VIX 50 19.10.16                BUY     8/22/2016     2,200.00   0.10
Call VIX 50 19.10.16                SELL    8/22/2016    -2,200.00   0.10
Call VIX 42,5 19.10.16              SELL    8/23/2016    -1,800.00   0.13
Call VIX 29 21.09.16                BUY     8/25/2016      100.00    0.14
Call VIX 40 16.11.16                BUY     8/25/2016      400.00    0.34
Call VIX 32,5 19.10.16              BUY      9/6/2016     2,100.00   0.25
Call VIX 40 19.10.16                BUY      9/6/2016     1,800.00   0.15
Call VIX 40 21.12.16                BUY      9/6/2016     1,500.00   0.38
Call VIX 50 21.12.16                BUY      9/6/2016     2,500.00   0.18
Call VIX 30 19.10.16                BUY      9/7/2016     2,200.00   0.30
Call VIX 37,5 19.10.16              BUY      9/7/2016     3,300.00   0.15
Call VIX 40 21.12.16                BUY      9/7/2016     1,700.00   0.35
Call VIX 50 21.12.16                BUY      9/7/2016     2,600.00   0.19
Call VIX 29 21.09.16                SELL     9/9/2016    -1,700.00   0.05
Call VIX 32,5 19.10.16              BUY      9/9/2016     2,100.00   0.32
Call VIX 42,5 21.12.16              BUY      9/9/2016     1,800.00   0.38
Call VIX 28 21.09.16                SELL    9/12/2016    -1,700.00   0.18
Call VIX 29 21.09.16                SELL    9/12/2016    -3,500.00   0.15
Call VIX 29 21.09.16                BUY     9/12/2016      100.00    0.09
Call VIX 30 19.10.16                BUY     9/12/2016      200.00    0.42
Call VIX 35 19.10.16                BUY     9/12/2016     1,400.00   0.35
Call VIX 35 21.09.16                BUY     9/12/2016      300.00    0.05
Call VIX 37,5 16.11.16              BUY     9/12/2016      100.00    0.38
Call VIX 37,5 19.10.16              BUY     9/12/2016      300.00    0.22
Call VIX 37,5 21.09.16              SELL    9/12/2016    -5,000.00   0.05
Call VIX 40 19.10.16                BUY     9/12/2016      200.00    0.18
Call VIX 40 21.12.16                BUY     9/12/2016      200.00    0.44
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Call VIX 42,5 21.12.16              BUY     9/12/2016     1,700.00   0.42
Call VIX 50 21.12.16                BUY     9/12/2016      200.00    0.23
Call VIX 55 16.11.16                BUY     9/12/2016      200.00    0.13
Call VIX 29 21.09.16                SELL    9/13/2016    -1,700.00   0.16
Call VIX 35 19.10.16                BUY     9/13/2016     1,400.00   0.40
Call VIX 42,5 21.12.16              BUY     9/13/2016     1,700.00   0.44
Call VIX 35 21.09.16                SELL    9/14/2016    -2,900.00   0.03
Call VIX 42,5 19.10.16              BUY     9/14/2016     2,600.00   0.15
Call VIX 50 21.12.16                BUY     9/14/2016     2,400.00   0.23
Call VIX 29 21.09.16                SELL    9/15/2016    -2,000.00   0.06
Call VIX 35 19.10.16                BUY     9/15/2016     2,100.00   0.32
Call VIX 42,5 21.12.16              BUY     9/15/2016     2,300.00   0.39
Call VIX 45 19.10.16                BUY     9/16/2016     2,000.00   0.16
Call VIX 55 21.12.16                BUY     9/16/2016     3,100.00   0.17
Call VIX 37,5 21.09.16              SELL    9/22/2016    -2,500.00   0.00
Call VIX 35 19.10.16                SELL    10/4/2016    -4,900.00   0.03
Call VIX 30 19.10.16                BUY     10/5/2016      200.00    0.10
Call VIX 40 21.12.16                BUY     10/5/2016      200.00    0.28
Call VIX 30 16.11.16                BUY     10/10/2016    1,800.00   0.29
Call VIX 40 18.01.17                BUY     10/10/2016    2,000.00   0.34
Call VIX 30 16.11.16                BUY     10/11/2016    1,900.00   0.34
Call VIX 37,5 16.11.16              BUY     10/11/2016    2,800.00   0.15
Call VIX 37,5 18.01.17              BUY     10/11/2016    1,600.00   0.40
Call VIX 50 18.01.17                BUY     10/11/2016    2,600.00   0.20
Call VIX 32,5 16.11.16              BUY     10/12/2016    1,900.00   0.29
Call VIX 40 16.11.16                BUY     10/12/2016    1,900.00   0.29
Call VIX 40 16.11.16                SELL    10/12/2016   -1,900.00   0.29
Call VIX 40 16.11.16                BUY     10/12/2016    5,600.00   0.14
Call VIX 40 18.01.17                BUY     10/12/2016    1,800.00   0.37
Call VIX 50 18.01.17                BUY     10/12/2016    1,800.00   0.37
Call VIX 50 18.01.17                SELL    10/12/2016   -1,800.00   0.37
Call VIX 50 18.01.17                BUY     10/12/2016    5,800.00   0.20
Call VIX 35 16.11.16                BUY     10/13/2016    1,600.00   0.24
Call VIX 40 18.01.17                BUY     10/13/2016    2,000.00   0.39
Call VIX 32,5 16.11.16              BUY     10/17/2016    2,100.00   0.25
Call VIX 37,5 18.01.17              BUY     10/17/2016    1,700.00   0.42
Call VIX 30 16.11.16                BUY     10/18/2016    1,700.00   0.28
Call VIX 37,5 18.01.17              BUY     10/18/2016    1,600.00   0.42
Call VIX 35 16.11.16                BUY     10/19/2016    2,300.00   0.16
Call VIX 50 18.01.17                BUY     10/19/2016    2,600.00   0.19
Call VIX 30 19.10.16                SELL    10/20/2016   -2,600.00   0.00
Call VIX 32,5 19.10.16              SELL    10/20/2016   -4,200.00   0.00
Call VIX 37,5 19.10.16              SELL    10/20/2016   -3,600.00   0.00
Call VIX 40 19.10.16                SELL    10/20/2016   -6,200.00   0.00
Call VIX 42,5 19.10.16              SELL    10/20/2016   -2,600.00   0.00
Call VIX 45 19.10.16                SELL    10/20/2016   -2,000.00   0.00
Call VIX 50 19.10.16                SELL    10/20/2016   -2,000.00   0.00
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Call VIX 55 19.10.16                SELL    10/20/2016 -2,400.00    0.00
Call VIX 30 16.11.16                BUY     11/4/2016     100.00    0.55
Call VIX 35 16.11.16                SELL    11/7/2016 -1,600.00     0.06
Call VIX 35 21.12.16                BUY     11/7/2016    1,900.00   0.32
Call VIX 40 15.02.17                BUY     11/7/2016    2,100.00   0.37
Call VIX 32,5 16.11.16              SELL    11/8/2016 -2,100.00     0.16
Call VIX 35 21.12.16                BUY     11/8/2016    1,900.00   0.33
Call VIX 40 15.02.17                BUY     11/8/2016    2,100.00   0.36
Call VIX 40 16.11.16                SELL    11/8/2016 -1,600.00     0.06
Call VIX 30 16.11.16                SELL    11/9/2016 -3,600.00     0.06
Call VIX 32,5 16.11.16              SELL    11/9/2016 -1,900.00     0.07
Call VIX 32,5 21.12.16              BUY     11/9/2016    1,200.00   0.37
Call VIX 40 15.02.17                BUY     11/9/2016    1,800.00   0.37
Call VIX 40 18.01.17                BUY     11/9/2016     300.00    0.22
Call VIX 42,5 21.12.16              SELL    11/9/2016 -2,300.00     0.10
Call VIX 50 21.12.16                SELL    11/9/2016 -7,700.00     0.05
Call VIX 30 16.11.16                BUY     11/10/2016    300.00    0.05
Call VIX 30 16.11.16                SELL    11/10/2016   -300.00    0.05
Call VIX 30 16.11.16                BUY     11/10/2016    300.00    0.05
Call VIX 40 21.12.16                BUY     11/10/2016    200.00    0.13
Call VIX 40 21.12.16                BUY     11/10/2016 3,500.00     0.22
Call VIX 47,5 15.02.17              BUY     11/10/2016 2,600.00     0.24
Call VIX 32,5 21.12.16              BUY     11/11/2016    100.00    0.35
Call VIX 40 15.02.17                BUY     11/11/2016    100.00    0.39
Call VIX 40 18.01.17                BUY     11/11/2016    100.00    0.30
Call VIX 40 21.12.16                SELL    11/11/2016   -200.00    0.13
Call VIX 40 21.12.16                BUY     11/11/2016    200.00    0.13
Call VIX 42,5 21.12.16              BUY     11/11/2016 3,600.00     0.14
Call VIX 55 15.02.17                BUY     11/11/2016 2,900.00     0.17
Call VIX 32,5 21.12.16              BUY     11/14/2016 1,600.00     0.27
Call VIX 40 15.02.17                BUY     11/14/2016 1,700.00     0.34
Call VIX 32,5 21.12.16              BUY     11/15/2016 1,500.00     0.25
Call VIX 35 21.12.16                SELL    11/15/2016 -3,800.00    0.17
Call VIX 37,5 15.02.17              BUY     11/15/2016 1,700.00     0.38
Call VIX 42,5 21.12.16              SELL    11/15/2016 -3,400.00    0.07
Call VIX 30 21.12.16                BUY     11/16/2016 2,000.00     0.27
Call VIX 40 15.02.17                BUY     11/16/2016 2,400.00     0.37
Call VIX 30 16.11.16                SELL    11/17/2016 -2,200.00    0.00
Call VIX 35 16.11.16                SELL    11/17/2016 -2,300.00    0.00
Call VIX 35 21.12.16                BUY     11/17/2016 4,300.00     0.15
Call VIX 37,5 16.11.16              SELL    11/17/2016 -4,400.00    0.00
Call VIX 40 16.11.16                SELL    11/17/2016 -12,700.00   0.00
Call VIX 50 15.02.17                BUY     11/17/2016 4,600.00     0.18
Call VIX 50 16.11.16                SELL    11/17/2016 -4,400.00    0.00
Call VIX 55 16.11.16                SELL    11/17/2016 -5,100.00    0.00
Call VIX 30 21.12.16                BUY     11/21/2016    500.00    0.13
Call VIX 32,5 21.12.16              SELL    11/21/2016 -1,300.00    0.10
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Call VIX 35 21.12.16                BUY     11/21/2016    600.00    0.08
Call VIX 37,5 18.01.17              SELL    11/21/2016 -1,700.00    0.17
Call VIX 40 15.02.17                BUY     11/21/2016    600.00    0.29
Call VIX 40 18.01.17                SELL    11/21/2016 -3,800.00    0.16
Call VIX 50 15.02.17                BUY     11/21/2016    600.00    0.17
Call VIX 50 18.01.17                SELL    11/21/2016 -11,000.00   0.07
Call VIX 37,5 18.01.17              SELL    11/22/2016 -1,600.00    0.20
Call VIX 37,5 18.01.17              SELL    11/25/2016 -1,600.00    0.20
Call VIX 30 21.12.16                SELL     12/5/2016 -2,500.00    0.06
Call VIX 32,5 18.01.17              BUY      12/5/2016   1,200.00   0.30
Call VIX 32,5 21.12.16              SELL     12/5/2016 -1,500.00    0.04
Call VIX 42,5 22.03.17              BUY      12/5/2016   1,800.00   0.36
Call VIX 37,5 18.01.17              BUY      12/6/2016   3,400.00   0.15
Call VIX 40 15.02.17                SELL     12/6/2016 -2,100.00    0.26
Call VIX 55 22.03.17                BUY      12/6/2016   2,700.00   0.18
Call VIX 30 18.01.17                BUY      12/7/2016   4,200.00   0.28
Call VIX 40 15.02.17                SELL     12/7/2016 -2,100.00    0.23
Call VIX 40 22.03.17                BUY      12/7/2016   3,600.00   0.39
Call VIX 37,5 18.01.17              BUY      12/8/2016   3,300.00   0.14
Call VIX 40 15.02.17                SELL     12/8/2016 -1,900.00    0.25
Call VIX 55 22.03.17                BUY      12/8/2016   2,900.00   0.17
Call VIX 29 18.01.17                BUY     12/12/2016 2,200.00     0.29
Call VIX 37,5 15.02.17              SELL    12/12/2016 -1,700.00    0.27
Call VIX 40 15.02.17                SELL    12/12/2016 -1,700.00    0.23
Call VIX 40 22.03.17                BUY     12/12/2016 1,700.00     0.39
Call VIX 47,5 15.02.17              SELL    12/12/2016 -2,600.00    0.12
Call VIX 55 15.02.17                SELL    12/12/2016 -2,900.00    0.07
Call VIX 35 18.01.17                BUY     12/13/2016 3,000.00     0.17
Call VIX 50 22.03.17                BUY     12/13/2016 2,600.00     0.19
Call VIX 29 18.01.17                BUY     12/14/2016    158.00    4.22
Call VIX 29 18.01.17                SELL    12/14/2016   -158.00    4.22
Call VIX 29 18.01.17                BUY     12/14/2016 1,900.00     0.25
Call VIX 37,5 22.03.17              BUY     12/14/2016 1,600.00     0.38
Call VIX 29 18.01.17                BUY     12/15/2016 1,700.00     0.27
Call VIX 37,5 22.03.17              BUY     12/15/2016 1,200.00     0.37
Call VIX 35 18.01.17                BUY     12/16/2016 2,300.00     0.14
Call VIX 50 22.03.17                BUY     12/16/2016 2,300.00     0.17
Call VIX 30 18.01.17                SELL    12/20/2016 -4,200.00    0.13
Call VIX 32,5 18.01.17              SELL    12/20/2016 -1,200.00    0.11
Call VIX 37,5 18.01.17              SELL    12/20/2016 -3,400.00    0.06
Call VIX 40 15.02.17                SELL    12/20/2016 -3,000.00    0.13
Call VIX 40 18.01.17                SELL    12/20/2016 -2,400.00    0.05
Call VIX 50 15.02.17                SELL    12/20/2016 -5,200.00    0.06
Call VIX 32,5 21.12.16              SELL    12/22/2016 -1,600.00    0.00
Call VIX 35 21.12.16                SELL    12/22/2016 -4,900.00    0.00
Call VIX 40 21.12.16                SELL    12/22/2016 -7,300.00    0.00
Call VIX 42,5 21.12.16              SELL    12/22/2016 -5,400.00    0.00
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Call VIX 55 21.12.16                SELL    12/22/2016   -3,100.00   0.00
Call VIX 26 15.02.17                BUY      1/9/2017     2,400.00   0.24
Call VIX 35 19.04.17                BUY      1/9/2017     1,700.00   0.38
Call VIX 26 15.02.17                BUY     1/10/2017     1,900.00   0.30
Call VIX 35 19.04.17                BUY     1/10/2017     1,600.00   0.40
Call VIX 32,5 15.02.17              BUY     1/11/2017     5,000.00   0.14
Call VIX 45 19.04.17                BUY     1/11/2017     5,200.00   0.18
Call VIX 28 15.02.17                BUY     1/12/2017     4,800.00   0.25
Call VIX 37,5 19.04.17              BUY     1/12/2017     4,000.00   0.35
Call VIX 32,5 15.02.17              BUY     1/13/2017     2,600.00   0.12
Call VIX 47,5 19.04.17              BUY     1/13/2017     2,500.00   0.16
Call VIX 27 15.02.17                BUY     1/17/2017     2,100.00   0.24
Call VIX 27 15.02.17                SELL    1/17/2017    -2,100.00   0.24
Call VIX 27 15.02.17                BUY     1/17/2017     2,100.00   0.24
Call VIX 37,5 19.04.17              BUY     1/17/2017     1,700.00   0.34
Call VIX 26 15.02.17                BUY     1/18/2017     2,300.00   0.23
Call VIX 37,5 19.04.17              BUY     1/18/2017     2,000.00   0.33
Call VIX 27 15.02.17                BUY     1/19/2017      300.00    0.18
Call VIX 29 18.01.17                SELL    1/19/2017    -5,800.00   0.00
Call VIX 30 15.02.17                BUY     1/19/2017     2,400.00   0.12
Call VIX 35 18.01.17                SELL    1/19/2017    -5,300.00   0.00
Call VIX 37,5 18.01.17              SELL    1/19/2017    -3,300.00   0.00
Call VIX 37,5 19.04.17              BUY     1/19/2017      300.00    0.31
Call VIX 47,5 19.04.17              BUY     1/19/2017     2,400.00   0.16
Call VIX 27 15.02.17                BUY     1/20/2017      500.00    0.13
Call VIX 37,5 19.04.17              BUY     1/20/2017      600.00    0.29
Call VIX 40 22.03.17                SELL    1/25/2017    -3,600.00   0.07
Call VIX 42,5 22.03.17              SELL    1/25/2017    -1,800.00   0.06
Call VIX 28 15.02.17                SELL    1/26/2017    -4,800.00   0.06
Call VIX 37,5 19.04.17              BUY      2/2/2017      700.00    0.27
Call VIX 47,5 19.04.17              BUY      2/2/2017      800.00    0.13
Call VIX 37,5 22.03.17              SELL     2/3/2017    -2,800.00   0.11
Call VIX 40 22.03.17                SELL     2/3/2017    -1,700.00   0.08
Call VIX 29 22.03.17                BUY      2/6/2017     4,400.00   0.28
Call VIX 37,5 17.05.17              BUY      2/6/2017     3,200.00   0.37
Call VIX 37,5 22.03.17              BUY      2/7/2017     2,400.00   0.11
Call VIX 47,5 17.05.17              BUY      2/7/2017     2,900.00   0.17
Call VIX 29 22.03.17                BUY      2/8/2017     2,300.00   0.25
Call VIX 37,5 17.05.17              BUY      2/8/2017     2,000.00   0.37
Call VIX 32,5 22.03.17              BUY      2/9/2017     2,200.00   0.14
Call VIX 47,5 17.05.17              BUY      2/9/2017     2,900.00   0.17
Call VIX 26 22.03.17                BUY     2/10/2017     1,900.00   0.26
Call VIX 37,5 17.05.17              BUY     2/10/2017     1,800.00   0.32
Call VIX 30 22.03.17                BUY     2/13/2017     1,900.00   0.12
Call VIX 45 17.05.17                BUY     2/13/2017     2,600.00   0.18
Call VIX 24 22.03.17                BUY     2/14/2017     2,000.00   0.22
Call VIX 35 17.05.17                BUY     2/14/2017     1,800.00   0.33
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Call VIX 23 22.03.17                BUY     2/15/2017    1,700.00   0.22
Call VIX 35 17.05.17                BUY     2/15/2017    1,500.00   0.30
Call VIX 35 19.04.17                SELL    2/15/2017   -3,300.00   0.15
Call VIX 37,5 19.04.17              SELL    2/15/2017   -4,000.00   0.11
Call VIX 45 19.04.17                SELL    2/15/2017   -5,200.00   0.06
Call VIX 26 15.02.17                SELL    2/16/2017   -6,600.00   0.00
Call VIX 27 15.02.17                SELL    2/16/2017   -2,900.00   0.00
Call VIX 29 22.03.17                BUY     2/16/2017    1,700.00   0.12
Call VIX 30 15.02.17                SELL    2/16/2017   -2,400.00   0.00
Call VIX 32,5 15.02.17              SELL    2/16/2017   -7,600.00   0.00
Call VIX 42,5 17.05.17              BUY     2/16/2017    2,200.00   0.18
Call VIX 29 22.03.17                SELL    2/21/2017   -6,700.00   0.06
Call VIX 37,5 19.04.17              SELL    2/21/2017   -5,300.00   0.11
Call VIX 47,5 19.04.17              SELL    2/24/2017   -5,700.00   0.08
Call VIX 24 22.03.17                SELL    3/1/2017    -2,000.00   0.07
Call VIX 26 22.03.17                SELL    3/1/2017    -1,900.00   0.06
Call VIX 23 22.03.17                SELL    3/2/2017    -1,700.00   0.10
Call VIX 28 19.04.17                BUY     3/6/2017     4,600.00   0.27
Call VIX 37,5 21.06.17              BUY     3/6/2017     4,400.00   0.32
Call VIX 28 19.04.17                BUY     3/7/2017     2,700.00   0.25
Call VIX 37,5 21.06.17              BUY     3/7/2017     2,200.00   0.32
Call VIX 32,5 19.04.17              BUY     3/8/2017     3,300.00   0.14
Call VIX 47,5 21.06.17              BUY     3/8/2017     2,800.00   0.17
Call VIX 27 19.04.17                BUY     3/9/2017     2,300.00   0.28
Call VIX 37,5 21.06.17              BUY     3/9/2017     2,100.00   0.33
Call VIX 32,5 19.04.17              BUY     3/10/2017    3,100.00   0.14
Call VIX 45 21.06.17                BUY     3/10/2017    3,000.00   0.19
Call VIX 32,5 19.04.17              BUY     3/13/2017    3,200.00   0.11
Call VIX 45 21.06.17                BUY     3/13/2017    2,900.00   0.17
Call VIX 26 19.04.17                BUY     3/14/2017    2,500.00   0.24
Call VIX 35 21.06.17                BUY     3/14/2017    1,900.00   0.36
Call VIX 32,5 19.04.17              BUY     3/15/2017    2,700.00   0.12
Call VIX 47,5 21.06.17              BUY     3/15/2017    2,500.00   0.16
Call VIX 24 19.04.17                BUY     3/16/2017    2,400.00   0.23
Call VIX 35 21.06.17                BUY     3/16/2017    2,000.00   0.35
Call VIX 37,5 17.05.17              SELL    3/20/2017   -5,200.00   0.12
Call VIX 24 19.04.17                BUY     3/22/2017     100.00    0.21
Call VIX 35 21.06.17                BUY     3/22/2017     100.00    0.30
Call VIX 29 22.03.17                SELL    3/23/2017   -1,700.00   0.00
Call VIX 30 22.03.17                SELL    3/23/2017   -1,900.00   0.00
Call VIX 32,5 22.03.17              SELL    3/23/2017   -2,200.00   0.00
Call VIX 37,5 22.03.17              SELL    3/23/2017   -2,400.00   0.00
Call VIX 50 22.03.17                SELL    3/23/2017   -4,900.00   0.00
Call VIX 55 22.03.17                SELL    3/23/2017   -5,600.00   0.00
Call VIX 37,5 17.05.17              SELL    3/29/2017   -1,800.00   0.07
Call VIX 24 19.04.17                BUY     4/4/2017      500.00    0.08
Call VIX 35 21.06.17                BUY     4/4/2017      400.00    0.18
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Call VIX 35 17.05.17                SELL    4/5/2017     -1,800.00   0.05
Call VIX 26 17.05.17                BUY     4/6/2017      2,800.00   0.26
Call VIX 32,5 19.07.17              BUY     4/6/2017      2,300.00   0.29
Call VIX 26 17.05.17                BUY     4/7/2017      2,800.00   0.28
Call VIX 32,5 19.07.17              BUY     4/7/2017      2,300.00   0.29
Call VIX 24 19.04.17                SELL    4/10/2017    -3,000.00   0.07
Call VIX 26 19.04.17                SELL    4/10/2017    -2,500.00   0.04
Call VIX 27 17.05.17                BUY     4/10/2017     2,600.00   0.28
Call VIX 32,5 19.07.17              BUY     4/10/2017     2,000.00   0.33
Call VIX 27 19.04.17                SELL    4/11/2017    -2,300.00   0.11
Call VIX 28 19.04.17                SELL    4/11/2017    -7,300.00   0.08
Call VIX 30 17.05.17                BUY     4/11/2017     5,000.00   0.39
Call VIX 35 19.07.17                BUY     4/11/2017     4,800.00   0.34
Call VIX 40 17.05.17                BUY     4/12/2017     5,600.00   0.13
Call VIX 45 19.07.17                BUY     4/12/2017     6,600.00   0.15
Call VIX 32,5 17.05.17              BUY     4/18/2017     3,400.00   0.18
Call VIX 42,5 19.07.17              BUY     4/18/2017     3,100.00   0.17
Call VIX 26 17.05.17                BUY     4/19/2017     2,200.00   0.25
Call VIX 32,5 19.07.17              BUY     4/19/2017     2,200.00   0.30
Call VIX 26 17.05.17                BUY     4/20/2017      100.00    0.30
Call VIX 32,5 17.05.17              BUY     4/20/2017     3,100.00   0.14
Call VIX 32,5 19.04.17              SELL    4/20/2017   -12,300.00   0.00
Call VIX 32,5 19.07.17              BUY     4/20/2017      100.00    0.32
Call VIX 42,5 19.07.17              BUY     4/20/2017     4,200.00   0.14
Call VIX 42,5 19.07.17              SELL    4/20/2017    -4,200.00   0.14
Call VIX 42,5 19.07.17              BUY     4/20/2017     4,200.00   0.14
Call VIX 26 17.05.17                SELL    4/25/2017    -2,800.00   0.07
Call VIX 26 17.05.17                SELL    4/25/2017    -2,800.00   0.08
Call VIX 26 17.05.17                SELL    4/26/2017    -2,300.00   0.05
Call VIX 27 17.05.17                BUY     4/26/2017      500.00    0.05
Call VIX 27 17.05.17                SELL    4/26/2017    -3,100.00   0.06
Call VIX 32,5 19.07.17              BUY     4/26/2017      500.00    0.23
Call VIX 35 21.06.17                BUY     4/26/2017      500.00    0.12
Call VIX 26 17.05.17                BUY     4/27/2017     2,300.00   0.05
Call VIX 27 17.05.17                BUY     4/27/2017     3,100.00   0.06
Call VIX 26 17.05.17                SELL    4/28/2017    -2,300.00   0.06
Call VIX 27 17.05.17                SELL    4/28/2017    -3,100.00   0.05
Call VIX 37,5 21.06.17              SELL    5/4/2017     -8,700.00   0.07
Call VIX 35 21.06.17                SELL    5/5/2017     -1,900.00   0.09
Call VIX 25 21.06.17                BUY     5/8/2017      2,700.00   0.23
Call VIX 32,5 16.08.17              BUY     5/8/2017      2,000.00   0.30
Call VIX 25 21.06.17                BUY     5/9/2017      2,700.00   0.23
Call VIX 32,5 16.08.17              BUY     5/9/2017      2,000.00   0.31
Call VIX 35 21.06.17                SELL    5/9/2017     -3,000.00   0.06
Call VIX 32,5 21.06.17              BUY     5/10/2017     2,700.00   0.11
Call VIX 42,5 16.08.17              BUY     5/10/2017     2,800.00   0.16
Call VIX 26 21.06.17                BUY     5/11/2017     2,800.00   0.24
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Call VIX 35 16.08.17                BUY     5/11/2017    2,100.00   0.30
Call VIX 25 21.06.17                BUY     5/12/2017    2,700.00   0.23
Call VIX 32,5 16.08.17              BUY     5/12/2017    2,100.00   0.33
Call VIX 30 21.06.17                BUY     5/15/2017    2,700.00   0.10
Call VIX 42,5 16.08.17              BUY     5/15/2017    2,700.00   0.16
Call VIX 28 21.06.17                BUY     5/16/2017    3,600.00   0.10
Call VIX 42,5 16.08.17              BUY     5/16/2017    2,700.00   0.16
Call VIX 24 21.06.17                BUY     5/17/2017    2,800.00   0.24
Call VIX 26 21.06.17                BUY     5/17/2017    2,900.00   0.28
Call VIX 32,5 16.08.17              BUY     5/17/2017    2,100.00   0.33
Call VIX 35 16.08.17                BUY     5/17/2017    2,600.00   0.32
Call VIX 25 21.06.17                BUY     5/18/2017     100.00    0.35
Call VIX 30 17.05.17                SELL    5/18/2017   -5,000.00   0.00
Call VIX 32,5 16.08.17              BUY     5/18/2017     100.00    0.38
Call VIX 32,5 17.05.17              SELL    5/18/2017   -6,500.00   0.00
Call VIX 32,5 19.07.17              BUY     5/18/2017     100.00    0.28
Call VIX 35 17.05.17                SELL    5/18/2017   -1,500.00   0.00
Call VIX 35 21.06.17                BUY     5/18/2017    3,800.00   0.15
Call VIX 40 17.05.17                SELL    5/18/2017   -5,600.00   0.00
Call VIX 42,5 17.05.17              SELL    5/18/2017   -2,200.00   0.00
Call VIX 45 17.05.17                SELL    5/18/2017   -2,600.00   0.00
Call VIX 47,5 16.08.17              BUY     5/18/2017    3,300.00   0.18
Call VIX 47,5 17.05.17              SELL    5/18/2017   -5,800.00   0.00
Call VIX 25 21.06.17                BUY     5/19/2017     100.00    0.23
Call VIX 32,5 16.08.17              BUY     5/19/2017     100.00    0.33
Call VIX 25 21.06.17                BUY     5/22/2017     700.00    0.14
Call VIX 28 21.06.17                BUY     5/22/2017     900.00    0.11
Call VIX 32,5 16.08.17              BUY     5/22/2017     500.00    0.33
Call VIX 42,5 16.08.17              BUY     5/22/2017     700.00    0.17
Call VIX 42,5 19.07.17              SELL    5/23/2017   -3,100.00   0.07
Call VIX 45 19.07.17                SELL    5/23/2017   -6,600.00   0.05
Call VIX 26 21.06.17                SELL    5/26/2017   -2,900.00   0.09
Call VIX 32,5 19.07.17              SELL    5/26/2017   -2,300.00   0.13
Call VIX 32,5 19.07.17              SELL    5/26/2017   -2,300.00   0.13
Call VIX 35 19.07.17                SELL    5/26/2017   -4,800.00   0.11
Call VIX 42,5 19.07.17              SELL    5/26/2017   -4,200.00   0.06
Call VIX 24 21.06.17                SELL    5/30/2017   -2,800.00   0.10
Call VIX 25 21.06.17                SELL    6/1/2017    -5,400.00   0.07
Call VIX 26 21.06.17                SELL    6/1/2017    -2,800.00   0.06
Call VIX 32,5 16.08.17              BUY     6/1/2017      200.00    0.25
Call VIX 32,5 19.07.17              SELL    6/1/2017    -4,900.00   0.11
Call VIX 25 21.06.17                SELL    6/2/2017    -3,600.00   0.06
Call VIX 26 19.07.17                BUY     6/6/2017     7,000.00   0.25
Call VIX 35 20.09.17                BUY     6/6/2017     5,600.00   0.30
Call VIX 35 19.07.17                BUY     6/7/2017     8,800.00   0.13
Call VIX 47,5 20.09.17              BUY     6/7/2017     7,200.00   0.15
Call VIX 25 19.07.17                BUY     6/8/2017     3,200.00   0.23
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Call VIX 32,5 20.09.17              BUY     6/8/2017      2,200.00   0.33
Call VIX 26 19.07.17                BUY     6/12/2017     6,800.00   0.25
Call VIX 35 20.09.17                BUY     6/12/2017     5,400.00   0.30
Call VIX 32,5 19.07.17              BUY     6/13/2017     8,000.00   0.12
Call VIX 42,5 20.09.17              BUY     6/13/2017     6,200.00   0.17
Call VIX 24 19.07.17                BUY     6/14/2017     3,100.00   0.23
Call VIX 32,5 20.09.17              BUY     6/14/2017     2,100.00   0.30
Call VIX 32,5 16.08.17              SELL    6/19/2017    -2,100.00   0.17
Call VIX 35 16.08.17                SELL    6/19/2017    -2,600.00   0.15
Call VIX 47,5 16.08.17              SELL    6/19/2017    -3,300.00   0.06
Call VIX 28 21.06.17                SELL    6/22/2017    -4,500.00   0.00
Call VIX 30 21.06.17                SELL    6/22/2017    -2,700.00   0.00
Call VIX 32,5 21.06.17              SELL    6/22/2017    -2,700.00   0.00
Call VIX 35 21.06.17                SELL    6/22/2017    -3,800.00   0.00
Call VIX 45 21.06.17                SELL    6/22/2017    -5,900.00   0.00
Call VIX 47,5 21.06.17              SELL    6/22/2017    -5,300.00   0.00
Call VIX 32,5 16.08.17              SELL    6/26/2017    -7,000.00   0.15
Call VIX 35 16.08.17                SELL    6/26/2017    -2,100.00   0.15
Call VIX 42,5 16.08.17              SELL    6/26/2017    -5,500.00   0.09
Call VIX 24 19.07.17                BUY     7/3/2017      2,400.00   0.12
Call VIX 32,5 20.09.17              BUY     7/3/2017      1,600.00   0.32
Call VIX 24 19.07.17                BUY     7/5/2017      1,500.00   0.12
Call VIX 32,5 20.09.17              BUY     7/5/2017      1,000.00   0.32
Call VIX 26 19.07.17                SELL    7/10/2017   -13,800.00   0.06
Call VIX 27 16.08.17                BUY     7/10/2017     3,200.00   0.22
Call VIX 35 16.08.17                BUY     7/10/2017     5,100.00   0.12
Call VIX 35 18.10.17                BUY     7/10/2017     3,000.00   0.32
Call VIX 47,5 18.10.17              BUY     7/10/2017     4,000.00   0.15
Call VIX 26 16.08.17                BUY     7/11/2017     3,800.00   0.23
Call VIX 35 18.10.17                BUY     7/11/2017     3,300.00   0.29
Call VIX 30 16.08.17                BUY     7/12/2017     4,400.00   0.13
Call VIX 45 18.10.17                BUY     7/12/2017     3,800.00   0.15
Call VIX 23 16.08.17                BUY     7/13/2017     3,400.00   0.24
Call VIX 32,5 18.10.17              BUY     7/13/2017     2,700.00   0.31
Call VIX 22 16.08.17                BUY     7/14/2017     3,100.00   0.22
Call VIX 32,5 18.10.17              BUY     7/14/2017     2,600.00   0.30
Call VIX 21 16.08.17                BUY     7/17/2017     3,500.00   0.19
Call VIX 32,5 18.10.17              BUY     7/17/2017     2,900.00   0.28
Call VIX 21 16.08.17                BUY     7/18/2017      800.00    0.19
Call VIX 26 16.08.17                BUY     7/18/2017     3,200.00   0.12
Call VIX 32,5 18.10.17              BUY     7/18/2017      600.00    0.28
Call VIX 42,5 18.10.17              BUY     7/18/2017     3,600.00   0.15
Call VIX 20 16.08.17                BUY     7/19/2017     3,100.00   0.18
Call VIX 32,5 18.10.17              BUY     7/19/2017     2,700.00   0.26
Call VIX 20 16.08.17                BUY     7/20/2017      700.00    0.18
Call VIX 24 19.07.17                SELL    7/20/2017    -7,000.00   0.00
Call VIX 25 19.07.17                SELL    7/20/2017    -3,200.00   0.00
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Call VIX 26 16.08.17                BUY     7/20/2017     3,600.00   0.09
Call VIX 32,5 18.10.17              BUY     7/20/2017      600.00    0.27
Call VIX 32,5 19.07.17              SELL    7/20/2017    -8,000.00   0.00
Call VIX 35 19.07.17                SELL    7/20/2017    -8,800.00   0.00
Call VIX 42,5 18.10.17              BUY     7/20/2017     4,900.00   0.14
Call VIX 26 16.08.17                SELL    7/25/2017    -3,800.00   0.06
Call VIX 27 16.08.17                SELL    7/25/2017    -3,200.00   0.05
Call VIX 35 20.09.17                SELL    7/25/2017   -11,000.00   0.10
Call VIX 32,5 20.09.17              SELL    8/3/2017     -6,900.00   0.18
Call VIX 23 16.08.17                SELL    8/4/2017     -3,400.00   0.07
Call VIX 42,5 20.09.17              SELL    8/4/2017     -6,200.00   0.07
Call VIX 22 16.08.17                SELL    8/7/2017     -3,100.00   0.08
Call VIX 27 20.09.17                BUY     8/7/2017      3,200.00   0.25
Call VIX 32,5 15.11.17              BUY     8/7/2017      2,900.00   0.34
Call VIX 20 16.08.17                SELL    8/8/2017     -3,800.00   0.07
Call VIX 21 16.08.17                SELL    8/8/2017     -4,300.00   0.06
Call VIX 37,5 20.09.17              BUY     8/8/2017      3,500.00   0.13
Call VIX 47,5 15.11.17              BUY     8/8/2017      5,300.00   0.15
Call VIX 26 16.08.17                SELL    8/10/2017    -6,800.00   0.07
Call VIX 30 16.08.17                SELL    8/10/2017    -4,400.00   0.06
Call VIX 32,5 20.09.17              BUY     8/10/2017     7,800.00   0.28
Call VIX 35 16.08.17                SELL    8/10/2017    -5,100.00   0.05
Call VIX 35 20.09.17                BUY     8/10/2017     3,500.00   0.37
Call VIX 37,5 15.11.17              BUY     8/10/2017     5,800.00   0.33
Call VIX 40 15.11.17                BUY     8/10/2017     3,000.00   0.37
Call VIX 32,5 18.10.17              BUY     8/11/2017      400.00    0.53
Call VIX 37,5 20.09.17              BUY     8/11/2017     3,700.00   0.32
Call VIX 40 15.11.17                BUY     8/11/2017     3,300.00   0.37
Call VIX 37,5 20.09.17              BUY     8/14/2017     4,100.00   0.12
Call VIX 50 15.11.17                BUY     8/14/2017     4,100.00   0.12
Call VIX 50 15.11.17                SELL    8/14/2017    -4,100.00   0.12
Call VIX 50 15.11.17                BUY     8/14/2017     4,400.00   0.18
Call VIX 26 20.09.17                BUY     8/16/2017     3,300.00   0.26
Call VIX 32,5 18.10.17              BUY     8/16/2017      700.00    0.30
Call VIX 35 15.11.17                BUY     8/16/2017     3,500.00   0.34
Call VIX 35 20.09.17                BUY     8/16/2017     4,800.00   0.13
Call VIX 50 15.11.17                BUY     8/16/2017     4,200.00   0.16
Call VIX 32,5 20.09.17              BUY     8/17/2017     5,000.00   0.15
Call VIX 42,5 16.08.17              SELL    8/17/2017    -3,400.00   0.00
Call VIX 50 15.11.17                BUY     8/17/2017     4,300.00   0.17
Call VIX 26 20.09.17                BUY     8/18/2017      100.00    0.50
Call VIX 32,5 18.10.17              BUY     8/18/2017      100.00    0.45
Call VIX 50 15.11.17                BUY     8/18/2017      100.00    0.20
Call VIX 26 20.09.17                BUY     8/21/2017      600.00    0.43
Call VIX 32,5 18.10.17              BUY     8/21/2017      800.00    0.43
Call VIX 35 15.11.17                BUY     8/21/2017      600.00    0.43
Call VIX 26 20.09.17                BUY     8/28/2017      800.00    0.18
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Call VIX 35 15.11.17                BUY     8/28/2017      800.00    0.35
Call VIX 32,5 20.09.17              SELL    8/31/2017    -5,000.00   0.06
Call VIX 35 18.10.17                SELL    8/31/2017    -6,300.00   0.21
Call VIX 47,5 18.10.17              SELL    8/31/2017    -4,000.00   0.08
Call VIX 26 20.09.17                SELL    9/1/2017     -4,800.00   0.07
Call VIX 27 20.09.17                SELL    9/1/2017     -3,200.00   0.06
Call VIX 45 18.10.17                SELL    9/1/2017     -3,800.00   0.08
Call VIX 32,5 18.10.17              BUY     9/5/2017      1,900.00   0.33
Call VIX 32,5 18.10.17              BUY     9/5/2017      6,700.00   0.28
Call VIX 32,5 20.09.17              SELL    9/5/2017     -7,800.00   0.05
Call VIX 35 20.09.17                SELL    9/5/2017     -3,500.00   0.05
Call VIX 37,5 20.12.17              BUY     9/5/2017      7,600.00   0.35
Call VIX 37,5 20.12.17              BUY     9/5/2017      3,300.00   0.38
Call VIX 42,5 18.10.17              BUY     9/6/2017      6,900.00   0.13
Call VIX 50 20.12.17                BUY     9/6/2017      5,000.00   0.17
Call VIX 40 18.10.17                BUY     9/7/2017      7,100.00   0.14
Call VIX 55 20.12.17                BUY     9/7/2017      5,100.00   0.16
Call VIX 30 18.10.17                BUY     9/8/2017      4,500.00   0.27
Call VIX 37,5 20.12.17              BUY     9/8/2017      3,300.00   0.37
Call VIX 35 18.10.17                BUY     9/11/2017     4,100.00   0.14
Call VIX 50 20.12.17                BUY     9/11/2017     5,000.00   0.18
Call VIX 27 18.10.17                BUY     9/12/2017     2,700.00   0.24
Call VIX 37,5 20.12.17              BUY     9/12/2017     3,400.00   0.33
Call VIX 26 18.10.17                BUY     9/13/2017     2,400.00   0.23
Call VIX 37,5 20.12.17              BUY     9/13/2017     3,400.00   0.32
Call VIX 26 18.10.17                BUY     9/14/2017      100.00    0.20
Call VIX 32,5 18.10.17              BUY     9/14/2017     4,400.00   0.12
Call VIX 37,5 20.12.17              BUY     9/14/2017      200.00    0.27
Call VIX 47,5 20.12.17              BUY     9/14/2017     4,500.00   0.16
Call VIX 35 20.09.17                SELL    9/21/2017    -4,800.00   0.00
Call VIX 37,5 20.09.17              SELL    9/21/2017   -11,300.00   0.00
Call VIX 47,5 20.09.17              SELL    9/21/2017    -7,200.00   0.00
Call VIX 26 18.10.17                BUY     9/25/2017      300.00    0.16
Call VIX 30 18.10.17                SELL    9/25/2017    -4,500.00   0.10
Call VIX 32,5 18.10.17              SELL    9/25/2017    -4,500.00   0.07
Call VIX 37,5 20.12.17              BUY     9/25/2017      400.00    0.28
Call VIX 40 15.11.17                SELL    9/25/2017    -3,300.00   0.12
Call VIX 32,5 18.10.17              SELL    9/26/2017    -9,400.00   0.07
Call VIX 40 15.11.17                SELL    9/26/2017    -3,000.00   0.12
Call VIX 50 15.11.17                SELL    9/26/2017    -4,400.00   0.07
Call VIX 50 15.11.17                SELL    9/27/2017    -4,300.00   0.06
Call VIX 27 18.10.17                BUY     9/28/2017      600.00    0.11
Call VIX 37,5 15.11.17              SELL    9/28/2017    -5,800.00   0.12
Call VIX 37,5 20.12.17              BUY     9/28/2017     1,000.00   0.26
Call VIX 50 15.11.17                SELL    9/28/2017    -4,300.00   0.06
Call VIX 27 18.10.17                SELL    10/2/2017    -3,300.00   0.07
Call VIX 32,5 15.11.17              SELL    10/2/2017    -2,900.00   0.16
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Call VIX 35 15.11.17                SELL    10/2/2017 -4,900.00     0.11
Call VIX 50 20.12.17                SELL    10/2/2017 -5,000.00     0.12
Call VIX 26 18.10.17                SELL    10/4/2017 -2,800.00     0.06
Call VIX 37,5 20.12.17              SELL    10/4/2017 -3,300.00     0.22
Call VIX 37,5 20.12.17              SELL    10/5/2017 -10,900.00    0.21
Call VIX 27 15.11.17                BUY     10/6/2017    3,600.00   0.26
Call VIX 37,5 17.01.18              BUY     10/6/2017    3,100.00   0.34
Call VIX 27 15.11.17                BUY     10/9/2017    3,200.00   0.25
Call VIX 37,5 17.01.18              BUY     10/9/2017    3,300.00   0.34
Call VIX 28 15.11.17                BUY     10/10/2017 3,300.00     0.27
Call VIX 37,5 15.11.17              BUY     10/10/2017 5,400.00     0.13
Call VIX 37,5 17.01.18              BUY     10/10/2017 2,700.00     0.37
Call VIX 55 17.01.18                BUY     10/10/2017 4,700.00     0.17
Call VIX 26 15.11.17                BUY     10/11/2017 3,400.00     0.26
Call VIX 35 15.11.17                BUY     10/11/2017 5,500.00     0.13
Call VIX 37,5 17.01.18              BUY     10/11/2017 3,200.00     0.34
Call VIX 55 17.01.18                BUY     10/11/2017 4,700.00     0.17
Call VIX 26 15.11.17                BUY     10/12/2017 3,200.00     0.24
Call VIX 37,5 17.01.18              BUY     10/12/2017 3,100.00     0.33
Call VIX 50 20.12.17                SELL    10/12/2017 -5,000.00    0.12
Call VIX 55 20.12.17                SELL    10/12/2017 -5,100.00    0.08
Call VIX 35 15.11.17                BUY     10/13/2017 4,300.00     0.11
Call VIX 55 17.01.18                BUY     10/13/2017 4,400.00     0.14
Call VIX 24 15.11.17                BUY     10/16/2017 3,500.00     0.24
Call VIX 35 15.11.17                BUY     10/16/2017 4,700.00     0.11
Call VIX 37,5 17.01.18              BUY     10/16/2017 2,900.00     0.32
Call VIX 55 17.01.18                BUY     10/16/2017 4,200.00     0.16
Call VIX 37,5 20.12.17              SELL    10/18/2017 -3,400.00    0.17
Call VIX 47,5 20.12.17              SELL    10/18/2017 -4,500.00    0.12
Call VIX 32,5 18.10.17              SELL    10/20/2017 -13,200.00   0.00
Call VIX 35 18.10.17                SELL    10/20/2017 -4,100.00    0.00
Call VIX 40 18.10.17                SELL    10/20/2017 -7,100.00    0.00
Call VIX 42,5 18.10.17              SELL    10/20/2017 -15,400.00   0.00
Call VIX 37,5 20.12.17              SELL    10/30/2017 -5,000.00    0.10
Call VIX 24 15.11.17                SELL    11/3/2017 -3,500.00     0.05
Call VIX 26 15.11.17                SELL    11/3/2017 -6,600.00     0.07
Call VIX 27 15.11.17                SELL    11/3/2017 -6,800.00     0.05
Call VIX 27 20.12.17                BUY     11/6/2017    3,300.00   0.25
Call VIX 37,5 14.02.18              BUY     11/6/2017    3,300.00   0.34
Call VIX 26 20.12.17                BUY     11/7/2017    3,500.00   0.27
Call VIX 37,5 14.02.18              BUY     11/7/2017    3,100.00   0.33
Call VIX 27 20.12.17                BUY     11/8/2017    3,600.00   0.26
Call VIX 40 14.02.18                BUY     11/8/2017    3,300.00   0.33
Call VIX 26 20.12.17                BUY     11/9/2017     200.00    0.29
Call VIX 27 20.12.17                BUY     11/9/2017    3,800.00   0.28
Call VIX 37,5 14.02.18              BUY     11/9/2017     200.00    0.37
Call VIX 40 14.02.18                BUY     11/9/2017    3,500.00   0.34
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Call VIX 28 20.12.17                BUY     11/10/2017      4,700.00   0.25
Call VIX 40 14.02.18                BUY     11/10/2017      3,600.00   0.34
Call VIX 35 20.12.17                BUY     11/13/2017      5,800.00   0.14
Call VIX 55 14.02.18                BUY     11/13/2017      5,000.00   0.18
Call VIX 28 20.12.17                BUY     11/14/2017      4,200.00   0.28
Call VIX 40 14.02.18                BUY     11/14/2017      3,500.00   0.38
Call VIX 40 20.12.17                BUY     11/15/2017     12,800.00   0.14
Call VIX 55 14.02.18                BUY     11/15/2017     10,400.00   0.22
Call VIX 28 15.11.17                SELL    11/16/2017     -3,300.00   0.00
Call VIX 35 15.11.17                SELL    11/16/2017   -14,500.00    0.00
Call VIX 35 20.12.17                BUY     11/16/2017      5,700.00   0.13
Call VIX 37,5 15.11.17              SELL    11/16/2017     -5,400.00   0.00
Call VIX 47,5 15.11.17              SELL    11/16/2017     -5,300.00   0.00
Call VIX 55 14.02.18                BUY     11/16/2017      5,000.00   0.17
Call VIX 27 20.12.17                SELL    11/27/2017     -3,800.00   0.06
Call VIX 28 20.12.17                SELL    11/27/2017     -8,900.00   0.06
Call VIX 27 20.12.17                SELL    11/29/2017     -6,900.00   0.06
Call VIX 26 20.12.17                SELL    12/1/2017      -3,700.00   0.06
Call VIX 26 17.01.18                BUY     12/4/2017       5,200.00   0.26
Call VIX 37,5 17.01.18              SELL    12/4/2017     -15,400.00   0.08
Call VIX 40 21.03.18                BUY     12/4/2017       3,500.00   0.33
Call VIX 27 17.01.18                BUY     12/5/2017      10,000.00   0.24
Call VIX 40 21.03.18                BUY     12/5/2017       6,800.00   0.33
Call VIX 27 17.01.18                BUY     12/6/2017       4,400.00   0.28
Call VIX 40 21.03.18                BUY     12/6/2017       3,800.00   0.33
Call VIX 35 17.01.18                BUY     12/7/2017       6,900.00   0.14
Call VIX 55 21.03.18                BUY     12/7/2017       5,300.00   0.17
Call VIX 35 17.01.18                BUY     12/8/2017       6,100.00   0.13
Call VIX 37,5 17.01.18              SELL    12/8/2017      -2,900.00   0.08
Call VIX 55 21.03.18                BUY     12/8/2017       5,100.00   0.16
Call VIX 26 17.01.18                BUY     12/11/2017      4,700.00   0.24
Call VIX 37,5 21.03.18              BUY     12/11/2017      3,800.00   0.35
Call VIX 25 17.01.18                BUY     12/12/2017      4,000.00   0.23
Call VIX 37,5 21.03.18              BUY     12/12/2017      3,100.00   0.34
Call VIX 40 14.02.18                SELL    12/12/2017   -10,600.00    0.16
Call VIX 55 14.02.18                SELL    12/12/2017   -10,400.00    0.06
Call VIX 32,5 17.01.18              BUY     12/13/2017      5,300.00   0.13
Call VIX 50 21.03.18                BUY     12/13/2017      4,800.00   0.18
Call VIX 25 17.01.18                BUY     12/14/2017       500.00    0.23
Call VIX 35 17.01.18                BUY     12/14/2017      5,600.00   0.11
Call VIX 37,5 21.03.18              BUY     12/14/2017       300.00    0.33
Call VIX 50 21.03.18                BUY     12/14/2017      4,800.00   0.18
Call VIX 37,5 14.02.18              SELL    12/15/2017     -6,600.00   0.17
Call VIX 40 14.02.18                SELL    12/15/2017     -3,300.00   0.16
Call VIX 55 14.02.18                SELL    12/15/2017   -10,000.00    0.06
Call VIX 26 17.01.18                SELL    12/18/2017     -5,200.00   0.14
Call VIX 27 17.01.18                SELL    12/18/2017     -4,400.00   0.13
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Call VIX 27 17.01.18                SELL    12/18/2017   -10,000.00    0.13
Call VIX 35 20.12.17                SELL    12/20/2017   -11,500.00    0.00
Call VIX 40 20.12.17                SELL    12/22/2017   -12,800.00    0.00
Call VIX 35 17.01.18                SELL     1/2/2018      -6,900.00   0.05
Call VIX 25 17.01.18                SELL     1/3/2018      -4,500.00   0.08
Call VIX 26 17.01.18                SELL     1/3/2018      -4,700.00   0.06
Call VIX 35 17.01.18                SELL     1/3/2018      -6,900.00   0.05
Call VIX 35 17.01.18                BUY      1/3/2018       6,900.00   0.05
Call VIX 40 21.03.18                SELL     1/5/2018      -3,800.00   0.23
Call VIX 55 21.03.18                SELL     1/5/2018      -5,300.00   0.12
Call VIX 27 14.02.18                BUY      1/8/2018       7,000.00   0.27
Call VIX 27 14.02.18                SELL     1/8/2018      -7,000.00   0.27
Call VIX 40 18.04.18                BUY      1/8/2018       6,600.00   0.33
Call VIX 40 18.04.18                SELL     1/8/2018      -6,600.00   0.33
Call VIX 40 21.03.18                SELL     1/8/2018     -10,300.00   0.21
Call VIX 26 14.02.18                BUY      1/9/2018       4,000.00   0.24
Call VIX 27 14.02.18                BUY      1/9/2018       7,000.00   0.27
Call VIX 37,5 21.03.18              SELL     1/9/2018      -3,800.00   0.23
Call VIX 40 18.04.18                BUY      1/9/2018       3,300.00   0.32
Call VIX 40 18.04.18                BUY      1/9/2018       6,600.00   0.33
Call VIX 26 14.02.18                BUY     1/10/2018       4,100.00   0.24
Call VIX 40 18.04.18                BUY     1/10/2018       3,300.00   0.33
Call VIX 35 14.02.18                BUY     1/11/2018       5,100.00   0.11
Call VIX 55 18.04.18                BUY     1/11/2018       4,800.00   0.16
Call VIX 32,5 14.02.18              BUY     1/12/2018       5,300.00   0.13
Call VIX 37,5 21.03.18              SELL    1/12/2018      -3,400.00   0.21
Call VIX 50 21.03.18                SELL    1/12/2018      -9,600.00   0.12
Call VIX 55 18.04.18                BUY     1/12/2018       4,700.00   0.17
Call VIX 55 21.03.18                SELL    1/12/2018      -5,100.00   0.08
Call VIX 24 14.02.18                BUY     1/16/2018       4,100.00   0.23
Call VIX 37,5 18.04.18              BUY     1/16/2018       3,100.00   0.33
Call VIX 26 14.02.18                BUY     1/17/2018       5,200.00   0.24
Call VIX 37,5 18.04.18              BUY     1/17/2018       3,700.00   0.37
Call VIX 32,5 17.01.18              SELL    1/18/2018      -5,300.00   0.00
Call VIX 35 17.01.18                SELL    1/18/2018     -11,700.00   0.00
Call VIX 40 14.02.18                BUY     1/18/2018      11,700.00   0.11
Call VIX 55 17.01.18                SELL    1/18/2018     -18,000.00   0.00
Call VIX 55 18.04.18                BUY     1/18/2018      10,000.00   0.18
Call VIX 26 14.02.18                SELL    1/23/2018      -4,100.00   0.17
Call VIX 26 14.02.18                SELL    1/23/2018      -4,000.00   0.17
Call VIX 27 14.02.18                SELL    1/23/2018      -7,000.00   0.15
Call VIX 26 14.02.18                SELL    1/29/2018      -5,200.00   0.17
Call VIX 35 14.02.18                SELL    1/29/2018      -5,100.00   0.07
Call VIX 24 14.02.18                BUY     1/30/2018       1,600.00   0.36
Call VIX 37,5 18.04.18              BUY     1/30/2018       1,200.00   0.40
Call VIX 24 14.02.18                BUY      2/1/2018       7,800.00   0.19
Call VIX 37,5 18.04.18              BUY      2/1/2018       2,900.00   0.33
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Call VIX 24 14.02.18                BUY     2/2/2018     1,600.00   0.38
Call VIX 37,5 18.04.18              BUY     2/2/2018     1,200.00   0.43
Call VIX 40 21.03.18                BUY     2/5/2018     6,800.00   0.34
Call VIX 50 16.05.18                BUY     2/5/2018     5,100.00   0.38
Call VIX 24 14.02.18                BUY     2/6/2018     1,600.00   3.50
Call VIX 37,5 18.04.18              BUY     2/6/2018     1,200.00   1.15
Call VIX 40 14.02.18                BUY     2/6/2018     1,400.00   0.90
Call VIX 40 21.03.18                BUY     2/6/2018     1,100.00   0.95
Call VIX 50 16.05.18                BUY     2/6/2018      800.00    0.55
Call VIX 55 18.04.18                BUY     2/6/2018     1,700.00   0.40
Call VIX 60 16.05.18                BUY     2/6/2018     2,600.00   0.45
Call VIX 60 16.05.18                BUY     2/6/2018     2,600.00   0.55
Call VIX 60 21.03.18                BUY     2/6/2018     3,500.00   0.60
Call VIX 60 21.03.18                BUY     2/6/2018     3,500.00   0.60
Call VIX 24 14.02.18                BUY     2/7/2018      800.00    2.49
Call VIX 37,5 18.04.18              BUY     2/7/2018      600.00    1.13
Call VIX 40 14.02.18                BUY     2/7/2018      700.00    0.48
Call VIX 40 21.03.18                BUY     2/7/2018      600.00    0.84
Call VIX 42,5 21.03.18              BUY     2/7/2018     5,800.00   0.45
Call VIX 50 16.05.18                BUY     2/7/2018      800.00    0.63
Call VIX 50 16.05.18                BUY     2/7/2018     4,200.00   0.44
Call VIX 50 16.05.18                BUY     2/7/2018      800.00    0.44
Call VIX 55 18.04.18                BUY     2/7/2018      600.00    0.43
Call VIX 24 14.02.18                SELL    2/8/2018    -5,800.00   3.50
Call VIX 50 21.03.18                BUY     2/8/2018     5,600.00   0.55
Call VIX 55 16.05.18                BUY     2/8/2018     4,800.00   0.55
Call VIX 24 14.02.18                SELL    2/9/2018    -5,800.00   4.75
Call VIX 40 14.02.18                SELL    2/9/2018    -3,900.00   0.87
Call VIX 60 16.05.18                BUY     2/9/2018     5,600.00   0.53
Call VIX 60 21.03.18                BUY     2/9/2018     6,500.00   0.53
Call VIX 70 16.05.18                BUY     2/9/2018     6,300.00   0.38
Call VIX 70 21.03.18                BUY     2/9/2018     8,000.00   0.34
Call VIX 32,5 14.02.18              SELL    2/12/2018   -5,300.00   1.03
Call VIX 40 14.02.18                SELL    2/12/2018   -3,900.00   0.34
Call VIX 65 21.03.18                BUY     2/12/2018   18,400.00   0.27
Call VIX 70 16.05.18                BUY     2/12/2018   17,800.00   0.27
Call VIX 24 14.02.18                SELL    2/13/2018   -5,900.00   3.32
Call VIX 37,5 18.04.18              BUY     2/13/2018    1,800.00   0.83
Call VIX 40 14.02.18                SELL    2/13/2018   -6,000.00   0.06
Call VIX 40 21.03.18                BUY     2/13/2018    1,700.00   0.64
Call VIX 50 16.05.18                BUY     2/13/2018    1,600.00   0.48
Call VIX 50 16.05.18                BUY     2/13/2018    4,700.00   0.52
Call VIX 50 16.05.18                BUY     2/13/2018    1,600.00   0.52
Call VIX 50 21.03.18                BUY     2/13/2018    8,500.00   0.43
Call VIX 60 21.03.18                BUY     2/13/2018   11,100.00   0.23
Call VIX 70 16.05.18                BUY     2/13/2018    9,600.00   0.23
Call VIX 40 18.04.18                BUY     2/14/2018     600.00    0.49
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Call VIX 42,5 21.03.18              BUY     2/14/2018      900.00    0.29
Call VIX 50 16.05.18                BUY     2/14/2018      700.00    0.38
Call VIX 60 21.03.18                SELL    2/15/2018    -7,000.00   0.08
Call VIX 60 21.03.18                SELL    2/16/2018    -6,500.00   0.06
Call VIX 65 21.03.18                SELL    2/16/2018   -18,400.00   0.05
Call VIX 50 21.03.18                SELL    2/23/2018   -14,100.00   0.11
Call VIX 60 21.03.18                SELL    2/23/2018   -11,100.00   0.06
Call VIX 40 21.03.18                SELL    2/26/2018   -10,200.00   0.16
Call VIX 42,5 21.03.18              SELL    2/26/2018    -6,700.00   0.12
Call VIX 60 16.05.18                SELL    2/26/2018   -10,800.00   0.13
Call VIX 70 16.05.18                SELL    2/26/2018    -6,300.00   0.08
Call VIX 42,5 18.04.18              BUY     3/5/2018      5,000.00   0.35
Call VIX 50 20.06.18                BUY     3/5/2018      6,000.00   0.39
Call VIX 50 18.04.18                BUY     3/6/2018      8,500.00   0.17
Call VIX 65 20.06.18                BUY     3/6/2018     10,300.00   0.17
Call VIX 37,5 18.04.18              BUY     3/7/2018      4,800.00   0.34
Call VIX 45 20.06.18                BUY     3/7/2018      5,700.00   0.44
Call VIX 35 18.04.18                BUY     3/8/2018      5,000.00   0.34
Call VIX 45 20.06.18                BUY     3/8/2018      5,100.00   0.41
Call VIX 45 18.04.18                BUY     3/9/2018      6,800.00   0.19
Call VIX 60 20.06.18                BUY     3/9/2018      9,000.00   0.19
Call VIX 70 16.05.18                SELL    3/9/2018    -27,400.00   0.10
Call VIX 35 18.04.18                BUY     3/12/2018     3,800.00   0.33
Call VIX 40 18.04.18                SELL    3/12/2018    -3,300.00   0.23
Call VIX 42,5 18.04.18              SELL    3/12/2018    -5,000.00   0.17
Call VIX 42,5 20.06.18              BUY     3/12/2018     4,800.00   0.41
Call VIX 50 16.05.18                SELL    3/12/2018    -6,300.00   0.21
Call VIX 45 20.06.18                BUY     3/13/2018     5,400.00   0.43
Call VIX 35 18.04.18                BUY     3/14/2018     3,200.00   0.37
Call VIX 45 20.06.18                BUY     3/14/2018     5,200.00   0.43
Call VIX 50 16.05.18                BUY     3/14/2018     1,200.00   0.32
Call VIX 50 18.04.18                BUY     3/14/2018     5,000.00   0.19
Call VIX 65 20.06.18                BUY     3/14/2018     7,900.00   0.23
Call VIX 50 18.04.18                BUY     3/15/2018     6,000.00   0.18
Call VIX 65 20.06.18                BUY     3/15/2018     8,000.00   0.23
Call VIX 35 18.04.18                BUY     3/16/2018      200.00    0.33
Call VIX 42,5 20.06.18              BUY     3/16/2018      200.00    0.51
Call VIX 55 16.05.18                SELL    3/16/2018    -4,800.00   0.21
Call VIX 37,5 18.04.18              BUY     3/22/2018     1,700.00   0.65
Call VIX 45 18.04.18                BUY     3/22/2018     1,300.00   0.45
Call VIX 45 20.06.18                BUY     3/22/2018      800.00    0.68
Call VIX 50 16.05.18                BUY     3/22/2018     3,200.00   0.50
Call VIX 55 18.04.18                BUY     3/22/2018      900.00    0.30
Call VIX 60 20.06.18                BUY     3/22/2018     1,600.00   0.40
Call VIX 70 21.03.18                SELL    3/22/2018    -8,000.00   0.00
Call VIX 35 18.04.18                BUY     3/28/2018     7,000.00   0.68
Call VIX 35 18.04.18                BUY     4/4/2018       400.00    0.19
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Call VIX 50 20.06.18                BUY     4/4/2018       400.00    0.34
Call VIX 35 18.04.18                BUY     4/6/2018       100.00    0.15
Call VIX 40 18.04.18                BUY     4/6/2018       100.00    0.10
Call VIX 45 18.04.18                BUY     4/6/2018       200.00    0.08
Call VIX 45 20.06.18                BUY     4/6/2018       100.00    0.40
Call VIX 55 18.04.18                BUY     4/6/2018       100.00    0.03
Call VIX 65 20.06.18                BUY     4/6/2018       200.00    0.19
Call VIX 35 18.04.18                SELL    4/9/2018     -7,400.00   0.14
Call VIX 37,5 16.05.18              BUY     4/9/2018      1,600.00   0.39
Call VIX 45 18.07.18                BUY     4/9/2018      6,400.00   0.42
Call VIX 50 16.05.18                BUY     4/10/2018     9,500.00   0.22
Call VIX 60 18.07.18                BUY     4/10/2018     8,900.00   0.21
Call VIX 35 18.04.18                SELL    4/11/2018    -5,100.00   0.06
Call VIX 37,5 16.05.18              BUY     4/11/2018    15,200.00   0.37
Call VIX 37,5 18.04.18              SELL    4/11/2018    -4,800.00   0.05
Call VIX 45 18.07.18                BUY     4/11/2018    12,600.00   0.42
Call VIX 50 16.05.18                BUY     4/12/2018    20,800.00   0.19
Call VIX 60 18.07.18                BUY     4/12/2018    16,200.00   0.23
Call VIX 50 16.05.18                BUY     4/13/2018     9,600.00   0.18
Call VIX 60 18.07.18                BUY     4/13/2018     8,000.00   0.22
Call VIX 32,5 16.05.18              BUY     4/16/2018     4,600.00   0.33
Call VIX 32,5 16.05.18              BUY     4/16/2018     7,900.00   0.30
Call VIX 42,5 18.07.18              BUY     4/16/2018     6,000.00   0.37
Call VIX 42,5 18.07.18              BUY     4/16/2018     5,900.00   0.37
Call VIX 30 16.05.18                BUY     4/17/2018     7,500.00   0.29
Call VIX 37,5 16.05.18              SELL    4/17/2018    -1,600.00   0.17
Call VIX 40 18.07.18                BUY     4/17/2018     6,000.00   0.39
Call VIX 50 16.05.18                SELL    4/17/2018   -12,700.00   0.10
Call VIX 37,5 16.05.18              SELL    4/18/2018   -15,200.00   0.16
Call VIX 50 16.05.18                SELL    4/18/2018    -9,500.00   0.08
Call VIX 35 18.04.18                SELL    4/19/2018    -7,200.00   0.00
Call VIX 37,5 18.04.18              SELL    4/19/2018   -17,400.00   0.00
Call VIX 40 18.04.18                SELL    4/19/2018   -10,600.00   0.00
Call VIX 45 18.04.18                SELL    4/19/2018    -8,300.00   0.00
Call VIX 50 18.04.18                SELL    4/19/2018   -19,500.00   0.00
Call VIX 55 18.04.18                SELL    4/19/2018   -22,800.00   0.00
Call VIX 32,5 16.05.18              BUY     4/25/2018      300.00    0.28
Call VIX 42,5 18.07.18              BUY     4/25/2018      300.00    0.37
Call VIX 45 20.06.18                BUY     4/25/2018      200.00    0.25
Call VIX 50 16.05.18                BUY     4/25/2018      400.00    0.12
Call VIX 60 18.07.18                BUY     4/25/2018      300.00    0.18
Call VIX 65 20.06.18                BUY     4/25/2018      300.00    0.13
Call VIX 50 16.05.18                SELL    4/30/2018   -30,800.00   0.05
Call VIX 65 20.06.18                SELL    5/4/2018    -10,300.00   0.08
Call VIX 32,5 20.06.18              BUY     5/7/2018      8,600.00   0.33
Call VIX 40 22.08.18                BUY     5/7/2018     11,800.00   0.38
Call VIX 32,5 16.05.18              SELL    5/8/2018     -4,600.00   0.06
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Call VIX 32,5 20.06.18                  BUY    5/8/2018       8,300.00   0.35
Call VIX 42,5 22.08.18                  BUY    5/8/2018     11,600.00    0.37
Call VIX 45 20.06.18                    BUY    5/9/2018       9,700.00   0.17
Call VIX 55 22.08.18                    BUY    5/9/2018     14,200.00    0.20
Call VIX 65 20.06.18                    SELL   5/9/2018      -8,200.00   0.07
Call VIX 30 20.06.18                    BUY    5/11/2018      3,600.00   0.28
Call VIX 37,5 22.08.18                  BUY    5/11/2018      5,000.00   0.38
Call VIX 40 20.06.18                    BUY    5/11/2018      9,800.00   0.17
Call VIX 45 18.07.18                    SELL   5/11/2018    -19,000.00   0.18
Call VIX 45 20.06.18                    SELL   5/11/2018     -5,300.00   0.11
Call VIX 55 22.08.18                    BUY    5/11/2018      7,900.00   0.18
Call VIX 60 18.07.18                    SELL   5/11/2018    -33,400.00   0.11
Call VIX 27 20.06.18                    BUY    5/14/2018      5,900.00   0.27
Call VIX 32,5 20.06.18                  SELL   5/14/2018     -8,300.00   0.16
Call VIX 35 22.08.18                    BUY    5/14/2018      4,700.00   0.38
Call VIX 37,5 20.06.18                  BUY    5/14/2018      9,100.00   0.14
Call VIX 42,5 20.06.18                  SELL   5/14/2018     -5,000.00   0.08
Call VIX 45 20.06.18                    SELL   5/14/2018     -5,300.00   0.07
Call VIX 50 22.08.18                    BUY    5/14/2018      7,400.00   0.18
Call VIX 30 16.05.18                    SELL   5/17/2018     -7,500.00   0.00
Call VIX 32,5 16.05.18                  SELL   5/17/2018     -8,200.00   0.00
Call VIX 50 16.05.18                    SELL   5/17/2018     -5,700.00   0.00
Call VIX 32,5 20.06.18                  SELL   5/21/2018     -8,600.00   0.15
Call VIX 42,5 18.07.18                  SELL   5/21/2018    -12,200.00   0.15
Call VIX 45 20.06.18                    SELL   5/21/2018     -5,700.00   0.08
Call VIX 50 20.06.18                    SELL   5/21/2018     -6,400.00   0.07
Call VIX 45 20.06.18                    SELL   6/1/2018      -9,700.00   0.05

Platinum I SICAV - Opportunities Fund
VIX Future 17.05.17                     BUY    5/15/2017      100.00     14.37
VIX Future 17.05.17                     SELL   5/31/2017     -100.00     14.37
VIX Future 17.05.17                     BUY    5/31/2017      100.00     14.37
VIX Future 17.05.17                     SELL   5/31/2017     -100.00     14.37

BayernInvest Balanced Stocks 60 Plus Fonds
VIX Future 17.04.12                   BUY      3/23/2012       3.00      19.10
VIX Future 17.04.12                   SELL     3/29/2012      -3.00      17.25

BayernInvest Global Flex Income Fonds
VIX Future 18.12.12                     BUY    11/16/2012      16.00     18.90
VIX Future 12.02.13                     SELL   12/17/2012      -8.00     18.30
VIX Future 15.01.13                     BUY    12/17/2012      16.00     17.37
VIX Future 18.12.12                     SELL   12/17/2012     -16.00     16.79
VIX Future 12.02.13                     BUY     1/9/2013        8.00     16.60
VIX Future 21.05.13                     SELL    1/9/2013      -10.00     19.50
VIX Future 12.02.13                     BUY    1/14/2013       10.00     16.25
VIX Future 15.01.13                     SELL   1/14/2013      -16.00     14.30
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VIX Future 16.07.13                 SELL    1/31/2013    -10.00    18.15
VIX Future 21.05.13                 BUY     1/31/2013     10.00    16.90
VIX Future 12.02.13                 SELL    2/12/2013    -10.00    13.60
VIX Future 19.03.13                 BUY     2/14/2013     10.00    14.75
VIX Future 16.04.13                 BUY     3/19/2013     10.00    15.00
VIX Future 19.03.13                 SELL    3/19/2013    -10.00    13.30
VIX Future 16.07.13                 BUY     3/20/2013     10.00    17.70
VIX Future 17.09.13                 SELL    3/20/2013    -10.00    18.70
VIX Future 16.04.13                 SELL    4/15/2013    -10.00    13.30
VIX Future 17.09.13                 BUY     4/30/2013     10.00    17.30
VIX Future 21.01.14                 SELL    4/30/2013    -10.00    19.01
VIX Future 21.01.14                 BUY     6/26/2013     10.00    21.85
VIX Future 21.12.16                 BUY     6/10/2016      4.00    19.95
VIX Future 21.12.16                 SELL    12/21/2016    -4.00    11.95

BayernInvest         OptiMA
FondsVIX Future 17.04.12            BUY     3/23/2012      1.00    22.09
VIX Future 17.04.12                 BUY     3/23/2012      1.00    22.09
VIX Future 17.04.12                 BUY     3/23/2012      1.00    22.09
VIX Future 17.04.12                 BUY     3/23/2012      2.00    22.09
VIX Future 18.09.12                 SELL    3/23/2012     -2.00    27.00
VIX Future 18.09.12                 SELL    3/27/2012     -2.00    25.80
VIX Future 18.09.12                 SELL    3/29/2012     -2.00    25.80
VIX Future 18.09.12                 BUY     3/29/2012      2.00    25.80
VIX Future 17.04.12                 SELL    4/11/2012     -1.00    19.50
VIX Future 15.05.12                 BUY     4/13/2012      4.00    22.29
VIX Future 17.04.12                 SELL    4/13/2012     -4.00    20.71
VIX Future 15.05.12                 SELL    4/17/2012     -2.00    21.00
VIX Future 15.05.12                 BUY     5/2/2012       2.00    18.60
VIX Future 15.05.12                 SELL    5/14/2012     -4.00    19.70
VIX Future 19.06.12                 BUY     5/14/2012      3.00    21.15
VIX Future 17.07.12                 BUY     6/19/2012      3.00    24.15
VIX Future 19.06.12                 SELL    6/19/2012     -3.00    21.80
VIX Future 17.07.12                 SELL    7/12/2012     -3.00    19.10
VIX Future 18.09.12                 BUY     7/12/2012      2.00    22.60
VIX Future 18.09.12                 BUY     7/18/2012      2.00    20.85

GodmodeTrader.de       Strategie
IVIX Future 15.05.12                BUY     3/14/2012      86.00   23.57
VIX Future 15.05.12                 SELL    3/14/2012     -86.00   23.57
VIX Future 20.03.12                 SELL    3/14/2012    -116.00   17.63
VIX Future 15.05.12                 BUY     3/15/2012      86.00   23.57
VIX Future 15.05.12                 SELL    3/16/2012      -4.00   23.65
VIX Future 15.05.12                 SELL    3/20/2012     -82.00   23.15
VIX Future 17.04.12                 SELL    3/20/2012    -100.00   20.60
VIX Future 19.06.12                 BUY     3/20/2012      84.00   24.53
VIX Future 20.03.12                 BUY     3/20/2012     116.00   16.35
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VIX Future 17.04.12                SELL    3/22/2012   -10.00      18.85
VIX Future 19.06.12                BUY     3/22/2012    2.00       23.30
VIX Future 15.05.12                SELL    4/17/2012   -92.00      20.35
VIX Future 17.04.12                BUY     4/17/2012   110.00      18.71
VIX Future 17.07.12                BUY     4/17/2012    82.00      23.54
VIX Future 19.06.12                SELL    4/17/2012   -86.00      22.20
VIX Future 15.05.12                SELL    4/27/2012   -18.00      18.30
VIX Future 17.07.12                BUY     4/27/2012    8.00       22.05
VIX Future 15.05.12                SELL    5/3/2012    -10.00      18.15
VIX Future 17.07.12                BUY     5/3/2012     8.00       21.65
VIX Future 15.05.12                BUY     5/15/2012   120.00      21.40
VIX Future 17.07.12                SELL    5/15/2012   -98.00      23.64
VIX Future 19.06.12                SELL    5/16/2012   -46.00      24.10
VIX Future 21.08.12                BUY     5/16/2012    50.00      25.85
VIX Future 19.06.12                BUY     6/8/2012     46.00      23.50
VIX Future 21.08.12                SELL    6/8/2012    -50.00      26.65

Greiff - Pro ART ERV
Put VIX 17 19.09.12                SELL    8/23/2012    -70.00      0.95
Put VIX 17 19.09.12                BUY     8/29/2012     70.00      0.65
Put VIX 15 13.02.13                SELL    2/1/2013    -150.00      0.90
Put VIX 15 13.02.13                SELL    2/4/2013    -100.00      1.45
Put VIX 15 13.02.13                BUY     2/5/2013     100.00      1.00
Put VIX 15 13.02.13                BUY     2/8/2013     150.00      0.70

AL2410_A
Put Cboe VIX 13 16.04.2014 OPRA    SELL    1/23/2014   -100,000   0.273958
Put Cboe VIX 13 18.03.2014 OPRA    SELL    1/23/2014   -125,000   0.242132
Put Cboe VIX 13 19.02.2014 OPRA    SELL    1/23/2014   -140,000   0.285043
Put Cboe VIX 13 19.02.2014 OPRA    SELL    2/19/2014   -140,000        0
Put Cboe VIX 13 18.03.2014 OPRA    SELL    3/18/2014   -125,000        0
Put Cboe VIX 13 21.05.2014 OPRA    SELL    3/18/2014     -5,000      0.15
Put Cboe VIX 13 21.05.2014 OPRA    SELL    3/18/2014    -15,000      0.15
Put Cboe VIX 13 18.06.2014 OPRA    SELL     4/1/2014     -5,000      0.15
Put Cboe VIX 13 16.04.2014 OPRA    SELL    4/16/2014   -100,000        0
Put Cboe VIX 13 20.08.2014 OPRA    SELL    5/12/2014    -10,000      0.15
Put Cboe VIX 13 20.08.2014 OPRA    SELL    5/12/2014    -10,000      0.15
Put Cboe VIX 13 20.08.2014 OPRA    SELL    5/12/2014    -20,000      0.15
Put Cboe VIX 13 16.07.2014 OPRA    SELL    5/13/2014    -23,100      0.15
Put Cboe VIX 13 18.06.2014 OPRA    SELL    5/13/2014    -30,000      0.15
Put Cboe VIX 13 16.07.2014 OPRA    SELL    5/14/2014    -16,900      0.15
Put Cboe VIX 13 18.06.2014 OPRA    SELL    5/16/2014     -7,500       0.2
Put Cboe VIX 13 18.06.2014 OPRA    SELL    5/16/2014     -2,500       0.2
Put Cboe VIX 13 18.06.2014 OPRA    SELL    5/16/2014     -5,000       0.2
Put Cboe VIX 13 16.07.2014 OPRA    SELL    5/19/2014     -5,600       0.2
Put Cboe VIX 13 16.07.2014 OPRA    SELL    5/19/2014    -25,000      0.15
Put Cboe VIX 13 18.06.2014 OPRA    SELL    5/19/2014    -15,000       0.2
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Put Cboe VIX 13 20.08.2014 OPRA     SELL   5/19/2014   -20,000    0.2
Put Cboe VIX 13 20.08.2014 OPRA     SELL   5/19/2014   -25,000   0.15
Put Cboe VIX 13 21.05.2014 OPRA     BUY    5/19/2014    20,000    0.3
Put Cboe VIX 13 16.07.2014 OPRA     SELL   5/20/2014   -14,400    0.2
Put Cboe VIX 12 16.07.2014 OPRA     SELL    6/5/2014   -20,000   0.15
Put Cboe VIX 12 16.07.2014 OPRA     SELL    6/5/2014   -50,000    0.1
Put Cboe VIX 12 16.07.2014 OPRA     SELL    6/5/2014   -50,000    0.1
Put Cboe VIX 12 18.06.2014 OPRA     SELL    6/5/2014   -50,000    0.1
Put Cboe VIX 12 18.06.2014 OPRA     SELL    6/5/2014   -20,000    0.2
Put Cboe VIX 12 18.06.2014 OPRA     SELL    6/5/2014   -50,000    0.1
Put Cboe VIX 13 18.06.2014 OPRA     BUY     6/5/2014    25,000    0.6
Put Cboe VIX 13 18.06.2014 OPRA     BUY     6/5/2014    35,000    0.6
Put Cboe VIX 12 20.08.2014 OPRA     SELL    6/6/2014   -20,000    0.2
Put Cboe VIX 12 20.08.2014 OPRA     SELL    6/6/2014   -50,000   0.15
Put Cboe VIX 13 18.06.2014 OPRA     BUY     6/6/2014    15,000   1.15
Put Cboe VIX 11 18.06.2014 XEUR     SELL   6/11/2014   -50,000    0.1
Put Cboe VIX 12 18.06.2014 OPRA     BUY    6/10/2014    17,000    0.5
Put Cboe VIX 12 18.06.2014 OPRA     BUY    6/10/2014    4,000     0.6
Put Cboe VIX 12 18.06.2014 OPRA     BUY    6/10/2014    10,000    0.6
Put Cboe VIX 12 20.08.2014 OPRA     SELL   6/10/2014   -50,000   0.25
Put Cboe VIX 12 18.06.2014 OPRA     BUY    6/11/2014    19,000   0.35
Put Cboe VIX 11 18.06.2014 XEUR     SELL   6/19/2014   -50,000     0
Put Cboe VIX 12 16.07.2014 OPRA     SELL   6/18/2014   -10,000    0.3
Put Cboe VIX 12 17.09.2014 OPRA     SELL   6/18/2014   -30,000    0.2
Put Cboe VIX 12 17.09.2014 OPRA     SELL   6/18/2014   -30,000    0.2
Put Cboe VIX 12 17.09.2014 OPRA     SELL   6/18/2014   -30,000   0.15
Put Cboe VIX 12 18.06.2014 OPRA            6/19/2014    70,000     0
Put Cboe VIX 12 20.08.2014 OPRA     SELL   6/18/2014   -10,000   0.25
Put Cboe VIX 12 17.09.2014 OPRA     SELL   6/19/2014   -30,000    0.2
Put Cboe VIX 12 17.09.2014 OPRA     SELL   6/19/2014   -30,000   0.25
Put Cboe VIX 12 20.08.2014 OPRA     SELL   6/19/2014   -20,000   0.35
Put Cboe VIX 12 22.10.2014 OPRA     SELL   6/19/2014   -50,000    0.2
Put Cboe VIX 13 16.07.2014 OPRA     BUY    6/19/2014    40,000   1.15
Put Cboe VIX 13 16.07.2014 OPRA     BUY    6/19/2014    23,700   1.15
Put Cboe VIX 13 16.07.2014 OPRA     BUY    6/19/2014    20,000    1.2
Put Cboe VIX 13 16.07.2014 OPRA     BUY    6/19/2014    9,000    1.15
Put Cboe VIX 11,5 20.08.2014 OPRA   SELL   7/24/2014   -50,000   0.25
Put Cboe VIX 11,5 20.08.2014 OPRA   SELL   6/30/2014   -15,000   0.25
Put Cboe VIX 11,5 20.08.2014 OPRA   SELL   6/30/2014   -50,000   0.25
Put Cboe VIX 12 17.12.2014 OPRA     SELL   6/30/2014   -50,000   0.25
Put Cboe VIX 12 22.10.2014 OPRA     SELL   6/30/2014   -50,000   0.25
Put Cboe VIX 11 20.08.2014 OPRA     SELL    7/1/2014   -25,000   0.15
Put Cboe VIX 11 20.08.2014 OPRA     SELL    7/1/2014   -25,000   0.15
Put Cboe VIX 11 20.08.2014 OPRA     SELL    7/1/2014   -50,000   0.15
Put Cboe VIX 11,5 20.08.2014 OPRA   SELL    7/1/2014   -50,000   0.25
Put Cboe VIX 11,5 20.08.2014 OPRA   SELL    7/1/2014   -35,000   0.25
Put Cboe VIX 12 17.09.2014 OPRA     SELL    7/1/2014   -50,000    0.3
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Put Cboe VIX 12 17.12.2014 OPRA     SELL    7/1/2014     -50,000     0.25
Put Cboe VIX 12 17.12.2014 OPRA     SELL    7/1/2014     -50,000     0.25
Put Cboe VIX 12 19.11.2014 OPRA     SELL    7/1/2014     -50,000     0.25
Put Cboe VIX 12 19.11.2014 OPRA     SELL    7/1/2014     -50,000     0.25
Put Cboe VIX 12 22.10.2014 OPRA     SELL    7/1/2014     -50,000      0.3
Put Cboe VIX 12 22.10.2014 OPRA     SELL    7/1/2014     -50,000     0.25
Put Cboe VIX 12 17.12.2014 OPRA     SELL    7/2/2014     -50,000     0.25
Put Cboe VIX 12 19.11.2014 OPRA     SELL    7/2/2014     -50,000     0.25
Put Cboe VIX 12 19.11.2014 OPRA     SELL    7/2/2014     -50,000     0.25
Put Cboe VIX 13 20.08.2014 OPRA     BUY     7/2/2014      25,000      1.2
Put Cboe VIX 13 20.08.2014 OPRA     BUY     7/2/2014      16,600      1.2
Put Cboe VIX 11 20.08.2014 OPRA     SELL    7/3/2014     -20,000      0.2
Put Cboe VIX 11 20.08.2014 OPRA     SELL    7/3/2014     -50,000      0.2
Put Cboe VIX 11 20.08.2014 OPRA     SELL    7/3/2014     -50,000      0.2
Put Cboe VIX 12 16.07.2014 OPRA     BUY     7/3/2014      30,000      0.8
Put Cboe VIX 12 16.07.2014 OPRA     BUY     7/3/2014      50,000      0.8
Put Cboe VIX 12 16.07.2014 OPRA     BUY     7/3/2014      50,000      0.8
Put Cboe VIX 13 20.08.2014 OPRA     BUY     7/3/2014      30,000     1.35
Put Cboe VIX 13 20.08.2014 OPRA     BUY     7/3/2014      30,000     1.35
Put Cboe VIX 11,5 20.08.2014 OPRA   BUY     8/1/2014      50,000     0.05
Put Cboe VIX 11,5 20.08.2014 OPRA   BUY     8/1/2014      25,000      0.1
Put Cboe VIX 11,5 20.08.2014 OPRA   BUY     8/1/2014      25,000      0.1
Put Cboe VIX 11,5 20.08.2014 OPRA   BUY     8/1/2014      50,000      0.1
Put Cboe VIX 12 20.08.2014 OPRA     BUY     8/1/2014      50,000      0.1
Put Cboe VIX 12 20.08.2014 OPRA     BUY     8/1/2014      25,000     0.15
Put Cboe VIX 12 20.08.2014 OPRA     BUY     8/1/2014      25,000     0.15
Put Cboe VIX 12 20.08.2014 OPRA     BUY     8/1/2014      50,000     0.15
Put Cboe VIX 11,5 20.08.2014 OPRA   BUY    8/11/2014      50,000     0.05
Put Cboe VIX 11 20.08.2014 OPRA     SELL   8/21/2014    -220,000       0
Put Cboe VIX 12 17.09.2014 OPRA     BUY     9/9/2014      50,000     0.08
Put Cboe VIX 12 17.09.2014 OPRA     BUY     9/9/2014      25,000      0.1
Put Cboe VIX 12 21.01.2015 OPRA     SELL    9/9/2014     -50,000     0.23
Put Cboe VIX 12 17.09.2014 OPRA     BUY    9/10/2014      25,000     0.05
Put Cboe VIX 12 17.09.2014 OPRA     BUY    9/10/2014      50,000   0.03998
Put Cboe VIX 12 21.01.2015 OPRA     SELL   9/10/2014     -50,000   0.21008
Put Cboe VIX 12 17.09.2014 OPRA     SELL   9/18/2014     -50,000       0
Put Cboe VIX 12 22.10.2014 OPRA     SELL   10/23/2014   -200,000       0
Put Cboe VIX 12 19.11.2014 OPRA     SELL   11/20/2014   -200,000       0
Put Cboe VIX 12 17.12.2014 OPRA     SELL   12/18/2014   -200,000       0
Put Cboe VIX 12 21.01.2015 OPRA     SELL   1/22/2015    -100,000       0
Put Cboe VIX 14 15.04.2015 OPRA     SELL   2/24/2015     -21,000      0.2
Put Cboe VIX 14 18.03.2015 OPRA     SELL   2/24/2015     -10,500     0.15
Put Cboe VIX 14 18.03.2015 OPRA     SELL   2/24/2015     -10,500     0.15
Put Cboe VIX 13 20.05.2015 OPRA     SELL   2/25/2015     -14,000     0.15
Put Cboe VIX 14 18.03.2015 OPRA     SELL   3/19/2015     -21,000       0
Put Cboe VIX 13,5 20.05.2015 OPRA   SELL    4/9/2015     -15,000     0.15
Put Cboe VIX 14 15.04.2015 OPRA     BUY     4/9/2015      21,000     0.16
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Put Cboe VIX 14 20.05.2015 OPRA     SELL    4/9/2015   -21,000   0.24
Put Cboe VIX 14 20.05.2015 OPRA     SELL    4/9/2015    -7,000    0.2
Put Cboe VIX 13,5 20.05.2015 OPRA   SELL   4/10/2015   -15,000    0.2
Put Cboe VIX 13 20.05.2015 OPRA     SELL   4/13/2015   -18,000   0.15
Put Cboe VIX 13,5 17.06.2015 OPRA   SELL   4/21/2015   -20,000    0.2
Put Cboe VIX 14 17.06.2015 OPRA     SELL   4/21/2015   -22,000   0.35
Put Cboe VIX 14 17.06.2015 OPRA     SELL   4/21/2015   -28,000   0.38
Put Cboe VIX 14 20.05.2015 OPRA     BUY    4/21/2015    28,000   0.53
Put Cboe VIX 13 20.05.2015 OPRA     SELL   4/23/2015    -8,000    0.2
Put Cboe VIX 13,5 17.06.2015 OPRA   SELL   4/23/2015    -5,000   0.25
Put Cboe VIX 13,5 17.06.2015 OPRA   SELL   4/23/2015    -5,000   0.25
Put Cboe VIX 13 17.06.2015 OPRA     SELL    5/4/2015   -30,000   0.15
Put Cboe VIX 13 22.07.2015 OPRA     SELL    5/4/2015   -30,000   0.15
Put Cboe VIX 13,5 17.06.2015 OPRA   SELL    5/4/2015   -30,000   0.28
Put Cboe VIX 13,5 20.05.2015 OPRA   BUY     5/4/2015    30,000   0.38
Put Cboe VIX 13 17.06.2015 OPRA     SELL   5/15/2015   -40,000    0.1
Put Cboe VIX 13 20.05.2015 OPRA     BUY    5/15/2015    40,000   0.15
Put Cboe VIX 14 17.06.2015 OPRA     BUY    5/19/2015    25,000   0.65
Put Cboe VIX 14 22.07.2015 OPRA     SELL   5/19/2015    -5,000    0.6
Put Cboe VIX 14 22.07.2015 OPRA     SELL   5/19/2015   -25,000   0.62
Put Cboe VIX 13,5 17.06.2015 OPRA   SELL   5/20/2015    -5,000   0.35
Put Cboe VIX 14 17.06.2015 OPRA     BUY    5/20/2015    17,100   0.62
Put Cboe VIX 14 17.06.2015 OPRA     BUY    5/20/2015    7,900    0.63
Put Cboe VIX 14 22.07.2015 OPRA     SELL   5/20/2015    -5,000   0.65
Put Cboe VIX 14 22.07.2015 OPRA     SELL   5/20/2015    -5,000   0.64
Put Cboe VIX 14 22.07.2015 OPRA     SELL   5/20/2015     -200    0.64
Put Cboe VIX 14 22.07.2015 OPRA     SELL   5/20/2015   -19,800   0.63
Put Cboe VIX 12,5 22.07.2015 OPRA   SELL   5/22/2015   -25,000   0.15
Put Cboe VIX 13,5 17.06.2015 OPRA   BUY    6/10/2015    59,900   0.19
Put Cboe VIX 13,5 17.06.2015 OPRA   BUY    6/10/2015    5,100    0.18
Put Cboe VIX 13,5 22.07.2015        SELL   6/10/2015   -15,000   0.35
Put Cboe VIX 13,5 22.07.2015        SELL   6/10/2015   -65,000   0.33
Put Cboe VIX 13 17.06.2015 OPRA     BUY    6/11/2015    70,000   0.15
Put Cboe VIX 13 22.07.2015 OPRA     SELL   6/11/2015   -70,000   0.22
Put Cboe VIX 12,5 19.08.2015 OPRA   SELL   6/18/2015   -25,000   0.15
Put Cboe VIX 12,5 19.08.2015 OPRA   SELL   6/22/2015   -25,000   0.15
Put Cboe VIX 13 19.08.2015 OPRA     SELL   6/22/2015   -45,000   0.25
Put Cboe VIX 13,5 19.08.2015 OPRA   SELL   6/22/2015   -30,000   0.47
Put Cboe VIX 14 19.08.2015 OPRA     SELL   6/22/2015   -30,000    0.7
Put Cboe VIX 14 22.07.2015 OPRA     BUY    6/22/2015    30,000   0.83
Put Cboe VIX 14 22.07.2015 OPRA     BUY    6/22/2015    30,000   0.81
Put Cboe VIX 13 16.09.2015 OPRA     SELL   6/24/2015   -20,000   0.25
Put Cboe VIX 13 16.09.2015 OPRA     SELL   6/24/2015   -10,000   0.25
Put Cboe VIX 13 19.08.2015 OPRA     SELL   6/24/2015   -45,000    0.3
Put Cboe VIX 13,5 19.08.2015 OPRA   SELL   6/24/2015   -30,000    0.5
Put Cboe VIX 13,5 22.07.2015        BUY    6/24/2015    30,000   0.63
Put Cboe VIX 13 16.09.2015 OPRA     SELL   6/24/2015   -15,000   0.23
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Put Cboe VIX 13 16.09.2015 OPRA     SELL   6/24/2015   -15,000      0.23
Put Cboe VIX 13 16.09.2015 OPRA     SELL   6/24/2015   -20,000      0.22
Put Cboe VIX 13,5 22.07.2015        BUY    6/24/2015    15,000       0.7
Put Cboe VIX 13,5 22.07.2015        BUY    6/24/2015    15,000       0.7
Put Cboe VIX 13,5 22.07.2015        BUY    6/24/2015    20,000      0.65
Put Cboe VIX 12,5 19.08.2015 OPRA   SELL   7/16/2015   -15,000      0.15
Put Cboe VIX 12,5 19.08.2015 OPRA   SELL   7/16/2015   -25,000      0.11
Put Cboe VIX 12,5 19.08.2015 OPRA   SELL   7/16/2015   -20,000       0.1
Put Cboe VIX 12,5 19.08.2015 OPRA   SELL   7/16/2015   -50,000      0.12
Put Cboe VIX 12,5 22.07.2015 OPRA   BUY    7/16/2015    25,000      0.19
Put Cboe VIX 13 22.07.2015 OPRA     BUY    7/16/2015    50,000       0.4
Put Cboe VIX 13 22.07.2015 OPRA     BUY    7/16/2015    50,000     0.366
Put Cboe VIX 13 21.10.2015 OPRA     SELL   7/17/2015   -30,000      0.26
Put Cboe VIX 13 21.10.2015 OPRA     SELL   7/17/2015   -30,000      0.25
Put Cboe VIX 14 19.08.2015 OPRA     BUY    7/17/2015    30,000   0.923733
Put Cboe VIX 12,5 19.08.2015 OPRA   SELL   7/20/2015   -15,000       0.2
Put Cboe VIX 13 16.12.2015 OPRA     SELL   7/20/2015   -30,000       0.3
Put Cboe VIX 13 18.11.2015          SELL   7/20/2015   -30,000      0.27
Put Cboe VIX 13,5 19.08.2015 OPRA   BUY    7/20/2015    30,000      0.65
Put Cboe VIX 13,5 19.08.2015 OPRA   BUY    7/20/2015    30,000   0.663533
Put Cboe VIX 13 16.12.2015 OPRA     SELL   7/22/2015   -30,000   0.283333
Put Cboe VIX 13 18.11.2015          SELL   7/22/2015   -30,000      0.29
Put Cboe VIX 13 19.08.2015 OPRA     BUY    7/22/2015    30,000      0.38
Put Cboe VIX 13 19.08.2015 OPRA     BUY    7/22/2015    30,000   0.373333
Put Cboe VIX 13 16.12.2015 OPRA     SELL   7/23/2015   -15,000      0.26
Put Cboe VIX 13 18.11.2015          SELL   7/23/2015   -15,000      0.28
Put Cboe VIX 13 19.08.2015 OPRA     BUY    7/23/2015    15,000      0.39
Put Cboe VIX 13 19.08.2015 OPRA     BUY    7/23/2015    15,000      0.43
Put Cboe VIX 12,5 19.08.2015 OPRA   BUY     8/4/2015    50,000       0.1
Put Cboe VIX 12,5 16.09.2015 OPRA   SELL    8/5/2015   -12,500      0.12
Put Cboe VIX 12,5 16.09.2015 OPRA   SELL    8/5/2015   -50,000      0.09
Put Cboe VIX 12,5 19.08.2015 OPRA   BUY     8/5/2015    12,500      0.17
Put Cboe VIX 12,5 19.08.2015 OPRA   BUY     8/5/2015    50,000      0.13
Put Cboe VIX 12,5 16.09.2015 OPRA   SELL    8/6/2015   -12,500      0.08
Put Cboe VIX 12,5 19.08.2015 OPRA   BUY     8/6/2015    12,500      0.08
Put Cboe VIX 12,5 19.08.2015 OPRA   BUY     8/6/2015    25,000       0.1
Put Cboe VIX 12,5 19.08.2015 OPRA   BUY     8/7/2015    25,000      0.05
Put Cboe VIX 12,5 16.09.2015 OPRA   BUY    8/17/2015    75,000      0.05
Put Cboe VIX 13 16.09.2015 OPRA     BUY    8/24/2015    15,600      0.05
Put Cboe VIX 13 16.09.2015 OPRA     BUY    8/26/2015    64,400      0.05
Put Cboe VIX 13 21.10.2015 OPRA     BUY    8/28/2015    31,000      0.05
Put Cboe VIX 13 18.11.2015          BUY    8/31/2015     100        0.05
Put Cboe VIX 13 21.10.2015 OPRA     BUY    8/31/2015    1,900       0.05
Put Cboe VIX 13 18.11.2015          BUY     9/2/2015    7,700       0.05
Put Cboe VIX 13 21.10.2015 OPRA     BUY     9/1/2015    27,100      0.05
Put Cboe VIX 13 16.12.2015 OPRA     BUY     9/2/2015    2,000       0.05
Put Cboe VIX 13 18.11.2015          BUY     9/2/2015    2,000       0.05
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Put Cboe VIX 13 18.11.2015         BUY      9/3/2015    1,000    0.05
Put Cboe VIX 13 18.11.2015         BUY      9/8/2015    5,000    0.05
Put Cboe VIX 13 16.12.2015 OPRA    BUY     9/10/2015    1,000    0.05
Put Cboe VIX 13 18.11.2015         BUY     9/10/2015   59,200    0.05
Put Cboe VIX 13 16.12.2015 OPRA    BUY     9/14/2015    4,000    0.05
Put Cboe VIX 13 16.12.2015 OPRA    BUY     9/18/2015     100     0.05
Put Cboe VIX 13 16.12.2015 OPRA    BUY     9/28/2015    5,600    0.05
Put Cboe VIX 13 16.12.2015 OPRA    BUY     9/28/2015   47,000    0.05
Put Cboe VIX 13 16.12.2015 OPRA    BUY     9/28/2015   15,300    0.05
